     Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 1 of 111




                           UNITED STATES DISTRICT COURT
                               DISTRICT OF VERMONT

JAMES D. SULLIVAN et al., individually,
and on behalf of a Class of persons similarly
situated,
                                                Case No. 5:16-cv-00125-GWC
                              Plaintiffs,

       v.                                       Hon. Geoffrey W. Crawford

SAINT-GOBAIN PERFORMANCE
PLASTICS CORPORATION,

                              Defendant.

            MEMORANDUM OF LAW IN SUPPORT OF SAINT-GOBAIN’S
            MOTION TO EXCLUDE PLAINTIFFS’ EXPERT TESTIMONY
         Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 2 of 111


                                                   TABLE OF CONTENTS

                                                                                                                                       Page


TABLE OF AUTHORITIES ........................................................................................................ iv
PRELIMINARY STATEMENT ................................................................................................... 1
BACKGROUND ........................................................................................................................... 3
          A.         Plaintiffs’ Class Certification Experts ................................................................... 4
                     1.         Dr. Alan Ducatman (Medical Monitoring) ................................................ 4
                     2.         Dr. Philip Hopke (Air Emissions).............................................................. 5
                     3.         Gary Yoder (Air Transport) ....................................................................... 6
                     4.         Dr. Donald Siegel (Groundwater Transport) ............................................. 7
                     5.         Robert Unsworth (Groundwater Damages) ............................................... 8
          B.         Plaintiffs’ Additional Merits Experts ..................................................................... 9
          C.         Plaintiffs’ “Rebuttal” Experts ................................................................................ 9
                     1.         Dr. Philippe Grandjean (General Causation) ............................................. 9
                     2.         David Mears (Regulatory) ....................................................................... 10
THRESHOLD SCRUTINY OF EXPERT TESTIMONY .......................................................... 10
          A.         Plaintiffs Bear the Burden of Proving Admissibility ........................................... 11
          B.         Expert Testimony Must “Fit” the Facts of the Case ............................................ 11
          C.         Expert Opinion Requires Reliable Application of Reliable Methods .................. 12
          D.         Daubert Applies to Expert Testimony in Support of Class Certification ............ 13
ARGUMENT ............................................................................................................................... 14
I.        PLAINTIFFS’ EXPERTS’ OPINIONS DO NOT “FIT” CLASS
          CERTIFICATION ........................................................................................................... 14
          A.         Dr. Ducatman’s Monitoring Opinions Do Not Fit Class Certification ................ 15
                     1.         Dr. Ducatman Admits Many “Considerable Individual
                                Differences” ............................................................................................. 16
                     2.         Dr. Ducatman Proposes Monitoring For Hypothetical Residents ........... 18
          B.         Plaintiffs’ Experts Do Not Purport to Offer a Common Method to
                     Determine Presence, Amount, or Source of PFOA at Any Property ................... 23
                     1.         Plaintiffs’ Experts Have No Common Proof of PFOA at Any
                                Property .................................................................................................... 24
                     2.         Plaintiffs’ Experts Have No Common Proof of Source of PFOA ........... 27
          C.         Mr. Unsworth Has No Common Proof of Damages for the Property Class ........ 28


                                                                       i
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 3 of 111


                                      TABLE OF CONTENTS
                                           (continued)
                                                                                                                           Page


             1.      Mr. Unsworth Offers No Common Proof of Diminution in Value.......... 29
             2.      Mr. Unsworth’s “Added Cost” Opinion Cannot Determine
                     Purported Groundwater Damages of Any Putative Class Member ......... 30
             3.      Mr. Unsworth’s “Replacement Cost” Opinion Does Not Describe
                     Damages of the Putative Class Members................................................. 34
II.    PLAINTIFFS’ EXPERTS’ CLASS OPINIONS ARE UNRELIABLE .......................... 36
       A.    Dr. Ducatman’s Class-Wide Medical Monitoring Opinion Is Unreliable ........... 36
       B.    Plaintiffs’ Experts’ Fate and Transport Opinions Are Unreliable ....................... 37
             1.      Dr. Hopke’s Opinion Is Unreliable .......................................................... 37
                     a.       Dr. Hopke’s Emissions Opinion Ignores Actual Emissions
                              Data .............................................................................................. 37
                     b.       Dr. Hopke’s Hypothetical Emissions Scenarios Are
                              Unreliable ..................................................................................... 40
             2.      Mr. Yoder’s Opinion Is Based on Dr. Hopke’s Arbitrary Estimates ....... 44
             3.      Dr. Siegel’s Hydrogeological Opinion Is Unreliable ............................... 46
                     a.       Dr. Siegel’s Opinion Does Not Account for Any of the
                              Individual Differences in the Class Area That He
                              Acknowledges .............................................................................. 46
                     b.       Dr. Siegel’s Methods Are Unreliable and Made for
                              Litigation ...................................................................................... 47
                     c.       Dr. Siegel Fails to Adequately Exclude Alternative Sources ...... 50
                     d.       The Rate of Error in Dr. Siegel’s Methods Is Too High .............. 53
       C.    Mr. Unsworth’s “Added Cost” Methods Are Unreliable..................................... 55
III.   PLAINTIFFS’ EXPERTS’ MERITS OPINIONS ARE INADMISSIBLE ..................... 60
       A.    Plaintiffs’ Experts’ Medical Causation Opinions Are Unreliable ....................... 60
             1.      Dr. Ducatman Has No Discernible Methodology .................................... 60
             2.      Dr. Ducatman’s Causation Opinion Is Unreliable ................................... 62
                     a.       Dr. Ducatman Cherry-Picks Study Results for His Opinion ....... 64
                     b.       Dr. Ducatman Ignores Study Limitations and Results................. 65
                     c.       Dr. Ducatman Improperly Relies on Animal Studies .................. 67
                     d.       Dr. Ducatman Conflates Association With Causation................. 67
                     e.       Dr. Ducatman Sets an Arbitrary Threshold Dose ........................ 68


                                                         ii
         Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 4 of 111


                                                   TABLE OF CONTENTS
                                                        (continued)
                                                                                                                                      Page


                     3.         Dr. Grandjean’s Rebuttal Opinions Are Inadmissible ............................. 70
                                a.         Dr. Grandjean’s Medical Monitoring Opinions Are
                                           Inadmissible ................................................................................. 70
                                b.         Dr. Grandjean’s Analysis Under Regulatory Principles Is
                                           Incompatible With Standards of Proof in Tort ............................ 72
                                c.         Dr. Grandjean’s Subjective Causation Opinion Is Not
                                           Reliable ........................................................................................ 77
                                d.         Dr. Grandjean Failed to Evaluate the Totality of the Data .......... 80
                                e.         Dr. Grandjean Lacks A Reliable Approach To Infer
                                           Causation...................................................................................... 82
                                f.         Dr. Grandjean’s Selection of a Dose Threshold Is Arbitrary....... 83
          B.         Plaintiffs’ Experts’ Legal Opinion Testimony Is Inadmissible ........................... 86
                     1.         Dr. Hopke and Dr. Siegel’s Regulatory Opinions Are Inadmissible ....... 86
                     2.         Mr. Mears’s Opinions Are Unhelpful and Unreliable ............................. 89
                                a.         The Purported “Violations” Do Not Fit This Case ...................... 89
                                b.         Mr. Mears Invades the Province of the Court and Jury ............... 92
                     3.         Mr. Unsworth Cannot Vouch for Others’ Diminished Value
                                Opinions ................................................................................................... 94
CONCLUSION ............................................................................................................................ 98




                                                                     iii
         Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 5 of 111




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Adams v. Cooper Indus., Inc.,
   2007 WL 1805586 (E.D. Ky. 2007) ..................................................................................69, 84

In re Agent Orange Prod. Liab. Litig.,
    597 F. Supp. 740 (E.D.N.Y. 1984), aff’d, 818 F.2d 145 (2d Cir. 1987) ............................72, 73

Allen v. Pa. Eng’g Co.,
    102 F.3d 194 (5th Cir. 1996) ........................................................................................... passim

Almeciga v. Ctr. for Investigative Reporting, Inc.,
   185 F. Supp. 3d 401 (S.D.N.Y. 2016)......................................................................................54

Am. Honda Motor Co. v. Allen,
   600 F.3d 813 (7th Cir. 2010) ...................................................................................................13

Amorgianos v. Nat’l R.R. Passenger Corp.,
  303 F.3d 256 (2d Cir. 2002).........................................................................................11, 12, 41

In re Asacol Antitrust Litig.,
    907 F.3d 42 (1st Cir. 2018) ....................................................................................14, 31, 34, 35

ASARCO Inc. v. Kadish,
   490 U.S. 605 (1989) .................................................................................................................35

Ashland Hosp. Corp. v. Affiliated FM Ins. Co.,
   2013 WL 3213051 (E.D. Ky. 2013) ........................................................................................45

Awad v. Merck & Co.,
  99 F. Supp. 2d 301 (S.D.N.Y. 1999), aff’d sub nom. Washburn v. Merck &
  Co., 213 F.3d 627 (2d Cir. 2000) .............................................................................................47

Barber v. United Airlines, Inc.,
   17 F. App’x 433 (7th Cir. 2001) ..................................................................................36, 65, 80

Black v. Food Lion, Inc.,
   171 F.3d 308 (5th Cir. 1999) ...................................................................................................96

In re Blood Reagents Antitrust Litig.,
    783 F.3d 183 (3d Cir. 2015).....................................................................................................13

Braun v. Lorillard Inc.,
   84 F.3d 230 (7th Cir. 1996) .....................................................................................................11


                                                                   iv
         Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 6 of 111




Bricklayers & Trowel Trades Int’l Pension Fund v. Credit Suisse Securities (USA)
    LLC,
    752 F.3d 82 (1st Cir. 2014) ......................................................................................................65

Bridge v. Phx. Bond & Indem. Co.,
   553 U.S. 639 (2008) .................................................................................................................33

Broussard v. Meineke Discount Muffler Shops, Inc.,
   155 F.3d 331 (4th Cir. 1998) .......................................................................................15, 32, 71

Burst v. Shell Oil Co.,
   104 F. Supp. 3d 773, 781 (E.D. La. 2015) ...............................................................................46

Clark v. Takata Corp.,
   192 F.3d 750 (7th Cir. 1999) ...................................................................................................27

Clarr v. Burlington,
   29 F.3d 499 (9th Cir. 1994) .....................................................................................................38

Coffey v. Dowley Mfg., Inc.,
   89 F. App’x 927 (6th Cir. 2003) ..............................................................................................45

Coleman v. Union Carbide Corp.,
   2013 WL 5461855 (S.D.W. Va. 2013) ....................................................................................65

Contini by Contini v. Hyundai Motor Co.,
   876 F. Supp. 540 (S.D.N.Y. 1995) ..........................................................................................92

Covic v. Berk,
   2014 WL 3510502 (W.D. Tenn. 2014) ....................................................................................89

Cowden v. BNSF Ry. Co.,
  2013 WL 5442926 (E.D. Mo. 2013) ........................................................................................92

Daubert v. Merrell Dow Pharm., Inc.,
   509 U.S. 579 (1993) ......................................................................................................... passim

Daubert v. Merrell Dow Pharms., Inc.,
   43 F.3d 1311 (9th Cir. 1995) (Daubert II) ...............................................................................47

Doe v. Am. Med. Systems, Inc.,
   96 F. App’x 758 (2d Cir. 2004) ...............................................................................................51

Doe v. Hartford Sch. Dist.,
   2018 WL 1064572 (D. Vt. 2018) .............................................................................................97

Drake v. Allergan, Inc.,
   2014 WL 5392995 (D. Vt. 2014) .............................................................................................93

                                                                    v
         Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 7 of 111




Dunn v. Sandoz Pharm. Corp.,
   275 F. Supp. 2d 672 (M.D.N.C. 2003) ....................................................................................63

Ebert v. Gen. Mills, Inc.,
   823 F.3d 472 (8th Cir. 2016) ...................................................................................................30

Edison Wetlands Ass’n, Inc. v. Akzo Nobel Chems. Inc.,
   2009 WL 5206280 (D.N.J. 2009) ............................................................................................37

EEOC v. Freeman,
  778 F.3d 463 (4th Cir. 2015) .............................................................................................40, 65

In re Fluidmaster, Inc., Water Connector Components Prod. Liab. Litig.,
    2017 WL 1196990 (N.D. Ill. 2017) .........................................................................................32

In re Fosamax Prods. Liab. Litig.,
    688 F. Supp. 2d 259 (S.D.N.Y. 2010)......................................................................................51

Gates v. Rohm & Haas Co.,
   265 F.R.D. 208 (E.D. Pa. 2010) .........................................................................................19, 25

Gates v. Rohm & Haas Co.,
   655 F.3d 255 (3d Cir. 2011)............................................................................................. passim

Gen. Elec. Co. v. Joiner,
   522 U.S. 136 (1997) ......................................................................................................... passim

Glastetter v. Novartis Pharm. Corp.,
   252 F.3d 986 (8th Cir. 2001) .............................................................................................73, 81

Goebel v. Denver & Rio Grande W. R.R. Co.,
   215 F.3d 1083 (10th Cir. 2000) ...............................................................................................87

Guinn v. AstraZeneca Pharm. LP,
   602 F.3d 1245 (11th Cir. 2010) ...............................................................................................96

Haller v. AstraZeneca Pharms. LP,
   598 F. Supp. 2d 1271 (M.D. Fla. 2009) .............................................................................38, 61

Happel v. Wal-Mart Stores, Inc.,
   602 F.3d 820 (7th Cir. 2010) ...................................................................................................40

Hiramoto v. Goddard Coll. Corp.,
   184 F. Supp. 3d 84, 97 (D. Vt. 2016), aff’d, 684 F. App’x 48 (2d Cir. 2017) .............87, 88, 92

Huss v. Gayden,
   571 F.3d 442 (5th Cir. 2009) .............................................................................................40, 50



                                                                  vi
         Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 8 of 111




In re Hydrogen Peroxide Antitrust Litig.,
    552 F.3d 305 (3d Cir. 2008).....................................................................................................14

Hygh v. Jacobs,
   961 F.2d 359 (2d Cir. 1992).........................................................................................92, 93, 95

Innis Arden Golf Club v. Pitney Bowes, Inc.,
    629 F. Supp. 2d 175 (D. Conn. 2009) ......................................................................................45

In re IPO Sec. Litig.,
    471 F.3d 24 (2d Cir. 2006), clarified on reh’g, 483 F.3d 70 (2d Cir. 2007) ...........................13

K.E. v. GlaxoSmithKline LLC,
   2017 WL 440242 (D. Conn. 2017) ..............................................................................63, 64, 80

Kumho Tire Co. v. Carmichael,
  526 U.S. 137 (1999) ......................................................................................................... passim

Langenbau v. Med-trans Corp.,
   167 F. Supp. 3d 983 (N.D. Iowa 2016) ..............................................................................89, 92

LifeWise Master Funding v. Telebank,
    374 F.3d 917 (10th Cir. 2004) .................................................................................................15

In re Lipitor (Atorvastatin Calcium) Mktg., Sales Practices & Prod. Liab. Litig.
    (No II),
    892 F.3d 624 (4th Cir. 2018) .......................................................................................61, 63, 65

Magistrini v. One Hour Martinizing Dry Cleaning,
  180 F. Supp. 2d 584 (D.N.J. 2002) ..............................................................................77, 79, 81

Major League Baseball Props., Inc. v. Salvino, Inc.,
   542 F.3d 290 (2d Cir. 2008)............................................................................................. passim

Malletier v. Dooney & Bourke, Inc.,
   525 F. Supp. 2d 558 (S.D.N.Y. 2007)......................................................................................40

Marx & Co. v. Diners’ Club Inc.,
  550 F.2d 505 (2d Cir. 1977).....................................................................................................95

Matosky v. Manning,
   428 F. App’x 293 (5th Cir. 2011) ............................................................................................46

M.B. ex rel. Scott v. CSX Transp., Inc.,
   130 F. Supp. 3d 654 (N.D.N.Y. 2015) .....................................................................................38

McClain v. Metabolife Int’l, Inc.,
  401 F.3d 1233 (11th Cir. 2005) ....................................................................................... passim

                                                                 vii
         Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 9 of 111




McLaughlin v. Am. Tobacco Co.,
  522 F.3d 215 (2d Cir. 2008)...............................................................................................33, 35

Mike’s Train House, Inc. v. Lionel, L.L.C.,
   472 F.3d 398 (6th Cir. 2006) .......................................................................................45, 47, 49

Milanowicz v. The Raymond Corp.,
   148 F. Supp. 2d 525 (D.N.J. 2001) ..............................................................................61, 77, 86

In re Mirena IUD Prods. Liab. Litig.,
    169 F. Supp. 3d 396, 450-51 (S.D.N.Y. 2016) ................................................................ passim

In re Mirena Ius Levonorgestrel-Related Prod. Liab. Litig. (No. II),
    2018 WL 5276431 (S.D.N.Y. 2018) ................................................................................ passim

Mitchell v. Gencorp, Inc.,
   165 F.3d 778 (10th Cir. 1999) ...............................................................................63, 68, 73, 83

Moore v. Ashland Chem. Inc.,
  151 F.3d 269 (5th Cir. 1998) .......................................................................................62, 86, 96

Nelson v. Tenn. Gas Pipeline Co.,
   243 F.3d 244 (6th Cir. 2001) ...................................................................................................10

Newman v. Motorola, Inc.,
   218 F. Supp. 2d 769 (D. Md. 2002), aff’d, 78 F. App’x 292 (4th Cir. 2003) ..........................13

Nimely v. City of New York,
   414 F.3d 381 (2d Cir. 2005).........................................................................................61, 77, 97

Norris v. Baxter Healthcare Corp.,
   397 F.3d 878 (10th Cir. 2005) .................................................................................................64

Opperman v. Path, Inc.,
   2016 WL 3844326 (N.D. Cal. 2016) .......................................................................................32

Owens v. Auxilium Pharm., Inc.,
  895 F.3d 971 (7th Cir. 2018) .......................................................................................12, 18, 21

In re Paoli R.R. Yard PCB Litig.,
    35 F.3d 717 (3d Cir. 1994).................................................................................................12, 13

Parko v. Shell Oil Co.,
   739 F.3d 1083 (7th Cir. 2014) .................................................................................................30

In re Pharmacy Benefit Mgrs. Antitrust Litig.,
    2017 WL 275398 (E.D. Pa. 2017) ...............................................................................15, 19, 25



                                                                viii
         Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 10 of 111




In re Rail Freight Fuel Surcharge Antitrust Litig.-MDL No. 1869,
    725 F.3d 244 (D.C. Cir. 2013) .................................................................................................34

Reed v. Advocate Health Care,
   268 F.R.D. 573 (N.D. Ill. 2009) ...............................................................................................56

In re Rezulin Prod. Liab. Litig.,
    369 F. Supp. 2d 398 (S.D.N.Y. 2005)....................................................................38, 65, 67, 69

In re Rezulin Prods. Liab. Litig.,
    309 F. Supp. 2d 531 (S.D.N.Y. 2004)....................................................................88, 89, 92, 93

Rhodes v. E.I. duPont de Nemours & Co.,
   253 F.R.D. 365 (S.D. W. Va. 2008), appeal dism’d, 636 F.3d 88 (4th Cir.
   2011) ..................................................................................................................................18, 74

Rider v. Sandoz Pharms. Corp.,
   295 F.3d 1194 (11th Cir. 2002) .........................................................................................67, 76

Rosen v. Ciba-Geigy Corp.,
   78 F.3d 316 (7th Cir. 1996) ...............................................................................................11, 69

Rotman v. Progressive Ins. Co.,
   955 F. Supp. 2d 272 (D. Vt. 2013).....................................................................................11, 97

Rowe v. E.I. duPont de Nemours & Co.,
   2008 WL 5412912 (D.N.J. 2008) ................................................................................17, 23, 74

Sher v. Raytheon Co.,
   419 F. App’x 887 (11th Cir. 2011) ....................................................................................13, 14

Soldo v. Sandoz Pharms. Corp.,
   244 F. Supp. 2d 434 (W.D. Pa. 2003) ......................................................................................11

In re TMI Litig. Cases Consolidated II,
    911 F. Supp. 775 (M.D. Pa. 1996), aff’d, 193 F.3d 613 (3d Cir. 1999) ..................................26

In re Trasylol Prods. Liab. Litig.,
    709 F. Supp. 2d 1323 (S.D. Fla. 2010) ....................................................................................88

Unger v. Amedisys Inc.,
   401 F.3d 316 (5th Cir. 2005) ...................................................................................................13

United States v. Mazzeo,
   205 F.3d 1326 (2d Cir. 2000)...................................................................................................12

United States v. Scop,
   846 F.2d 135 (2d Cir.)..............................................................................................................95

                                                                       ix
        Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 11 of 111




Valente v. Textron, Inc.,
   931 F. Supp. 2d 409 (E.D.N.Y. 2013) .....................................................................................54

Wal-Mart Stores, Inc. v. Dukes,
   564 U.S. 338 (2011) ...........................................................................................................13, 14

Watkins v. Telsmith, Inc.,
   121 F.3d 984 (5th Cir. 1997) ...................................................................................................11

Weisgram v. Marley Co.,
   528 U.S. 440 (2000) .................................................................................................................11

Wright v. Willamette Indus., Inc.,
   91 F.3d 1105 (8th Cir. 1996) .............................................................................................74, 76

In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig.,
    858 F.3d 787 (3d Cir. 2017)............................................................................................. passim

Statutes and Rules

28 U.S.C. § 2072 ............................................................................................................................33

Fed. R. Civ. P. 23 .................................................................................................................2, 14, 36

Fed. R. Evid. 402 ...........................................................................................................................89

Fed. R. Evid. 403 .................................................................................................................5, 89, 97

Fed. R. Evid. 404 ...........................................................................................................................89

Fed. R. Evid. 702 ................................................................................................................... passim

Vt. Admin. Code 16-3-100:5-101 (1981) ......................................................................................93

Vt. Admin. Code 16-3-100:5-101 (1981) ......................................................................................93

Other Authorities

ABA Section of Antitrust Law, Econometrics: Legal, Practical, and Technical
  Issues (2d ed. 2014). ................................................................................................................56

ATSDR, ToxGuide for Perfluoroalkyls (2015) .............................................................................67

Barton, C.A., Botelho, M.A., Kaiser, M.A. (2009). Solid Vapor Pressure and
   Enthalpy of Sublimation for Ammonium Perfluorooctanoate. J. Chem. Eng.
   Data, 54, 752-755 (cited as “Barton (2009)”) ................................................................... 39-40

Stacy Giordullo, Signs You May Need a New Well Pump, Angieslist.com (Oct.
   20, 2014) (cited as “Unsworth Tr. Ex. 12”) .............................................................................58

                                                                      x
         Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 12 of 111




Kate Halse, How Much Does Water Softener Installation Cost? (Sept. 10, 2015),
   available at https://bit.ly/2zt6DUe (last visited Nov. 25, 2018) ..............................................59

Krusic, P.J., Roe, D.C. (2004). Gas-Phase NMR Technique for Studying the
    Thermolysis of Materials: Thermal Decomposition of Ammonium
    Perfluorooctanoate. Anal. Chem., 76, 3800-3803 (cited as “Krusic and Roe
    (2004)”). .................................................................................................................................40

Krusic, P.J., Marchione, A.A., Roe, D.C. (2005). Gas-Phase NMR studies of the
    thermolysis of perfluorooctanoic acid. Journal of Flourine Chemistry, 126,
    1510-1516 (cited as “Krusic et al. (2005)”) ...........................................................................40

Milinovic J., Lacorte S., Vidal M., Rigol A. (2015). Sorption behaviour of
    perfluoroalkyl substances in soils, Sci. of the Total Environment 511, 63-71
    (cited as “Siegel Tr. Ex. K”)...................................................................................................40

Rao P.S.C., Hornsby A.G., Jessup R.E. (1985). Indices for Ranking the Potential
    for Pesticide Contamination of Groundwater, Soil and Crop Science Society
    of Florida, Proceedings Volume 44, 1985 (cited as “Siegel Tr. Ex. G”) ......................... 49-50

Siegel, D.I. (2001), ‘Truth or Consequences’ for the practicing hydrologist:
    on scientific certainty and ethics, Hydrol. Process. 15, 521-523 (cited as
    “Siegel Tr. Ex. Q”) .................................................................................................................48

Zhu, R.S., Wang, J.H., Lin, M.C. (2007). Sublimation of Ammonium Salts: A
    Mechanism Revealed by a First-Principles Study of the NH4Cl System. J.
    Phys. Chem. C, 111, 13831-13838 (cited as “Zhu (2007)”) ..................................................40




                                                                       xi
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 13 of 111




                                 PRELIMINARY STATEMENT

       Plaintiffs seek to proffer eight experts in support of their quest for medical monitoring and

property damages on behalf of putative classes of persons allegedly affected by perfluorooctanoic

acid (PFOA) in Bennington and North Bennington, Vermont. PFOA was a widely used substance

in many applications for nearly half a century. Until just before the start of this litigation, it was

not regulated by Vermont law. Even to this date, no scientific study or regulatory body has found

that PFOA causes the conditions for which Plaintiffs seek monitoring. No public health authority

has recommended medical monitoring for any condition arising out of PFOA exposure. And

though Saint-Gobain’s predecessor, Chemfab, has not operated in Vermont for more than a decade,

Saint-Gobain agreed to fund the extension of water lines to hundreds of individuals whose wells

had PFOA detected above Vermont’s recently instituted limits, one of the lowest in the country.

       Despite all this, Plaintiffs’ experts say that PFOA causes an array of ailments and that

everyone with PFOA above background levels should receive medical monitoring for 30 years.

They also claim that, despite its ubiquitous use in this country and the complexity of Vermont

climate and geology, all the PFOA in Bennington and North Bennington can be attributed to

Chemfab alone. They say that local residents have actually been harmed by the municipal water

extensions and that Saint-Gobain should be required to subsidize the Town of Bennington’s “wish

list” for infrastructure improvements as damages. Most notably, they say all of this can be

established on a common basis as a class action for the untold thousands of individuals who have

resided in the putative class area over the last 50 years.

       “‘[E]xpert evidence can be both powerful and quite misleading.’” Daubert v. Merrell Dow

Pharm., Inc., 509 U.S. 579, 595 (1993) (citation omitted). It is thus critical for this Court to

exercise its “gatekeeping role” to “ensure that any and all scientific testimony or evidence admitted
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 14 of 111




is not only relevant, but reliable.” Id. at 589, 597. That duty takes on particular weight here

because of the gravity and class-wide scope of the claims made by Plaintiffs’ experts, whose

testimony in support of class certification must also pass through Daubert’s gates.

        The testimony of the five experts identified by Plaintiffs in support of class certification is

inadmissible due to lack of “fit,” or relevance, to class certification. Expert testimony fits class

certification where it shows that an element of Rule 23 can be established by common proof. But

none of Plaintiffs’ experts even purports to establish anything as to any particular member of the

putative class, much less anything amenable to class-wide proof. Instead, Plaintiffs’ experts rely

on the convenient fiction of “average” or “hypothetical” class members to gloss over the individual

issues that pervade their claims. As a result, none of Plaintiffs’ expert testimony can support class

certification because they cannot prove anything about any putative class member, much less so

on a common basis. Their medical monitoring expert does not even consider the individual

circumstances of the named Plaintiffs, let alone the absent putative class members, as to whom he

admits there are multiple individual differences relative to medical monitoring. Their “fate and

transport” experts admit that none of their opinions can show the presence, amount, or source of

PFOA at any property in the class area. And their groundwater damages expert computes only the

damages of a purported “average” class member—not any actual class members, whose individual

circumstances he does not even consider. In conducting the required scrutiny of expert testimony

proffered for class certification, this lack of “fit” is alone sufficient to warrant the denial of

Plaintiffs’ motion for class certification.

        Plaintiffs’ expert testimony in support of class certification is also unreliable. Among

many other things, the failure of their medical monitoring expert to consider any of the admittedly

varied individual circumstances of the Plaintiffs and putative class members is fatal to the




                                                  2
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 15 of 111




reliability of his opinion. Likewise, Plaintiffs’ fate and transport experts ignored actual data

regarding Chemfab’s facilities and the putative class, and instead developed opinions that are

arbitrary, litigation-driven, and ungrounded in science or reality. And their groundwater damages

expert cannot reliably opine on the damages of the putative class members when he ignores all

plaintiff-specific data and the wide variation throughout the putative class. These many defects

provide independent and additional grounds for denial of class certification.

       Finally, Plaintiffs’ experts’ merits opinions—some of which overlap with class

certification issues—are also inadmissible. Plaintiffs’ expert testimony proffered in support of

medical causation is based on subjective and standardless methodologies. Contrary to the well-

settled requirements for scientific evaluation of medical causation, these experts pick the studies

they like, ignore the ones they do not like, fail to address study limitations, improperly conflate

association with causation, and muddle the issue of dose. Second, the various legal opinions

offered by Plaintiffs’ experts—that Chemfab violated regulations or acted unreasonably, or that

Vermont law allows individual Plaintiffs to opine on diminution in value—improperly interfere

with this Court’s sole duty to decide the law. They should be excluded.

       Because of the large volume of Plaintiffs’ expert testimony, even this omnibus brief is

insufficient to catalog all of the methodological and other errors in Plaintiffs’ expert testimony.

Saint-Gobain addresses the errors below for illustrative purposes, and without waiver of similar or

other defects, which are addressed in Saint-Gobain’s expert reports and incorporated herein.

                                        BACKGROUND

       Plaintiffs have disclosed a total of nine expert witnesses. Saint-Gobain has deposed them

all, and some of them twice. Saint-Gobain has disclosed ten experts in this case. Plaintiffs have

not attempted to depose any of them. Their time to do so has now lapsed. (Dkt. 195 at 1.)




                                                3
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 16 of 111




       Plaintiffs disclosed their experts at three stages and for three purported purposes: (A) class

certification; (B) merits; and (C) rebuttal. For context, Saint-Gobain outlines the substance of their

opinions and the primary bases of its challenges to their admissibility below.

       A.      Plaintiffs’ Class Certification Experts

       Plaintiffs seek certification of the following two proposed classes:

       Exposure Class: “All persons, whether minor or adult, including any person
       claiming by, through, or under a Class Member, who, as of the time a class is certified
       in this case, have resided in the Zone of Contamination and have ingested PFOA-
       contaminated water in the Zone of Contamination and who have suffered
       accumulation of PFOA in the bodies as demonstrated by blood serum tests disclosing
       a PFOA level in their blood above the recognized background levels.”

       Property Class: “All natural persons, whether minor or adult, including any person
       claiming by, through or under a Class Member, who have interests in real property
       within the Zone of Contamination, including, but not limited to, those persons whose
       private water supply wells have been found to be contaminated with PFOA above 20
       ppt.”

(TAC, Dkt. 113, ¶ 77.) Plaintiffs define the zone referred to above as “those areas … designated

by the State of Vermont as ‘Designated Areas of Concern in North Bennington and Bennington’

on April 26, 2016, the boundaries of which being most recently delineated on April 17, 2017.”

(Id. ¶ 76.) Plaintiffs disclosed five experts in support of class certification, as follows.

               1.      Dr. Alan Ducatman (Medical Monitoring)

       Plaintiffs proffer the opinions of Alan Ducatman, M.D., in support of class-wide medical

monitoring. (Dkt. 107-1 at 28-29; Ducatman Class Rpt. at 1.) 1 Dr. Ducatman opines that medical

monitoring for an array of alleged ailments should be offered to individuals who have ever resided

in the proposed class area, have consumed water allegedly containing PFOA, and have blood




1
  All non-docket documents cited herein are submitted with Saint-Gobain’s omnibus Declaration
and Exhibits, in which they may be located in the table of contents or the index by their short
citation used in this brief.


                                                   4
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 17 of 111




serum concentrations of PFOA above the national average. (Ducatman Merits Rpt. at 1, 19-25;

Ducatman Tr. at 96:23-97:10.)

       Like those of Plaintiffs’ other experts, these opinions suffer from several fundamental flaws

that render them inadmissible under Daubert and Rules 702 and 403. Dr. Ducatman admits to, but

ignores, the many “considerable individual differences” that pervade the putative class. He did

not speak to or examine any Plaintiff or even so much as review a single medical record before

rendering his opinions. (Ducatman Tr. at 37:8-19.) He does not even know the ages of the named

Plaintiffs. (Id. at 195:6-13.) Rather than speaking with any of their physicians, he “imagine[s

him]self sitting with” and “talking with the doctors [in] Bennington in [his] mind.” (Id. at 133:2-

134:11; 166:7-16; 173:22-174:4.) His opinions do not “fit” the issues in this matter and cannot

reliably address class-wide medical monitoring, as further explained by Saint-Gobain’s experts,

Drs. Philip Guzelian and Jeffrey Mandel. (Guzelian Rpt. at 94-126, 341-42; Guzelian Reb. Rpt.

at 3-12, 21-41; Mandel Rpt. at 87-100, 121-28; Mandel Reb. Rpt. at 106-11, 114-15.)

       Dr. Ducatman’s medical causation opinion is similarly deficient. Among its many flaws,

it fails to follow an objective methodology and deviates from established scientific methods for

determining causation, as further explained by Saint-Gobain’s experts Drs. Edward Calabrese,

Guzelian, and Mandel. (Calabrese Rpt. at 5-32; Guzelian Rpt. at 126-341; Guzelian Reb. Rpt. at

2-3, 12-19; Mandel Rpt. at 28-87, 101-21; Mandel Reb. Rpt. at 101-06.) Nor can he cure the

defects in his methodology through his rebuttal report. (Ducatman Reb. Rpt.)

               2.     Dr. Philip Hopke (Air Emissions)




                                                5
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 18 of 111




                      His opinion is the first piece in Plaintiffs’ fate and transport proffer, which was,

in turn, relied upon by Gary Yoder, who proffered an air deposition model, and Donald Siegel,

Ph.D., who proffered a hydrogeological opinion. But Dr. Hopke’s methods are unreliable.




                                              (Chinkin Rpt. at 29-30.) Importantly, Dr. Hopke does not

consider any actual emissions data from Chemfab facilities. As another of Plaintiffs’ experts

acknowledged, his estimates are thus “arbitrary” (Yoder Tr. at 76:12-24), divorced from the actual

facts at issue. Moreover, Dr. Hopke changed his opinions on chemical processes over the course

of this litigation.



                                         (Hopke Class Rpt. at 2-4.) But he changed his opinion in his

rebuttal report. (Hopke Reb. Rpt. at 1-2; Hopke Reb. Tr. at 130:16-132:2.)

                                                             (Chinkin Reb. Rpt. at 8-11.)



                                                                  (Hopke Merits Rpt. at 1),



                                                                                      (Id. at 6.) These

opinions are not grounded in any discernable scientific methodology and should be excluded, as

explained by Saint-Gobain’s regulatory expert, Felix Flechas. (Flechas Rpt. at 16-18.)

                 3.         Gary Yoder (Air Transport)



                                                 (Yoder Class Rpt. at 1, 4-5; Yoder Reb. Rpt. at 1.)




                                                      6
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 19 of 111




                                                       Moreover, while Plaintiffs proffer Mr. Yoder’s

opinion to support class certification, it does not fit that task.

                                                                                                  He

admits he cannot determine on a common basis the presence, amount, or source of PFOA at any

given property, much less at any given time. (Yoder Tr. at 162:8-163:19.)

                 4.     Dr. Donald Siegel (Groundwater Transport)

        Plaintiffs also proffer Dr. Siegel to “present common proof” of PFOA in “the class

members’ properties, wells, and underlying groundwater.” (Mot. for Cert., Dkt. 107-1, at 20;

Siegel Class Rpt. at 1-1.) Yet like Mr. Yoder, Dr. Siegel admits that his groundwater opinion is

unable to determine on a common basis either the presence or the amount of PFOA at any specific

location in the proposed class area. (Siegel Tr. at 33:7-34:14, 57:4-14.) Nor can Dr. Siegel say

when PFOA arrived at any particular property or when it will dissipate. Instead, Dr. Siegel

performs a “back of the envelope” analysis, based not on any actual data from the class area, but

on two hypothetical areas one-square meter in size, ignoring individual variations across the

proposed class area. (Id. at 100:22-24, 104:12-105:10.) His testimony thus does not “fit” class

certification.




                                              (Morrissey Rpt. at 16-32.)




                                                                                   (Siegel Class Rpt.

at 4-1 to 5-1; Siegel Class Reb. Rpt. at 2-16 to 2-19; Morrissey Rpt. at 25, 28-32; Morrissey Reb.

Rpt. at 2, 7-14.)


                                                   7
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 20 of 111




       Beyond his fate-and-transport opinion, Dr. Siegel offers a merits opinion similar to Dr.

Hopke’s, in which he purports to opine on what ChemFab “either knew or should have known”

about its emissions. (Siegel Merits Rpt. at 2-5.) Dr. Siegel admits that these opinions are

“speculation” based on his reading of documents selected by Plaintiffs’ counsel. (Siegel Tr. at

22:23-23:11, 204:18-205:9; Hopke Tr. at 33:7-34:2.) This opinion is not grounded in any scientific

methodology and is inadmissible.

               5.     Robert Unsworth (Groundwater Damages)

       Plaintiffs initially proffered Mr. Unsworth “to identify reliable and appropriate measures

of groundwater damages” for the putative class, and to quantify those damages. (Unsworth Class

Rpt. at 1.) He opines on two measures of damages: (1) an “added cost” opinion that purports to

calculate the additional cost experienced by proposed class members who transitioned from private

wells to municipal water systems (Unsworth Merits Rpt. at 10-15); and (2) a “replacement cost”

opinion on water infrastructure improvements to offset the “loss of the option to utilize

groundwater.” (Id. at 15-19.)




          (Mullin Rpt. at 3-5, 24-43; Mullin Reb. Rpt. at 7-9.) Likewise, Mr. Unsworth’s

replacement cost opinion does not fit class certification because it addresses compensation for the

public and the local water utility, not the putative class members. (Unsworth Reb. Tr. at 172:9-

173:19; Unsworth Mullin Reb. Rpt. at 24-25.)

       In addition, Mr. Unsworth proffered a rebuttal to the opinions of Saint-Gobain’s experts

Dr. Thomas Jackson and Trevor Phillips

                                             (Jackson Rpt. at 5-21; Phillips Rpt. at 15-51; Jackson-

Phillips Class Data Rpt.; Unsworth Prop. Reb. Rpt. at 1-4.) Yet Mr. Unsworth stated that Plaintiffs


                                                8
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 21 of 111




were not even “seeking class certification for purposes of establishing monetary damages

associated with property value diminution”

                    (Unsworth Prop. Reb. Rpt. at 1-2; Jackson Reb. Rpt. at 9; Phillips Reb. Rpt.)

Instead, he offered only the inadmissible legal opinion that the Plaintiffs should be entitled to

testify to their alleged diminution in value, without regard to whether their opinions were reliable.

(Unsworth Prop. Reb. Rpt. at 7.)

       B.      Plaintiffs’ Additional Merits Experts

       Plaintiffs disclosed three additional “merits” experts: Edgar Gentle, Donald Brandt, and

Donald Shepard. Each of them opined on some aspect of the valuation or feasibility of the medical

monitoring program proposed by Dr. Ducatman. Their opinions are derivatively inadmissible

because they are premised entirely on Dr. Ducatman’s inadmissible opinion. (Gentle Rpt. at 1;

Brandt Rpt. at 3, 8; Shepard Rpt. at 3.)

       C.      Plaintiffs’ “Rebuttal” Experts

               1.      Dr. Philippe Grandjean (General Causation)

       After Saint-Gobain served its expert reports, Plaintiffs sought leave to serve rebuttal

reports, which the Court granted. In particular, they sought to proffer the report of Philippe

Grandjean, MD, MSc, who they said was “going to be targeting like a laser only three expert

opinions of [the] defense” concerning medical issues. (Dkt. 183 at 5, 26.) In fact, Dr. Grandjean

served a blunderbuss 112-page report, all but about eight pages of which were substantially copied

and pasted from a case-in-chief report served little more than a month earlier in related PFOA

litigation in New Hampshire. (Grandjean Rpt.; Grandjean Rpt. Redline.) In addition, Plaintiffs

have stipulated they will not offer Dr. Grandjean’s opinion on the issue of medical monitoring.

For these reasons and others, Saint-Gobain has simultaneously moved to strike those portions of

Dr. Grandjean’s report that do not constitute proper rebuttal testimony. (Dkt. 192.)


                                                 9
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 22 of 111




          In addition to running afoul of the Court’s order on the scope of rebuttal, Dr. Grandjean’s

opinion is inadmissible for many of the same reasons as Dr. Ducatman. Dr. Grandjean invokes a

“weight of the evidence” methodology, but as his report and testimony confirm, that methodology

is designed for preventive regulatory risk assessments—not tort claims in litigation. Nor does Dr.

Grandjean apply any scientific standards in his purported use of that method, which amounts to a

black box in which he subjectively selects or disregards evidence in an unprincipled and

unscientific fashion. Like Dr. Ducatman, his causation opinions start from an arbitrarily selected

exposure threshold and proceed to infer causation in a manner that disregards the principles he

admits should guide scientific inquiry. These defects and many others are set forth below and in

the rebuttal reports of Drs. Sorell Schwartz, Calabrese, Mandel, and Guzelian. (Schwartz Reb.

Rpt. at 4-14; Calabrese Reb. Rpt. at 1-7, 11-12; Mandel Reb. Rpt. at 7-100; Guzelian Reb. Rpt. at

42-91.)

                 2.      David Mears (Regulatory)

          Finally, Plaintiffs proffered on rebuttal the opinion testimony of David Mears. Because

Dr. Hopke lacked any regulatory experience, Mr. Mears purports to “adopt Dr. Hopke’s opinions

concerning Defendant’s violations of Vermont’s air pollution regulations and rely upon the

documents he relied upon.” (Mears Reb. Rpt. at 1-2.) This narrative legal opinion is unhelpful to

the Court and is inadmissible for the same reasons as Dr. Hopke’s opinion, as well as the reasons

outlined in the rebuttal report by Mr. Flechas. (Flechas Reb. Rpt.)

                      THRESHOLD SCRUTINY OF EXPERT TESTIMONY

          “‘[B]ecause expert witnesses are not necessarily always unbiased scientists,’” determining

the admissibility of expert testimony requires “close judicial analysis.” Nelson v. Tenn. Gas

Pipeline Co., 243 F.3d 244, 252 (6th Cir. 2001) (citation omitted). In conducting this threshold

analysis, courts must exclude expert testimony that is not “based on sufficient facts or data,” is not


                                                  10
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 23 of 111




“the product of reliable principles and methods,” or has not “reliably applied the principles and

methods to the facts of the case.” Fed. R. Evid. 702. These “exacting standards of reliability,”

Weisgram v. Marley Co., 528 U.S. 440, 455 (2000), furnish “the district court the discretion needed

to ensure that the courtroom door remains closed to junk science.” Amorgianos v. Nat’l R.R.

Passenger Corp., 303 F.3d 256, 267 (2d Cir. 2002). Courts must ensure the expert “employs in

the courtroom the same level of intellectual rigor that characterizes the practice of an expert in the

relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999); see also Braun v.

Lorillard Inc., 84 F.3d 230, 234-35 (7th Cir. 1996); Watkins v. Telsmith, Inc., 121 F.3d 984, 990

(5th Cir. 1997); Allen v. Pa. Eng’g Co., 102 F.3d 194, 198-99 (5th Cir. 1996). “[T]he courtroom

is not the place for scientific guesswork, even of the inspired sort. Law lags science; it does not

lead it.” Rosen v. Ciba-Geigy Corp., 78 F.3d 316, 319 (7th Cir. 1996).

       A.      Plaintiffs Bear the Burden of Proving Admissibility

       Plaintiffs, as the proponents of the expert evidence, bear the burden of showing it is

admissible. Rotman v. Progressive Ins. Co., 955 F. Supp. 2d 272, 281 (D. Vt. 2013). Saint-Gobain

does not bear the burden of demonstrating inadmissibility. Soldo v. Sandoz Pharms. Corp., 244

F. Supp. 2d 434, 534 (W.D. Pa. 2003). The Daubert inquiry carefully distinguishes between the

threshold reliability that Plaintiffs must satisfy and the role of cross-examination. “Vigorous cross-

examination, presentation of contrary evidence, and careful instruction on the burden of proof are

the traditional and appropriate means of attacking shaky but admissible evidence. ... These

conventional devices ... are the appropriate safeguards where the basis of scientific testimony

meets the standards of Rule 702.” Daubert, 509 U.S. at 596 (emphasis added).

       B.      Expert Testimony Must “Fit” the Facts of the Case

       When deciding whether an expert’s opinion is relevant, the Court must ensure that it “fits”

the facts of the case. Id. at 591-92. The district court acts as a “gatekeeper” to ensure that evidence


                                                  11
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 24 of 111




presented is reliable and “relevant to the task at hand.” Id. at 597. Expert testimony is properly

excluded if it is “not scientifically reliable as applied to this case.” United States v. Mazzeo, 205

F.3d 1326 (2d Cir. 2000). Thus, for example, an expert’s opinion on “hypothetical” circumstances,

rather than the facts at issue, shows a “lack of familiarity with the case” that affects both “the

certainty of his conclusion” and whether it “fit[s] the facts of the case.” Owens v. Auxilium Pharm.,

Inc., 895 F.3d 971, 973 (7th Cir. 2018).

       C.      Expert Opinion Requires Reliable Application of Reliable Methods

       “[T]he trial judge must ensure that any and all scientific testimony or evidence admitted is

not only relevant, but reliable.” Daubert, 509 U.S. at 589. “[I]t is critical that an expert’s analysis

be reliable at every step.” Amorgianos, 303 F.3d at 267. When “deciding whether a step in an

expert’s analysis is unreliable, the district court should undertake a rigorous examination of the

facts on which the expert relies, the method by which the expert draws an opinion from those facts,

and how the expert applies the facts and methods to the case at hand.” Id. “[A]ny step that renders

the analysis unreliable under the Daubert factors renders the expert’s testimony inadmissible.” Id.

(citation omitted). “This is true whether the step completely changes a reliable methodology or

merely misapplies that methodology.” In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 745 (3d Cir.

1994) (emphasis omitted).

       While the Daubert inquiry is “a flexible one,” there are general factors for determining

reliability. Daubert, 509 U.S. at 593-94. Of particular importance is whether “the theory ... can

be (and has been) tested.” Id. at 593. Another factor is whether the theory has been subjected to

evaluation by peer review and publication. Id. A third factor is the known or potential rate of

error and the existence and maintenance of standards controlling the technique’s operation. Id. at

594. A final consideration is whether the theory has been generally accepted in the scientific

community. Id. These factors are “neither definitive nor exhaustive, however, and some factors


                                                  12
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 25 of 111




may be more pertinent than others depending on the nature of the issue, the expert’s particular

expertise, and the subject of his testimony.” Newman v. Motorola, Inc., 218 F. Supp. 2d 769, 773

(D. Md. 2002) (citation omitted), aff’d, 78 F. App’x 292 (4th Cir. 2003). “‘[E]xpert evidence can

be both powerful and quite misleading.’” Daubert, 509 U.S. at 595 (citation omitted).

       Though Daubert addresses methods, “conclusions and methodology are not entirely

distinct from one another,’” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997), and the difference

“has only limited practical import.” Paoli, 35 F.3d at 746. “When a judge disagrees with the

conclusions of an expert, it will generally be because he or she thinks that there is a mistake at

some step in the investigative or reasoning process of that expert.” Id. “A court may conclude

that there is simply too great an analytical gap between the data and the opinion proffered” and

preclude the testimony. Joiner, 522 U.S. at 146. A court should exclude expert testimony “that is

connected to existing data only by the ipse dixit of the expert.” Id.

       D.      Daubert Applies to Expert Testimony in Support of Class Certification

       These standards apply to expert testimony submitted at the class certification stage. The

Supreme Court has expressed “doubt” that expert testimony could be admitted for class

certification without satisfying the Daubert standard. Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

338, 354-55 (2011). A majority of the courts of appeals that have considered the question hold

that Daubert and Rule 702 apply when deciding whether it is appropriate to certify a class. In re

Blood Reagents Antitrust Litig., 783 F.3d 183, 187 (3d Cir. 2015); Am. Honda Motor Co. v. Allen,

600 F.3d 813, 815-16 (7th Cir. 2010); Sher v. Raytheon Co., 419 F. App’x 887, 890-91 (11th Cir.

2011); Unger v. Amedisys Inc., 401 F.3d 316, 323 n.6 (5th Cir. 2005). While the Second Circuit

has not yet addressed the issue, it has rejected the notion that expert evidence may be considered

on class certification simply because it is not “fatally flawed.” In re IPO Sec. Litig., 471 F.3d 24,

42 (2d Cir. 2006), clarified on reh’g, 483 F.3d 70 (2d Cir. 2007).


                                                 13
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 26 of 111




       Expert testimony proffered in support of class certification must be “relevant” as to the

elements of Rule 23. See In re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 323-25 (3d Cir.

2008). To be relevant and reliable on the critical issue of commonality, such evidence must

reliably show that dispositive issues in the case are “capable of class-wide resolution.” Dukes, 564

U.S. at 350. Because it is a “core principle that class actions are the aggregation of individual

claims, and do not create a class entity,” it is not sufficient that such evidence determine some

issue “on behalf of ‘the class.’” In re Asacol Antitrust Litig., 907 F.3d 42, 56 (1st Cir. 2018).

Rather, the evidence must show that there is a reliable method to “resolve an issue that is central

to the validity of each one of the claims in one stroke.” Dukes, 564 U.S. at 350 (emphasis added).

If the expert cannot do so, or cannot do so reliably, his testimony is not admissible. Sher, 419 F.

App’x at 890-91.

                                          ARGUMENT

I.     PLAINTIFFS’ EXPERTS’ OPINIONS DO NOT “FIT” CLASS CERTIFICATION

       Expert evidence in support of class certification must reliably show a method to establish

a given issue central to the claims of each class member through common proof. Plaintiffs’ class

certification experts cannot and do not purport to do so. Their medical monitoring expert, Dr.

Ducatman, did not consider anything about the circumstances of the named Plaintiffs, much less

any individual putative class member, as to whom he admitted there were numerous “considerable

individual differences.” Likewise, Plaintiffs’ three fate and transport experts—Dr. Hopke, Mr.

Yoder, and Dr. Siegel—all deny that their methods can determine the presence, amount, or source

of PFOA at any property in the proposed class area. And their damages expert, Mr. Unsworth, did

not attempt a class-wide opinion on diminution in value but instead rendered a groundwater

damages opinion based on class-wide “averages” and purported harm to the public.




                                                14
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 27 of 111




         Plaintiffs’ experts cannot resort to “average” or “hypothetical” plaintiffs to mask the

individual differences that permeate the claims of each putative class member. The “shortcut” of

“abstract ... ‘averages’” instead of “individual damages” is “a caution signal ... that class-wide

proof of damages [i]s impermissible.” Broussard v. Meineke Discount Muffler Shops, Inc., 155

F.3d 331, 343 (4th Cir. 1998). “Attempts to meet the burden of proof using modeling and

assumptions that do not reflect the individual characteristics of class members [are] met with

skepticism.” Id. (citations omitted). As such, courts exclude proffered class-wide proof based on

an average or a representative analysis because it uses a “methodology [that] does not fit the

present case.” LifeWise Master Funding v. Telebank, 374 F.3d 917, 929 (10th Cir. 2004).

“[C]ommunity-wide estimations [are] not ... probative of any individual’s claim because any one

class member may have an exposure level well above or below the average.” Gates v. Rohm &

Haas Co., 655 F.3d 255, 266 (3d Cir. 2011). As a result, it presents an “insurmountable Daubert

fit problem.” In re Pharmacy Benefit Mgrs. Antitrust Litig., 2017 WL 275398, at *20 (E.D. Pa.

2017).

         A.     Dr. Ducatman’s Monitoring Opinions Do Not Fit Class Certification

         Plaintiffs proffer Dr. Ducatman’s opinions in support of their contention that the elements

of medical monitoring, if recognized by Vermont law, can be decided on a common, class-wide

basis. But Dr. Ducatman’s testimony does not and cannot address that issue. He testified that

many factors relevant to medical monitoring are individualized; consequently, as Plaintiffs

concede, “it’s going to be very, very difficult to get a class certified.” (Dkt. 104 at 39.) Moreover,

while Dr. Ducatman acknowledges the multitude of individual issues that characterize these

claims, he made no attempt to address them, having not even looked at any of the named Plaintiffs’

individual medical histories before reaching his opinions. His opinion thus does not provide a




                                                 15
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 28 of 111




common basis to find that monitoring is necessary for the actual members of the putative class and

is not “relevant to the task at hand” for class certification. Daubert, 509 U.S. at 597.

               1.      Dr. Ducatman Admits Many “Considerable Individual Differences”

       Plaintiffs argue that their medical monitoring claims present common issues, including

PFOA exposure, increased risk of injury, and availability of medical monitoring that differs from

routine care and would be useful in the early detection of disease. (Dkt. 107-1 at 28-29.) Dr.

Ducatman’s opinions cannot support that contention. In fact, his testimony completely undermines

it. He readily admits to a litany of more than 15 “considerable individual differences” within the

putative class as to each of these issues—so many he was “worried about not being complete”:

   Q. Among the individuals residing within the areas at issue in this matter would you
      expect there to be considerable individual differences as to their amount and
      length of exposures to PFOA?
   A. Yes.
   Q. Would you expect there to be considerable individual differences as to what their
      PFOA blood serum levels would be?
   A. Yes.
   Q. Would you expect there to be considerable individual differences as to what their
      susceptibilities, if any, to PFOA might be?
   A. Yes.
   Q. As to those individual differences and exposure of blood levels and susceptibilities,
      if any, would that be a function of a number of different variables?
   A. Yes.
   Q. And those individual differences would be a function of, among other things, their
      ages. Correct?
   A. Age would be a variable.
   Q. And those individual differences would be a function of, among other things, their
      gender. True?
   A. Yes.
   Q. Those individual differences would be a function of, among other things, their
      physiology. Correct?
   A. Yes.
   Q. Those individual differences would be a function of, among other things, how long
      they lived in the area. True?
   A. Yes.
   Q. Those individual differences would be a function of, among other things, their
      rates of daily water consumption. Correct?
   A. Yes. And not just that, for the time that they lived near the factory also, you know,
      their tidal volume for breathing, because that’s another route of exposure.


                                                 16
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 29 of 111




    Q. Those would all be different?
    A. Yes.
    Q. And the individual differences would also be a function of, among other things,
       the concentrations of PFOA in the water they drank. Correct?
    A. Yes.
    Q. And those individual differences would also be a function of, among other things,
       their sources of water. Correct?
       …
    A. Yes, that’s correct.
    Q. And the individual differences would be a function of, among other things, their
       diet and nutrition. Correct?
    A. There are differences between all of us from PFOA and PFOS contaminants based
       on diet and nutrition. …
    Q. The individual differences would be a function of, among other things, drug and
       alcohol use. Correct?
       …
    A. Okay. So if it’s susceptibility, then the answer becomes yes. …
    Q. And those individual differences would be a function of, among other things, their
       body weight and Body Mass Index or BMI. Correct?
    A. Yes.
    Q. And those individual differences would be a function of, among other things, their
       general state of health as well as other medical conditions. Correct?
    A. Yes.
    Q. And those individual differences would be a function of, among other things, their
       occupational histories. Correct?
    A. If their occupation had exposure to perfluoroalkyl substances, that would be another
       and very important route of exposure.
    Q. In your opinion, what else, if anything, would those individual differences in either
       exposures, blood levels or susceptibility to PFOA, if any, be a functions of?
    A. Okay. I don’t remember all the things you mentioned, but let me go down a list of
       things that we often adjust for. So—and you may think you included these under
       general health, but renal function would certainly be one. … Then another one
       that you may have mentioned and I simply don’t remember is drugs. … There are
       so many things. I’m a little worried about not being complete.

(Ducatman Tr. at 55:25-61:6 (emphasis added).)2 This testimony is irreconcilable with the notion

of class-wide proof of medical monitoring, precisely as other federal courts have held in other

PFOA litigation seeking medical monitoring. Rowe v. E.I. duPont de Nemours & Co., 2008 WL




2
  Though Dr. Grandjean’s opinion was not proffered in support of class certification, he
nevertheless agrees with Dr. Ducatman’s assessment of the individualized nature of these factors.
(Grandjean Tr. at 16:2-23:21.)


                                                17
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 30 of 111




5412912, at *17, 20-21 (D.N.J. 2008); Rhodes v. E.I. duPont de Nemours & Co., 253 F.R.D. 365,

374-76 (S.D. W. Va. 2008), appeal dism’d, 636 F.3d 88, 98-101 (4th Cir. 2011). It should be

excluded.

               2.      Dr. Ducatman Proposes Monitoring For Hypothetical Residents

       Despite acknowledging these many individualized differences relative to medical

monitoring, Dr. Ducatman failed to account for any of them in developing in his opinion. He had

no Plaintiff-specific information. He did not speak to or examine any of the Plaintiffs. (Ducatman

Tr. at 37:8-13.) He did not review any of their medical records. (Id. at 37:14-17.) He does not

even know their ages. (Id. at 195:6-13.) Nor does he know anything about their interrogatory

answers. (Id. at 45:8-12.) He thus has no basis to opine on the effect of the many considerable

individual differences that he acknowledges. For instance, he knows nothing about any Plaintiff’s

average daily water consumption or the proportion of it that typically came from tap water versus

bottled water. (Id. at 39:11-21.) Nor can he say whether any Plaintiff’s water consumption

practices and patterns were typical of those of absent class members. (Id. at 39:22-40:2.) Nor

does he know anything about the routine medical care that the Plaintiffs already receive from their

physicians.

       Instead of addressing data for the actual members of the putative class, Dr. Ducatman

simply relies on a set of unfounded assumptions about “member[s] of the Exposure Class,” and

opines based on that.     (Ducatman Merits Rpt. at 5.)        Because his opinion only concerns

“hypothetical” Plaintiffs, not the actual Plaintiffs and putative class members here, it does not “fit

the facts of the case.” Owens, 895 F.3d at 973. Expert opinions based on “a uniform set of

assumptions” as to “hypothetical residents” are inadmissible because they fail to describe the

damages of the members of the putative class. Gates, 655 F.3d at 266. As the Third Circuit

explained in its affirmance in Gates, proof of average circumstances is not “common proof”:


                                                 18
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 31 of 111




       Plaintiffs cannot substitute evidence of exposure of actual class members with
       evidence of hypothetical, composite persons in order to gain class certification ....
       The evidence here is not ‘common’ because it is not shared by all (possibly even
       most) individuals in the class. Averages or community-wide estimations would not
       be probative of any individual’s claim because any one class member may have an
       exposure level well above or below the average.

Id. at 266 (citations omitted). Or, as the district court in Gates put it: “[A]n average is an average

is an average ..., in essence, a convenient fiction made up of numbers that are higher and lower

than the average.” Gates v. Rohm & Haas Co., 265 F.R.D. 208, 222 (E.D. Pa. 2010). If an expert

“cannot demonstrate [the alleged] impact for individual class members,” it is an “insurmountable

Daubert fit problem.” Pharmacy Benefit Managers, 2017 WL 275398, at *20.

       These problems plague Dr. Ducatman’s approach. Ignoring data on the proposed class

members’ considerable individual differences, he recommends the same medical testing for the

entire proposed class by assuming their “homogenous” exposure and risk.              But just as he

acknowledges that neither exposure nor risk are common within the proposed class (Ducatman Tr.

at 56:5-61:12),

                                            (Guzelian Rpt., at 10, 21.)

                                                                                                  (id.

at 945),

                  (Id. at 21, 95.) The U.S. Centers for Disease Control and Prevention (CDC) and

Agency for Toxic Substances and Disease Registry (ATSDR) do not recommend medical

monitoring of an asymptomatic population based only on their exposure to PFOA. (Ducatman Tr.

Ex. 10 at 28; Ducatman Tr. at 107:11-110:10.)




                                                 19
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 32 of 111




envisioned by Dr. Ducatman.” (Guzelian Rpt. at 96; see also Mandel Rpt. at 126 tbl. 11.) Instead,

Dr. Ducatman’s generalized opinions lead to an absurd mismatch with the actual Plaintiffs’ claims.

For example, Dr. Ducatman recommends monitoring pregnant women for pregnancy-induced

hypertension, as well as special monitoring for those who are breastfeeding infants. (Ducatman

Merits Rpt. at 21-22.) Yet, he was not aware that the only two female Plaintiffs seeking to

represent the proposed class are in their mid-50s and 70s and, thus, past their child-bearing years.

(Ducatman Tr. at 194:4-195:24.) But even if these Plaintiffs were of childbearing age, pregnant

women are routinely screened for pregnancy-induced hypertension as a standard part of their

prenatal care. (Id. 193:25-194:3.)

       “One of the basic and most useful tools in diagnosis and treatment of disease is the patient’s

medical history,” which is “widely recognized” to “involve[] the questioning and examination of

the patient as well as appropriate medical testing” and examination of “written medical records.”

Reference Manual on Scientific Evidence (“RMSE”) 670-71 (3d ed. 2011). Dr. Ducatman could

have easily discovered these facts had he reviewed their medical records. Yet he failed to review

any of their records or otherwise learn their medical histories (Ducatman Tr. at 37:8-20, 45:8-

46:3), which significantly affect his medical monitoring opinion. Thus, he does not know that as

part of their routine healthcare, the named Plaintiffs have received an array of medical tests, many

of which he recommends as part of his medical monitoring program. (Id. at 169:7-12, 173:4-8,

175:24-176:2, 179:5-8, 181:9-12, 189:9-13, 193:20-24; Guzelian Rpt. at 97-119; Mandel Rpt. at

126 tbl. 11.)

       Instead, he has “imaginary conversations” with imaginary physicians “in his mind”:

       All I’ve done with that is I put everything in my mind. Here’s the conversation in
       my mind. Here’s where I think, you know, reasonable doctors will sit down and
       agree that were doing more good than harm. And I think it would be really good
       to have that conversation.



                                                20
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 33 of 111




(Ducatman Tr. at 133:23-134:11; see id. at 133:2-20; 166:7-16; 173:22-174:4.)           Imaginary

conversations with imaginary physicians are no better than hypothetical plaintiffs and render Dr.

Ducatman’s opinion irrelevant to the facts of this case. Owens, 895 F.3d at 973.

          These speculative recommendations are inconsistent with the ATSDR’s actual advice to

physicians against monitoring asymptomatic individuals solely due to PFOA exposure.

(Ducatman Tr. Ex. 10 at 28; Ducatman Tr. at 107:11-110:10.) Nor does he show that it follows

from any regulatory or advisory body’s advice to conduct such screening. In contrast to this

advice, Dr. Ducatman recommends medical monitoring without critical evaluation of whether the

proposed components would detect the selected health outcomes early and improve treatment

outcomes.

                                                                                 (Guzelian Rpt. at

31-33.)                                                                                     (Id. at

54-57.)

          Dr. Ducatman’s opinion does not meet those requirements. As just one example, while

shorter breastfeeding duration is an outcome he includes in his “medical monitoring” opinion

(Ducatman Merits Rpt. at 22), the only thing that he proposes is to “ask questions” about it.

(Ducatman Tr. at 160:12-19.)

                             (Guzelian Rpt. at 92.)



                               (Id. at 93.)



                               (See id. at 34-38.) Due to these failures, his opinion does not show

that medical monitoring would appreciably benefit the putative class.




                                                21
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 34 of 111




       Moreover, by ignoring individual variation in proposing medical monitoring, Dr.

Ducatman runs a significant risk of actually harming the putative class. Medical monitoring is not

an unalloyed good. A test or treatment, like any medical intervention, comes with risks. The U.S.

Preventive Services Task Force has long cautioned as to the risks of medical screening. (Ducatman

Tr. Ex. 11 at 43; Ducatman Tr. at 145:14-147:6.)



         (Guzelian Rpt. at 29.) A false-negative result—or the failure to correctly identify an

abnormality—can lead to a delay in diagnosis and treatment. (Ducatman Tr. at 141:14-142:1.) By

contrast, a false-positive result—or the false detection of an abnormality, i.e., a “false alarm”—

leads to unnecessary follow-up testing or treatment that can be invasive, uncomfortable, expensive,

and potentially harmful. (Id. at 138:22-139:5, 141:10-13.) The psychosocial effects of false-

positive results also include anxiety and labeling a healthy patient as ill. (Id. at 139:6-13, 143:21-

144:5.) Monitoring can also lead to overdiagnosis, that is, the identification of conditions that,

even if untreated, would never cause symptoms or reduce survival. (Id. at 137:20-138:5.)

       Dr. Ducatman acknowledges these concerns, but only in the abstract. He states that

physicians “are trained from the first day of med school [to] above all do no harm.” (Id. at 127:23-

25.) He agrees that medical monitoring should be performed only after weighing its potential

benefits and harms. (Id. at 123:18-22.) And he says this process should weigh impacts to a

patient’s physical and mental health. (Id. at 127:13-17.) Yet he purports to perform his assessment

in a vacuum. He offers a blanket pronouncement that his proposed program “will result in

substantial benefits to not only participating class members, but the Bennington community as a

whole.” (Ducatman Reb. Rpt. at 22.) He fails to evaluate its impact on the real individuals who

comprise the putative exposure class.




                                                 22
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 35 of 111




        Dr. Ducatman’s opinions simply do not account for the risks of medical monitoring. His

Class and Merits reports do not even mention the risks of false-positives, false-negatives, and

overdiagnosis. (Ducatman Tr. at 156:9-16.) The inherent risk that a test will generate a false result

is reflected in its specificity and sensitivity.



(Guzelian Rpt. at 10-11.)

                                      (Id. at 40.)



                                     (Id. at 11; see also Mandel Rpt. at 7; Schwartz Reb. Rpt. at 11-

14.) Remarkably, Dr. Ducatman did not consider these factors because he “didn’t think it helped

with anything regarding the outcome that [he] came to at the end of the report.” (Ducatman Tr. at

156:9-16.) He does not even mention those words in reaching his opinions. (Id.)

        Dr. Ducatman’s medical monitoring opinions are wholly untethered from real world

conditions and the facts of this case. Ignoring the individualized facts that he admits are relevant

to medical monitoring, he relies instead on assumptions about a fictional group of homogenous

Bennington residents that do not exist in reality. Disconnected from the population at issue and

the individual variabilities that he admits permeate the putative class, Dr. Ducatman’s generalized

opinion cannot support class certification. Instead, it shows “the litany of individualized issues

that pervade Plaintiffs’ requests for medical monitoring” and make certification untenable. Rowe,

2008 WL 5412912, at *21.

        B.      Plaintiffs’ Experts Do Not Purport to Offer a Common Method to Determine
                Presence, Amount, or Source of PFOA at Any Property

        Plaintiffs’ expert testimony on the fate and transport of PFOA in the proposed class area is

inadmissible in support of class certification for lack of fit. Plaintiffs’ three experts in this field—



                                                     23
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 36 of 111




Dr. Hopke, Mr. Yoder, and Dr. Siegel—do not even purport to offer a method to determine the

presence, amount, or source of PFOA at any given location, or at any given time.




                                                                                                And Dr.

Siegel purports to calculate the hydrogeological spread of PFOA based on two hypothetical square

meter samples, but admits he could not determine the amount or source of PFOA at any specific

location.

          The opinions offered by Plaintiffs’ fate and transport experts are of no use for class

certification because none can answer the critical questions for the members of the putative class:

whether there is PFOA at the property of any putative class member, how much PFOA is there,

how long it has been there or may remain there, and whether any PFOA is attributable to Chemfab

facilities or to other sources. Thus, none of these experts purport to offer the common proof that

is essential to class certification, and their testimony cannot be admitted for that purpose.

                 1.     Plaintiffs’ Experts Have No Common Proof of PFOA at Any Property

          Plaintiffs proffer the emissions and air deposition opinions of Dr. Hopke and Mr. Yoder as

an attempt to “present common proof” of PFOA on “the class members’ properties.” (Dkt. 107-1

at 20.)



     Mr. Yoder admits that his model “wasn’t designed to tell us how much PFOA was deposited

on property owned by a particular individual at a particular time.” (Yoder Tr. at 160:16-162:22.)

Mr. Yoder did not even “attempt to determine when over time PFOA may or may not have actually

[been] deposited [onto] any given ... property in Bennington.” (Id. at 163:5-10.) As such, he


                                                 24
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 37 of 111




readily agrees that his approach “does not offer a model of cumulative [air] deposition impacts for

the period of operation for the Water Street facility.” (Id. at 100:16-19.) Instead, he explains that

all he set out to do was model the admittedly arbitrary emission rates based on Dr. Hopke’s work:

   Q. And what were you trying to figure out as far as actual emissions in your report?
   A. I wasn’t trying to figure out anything in actual emissions. I was just modeling the
      emission rates.

(Id. at 109:14-18 (emphasis added).) All this allows him to determine is “an annual averaged

deposition based on the facility input as it was constructed.” (Id. at 100:20-101:2.)

       The averaging approach taken by Mr. Yoder presents an “insurmountable Daubert fit

problem.” Pharmacy Benefit Managers, 2017 WL 275398, at *20. Class “certification is

inappropriate” based upon such “an averaging technique.” Gates, 265 F.R.D. at 222 n.25.

Averaging “is, in essence, a convenient fiction made up of numbers that are higher and lower than

the average; it does not reflect whether every putative class member was exposed to [a substance]

at a level above background.” Id. (emphasis in original). Mr. Yoder’s model is such a convenient

fiction. It is not based on actual emissions, and it does not compute actual air deposition at

properties, which Mr. Yoder admits is “likely going to be different” throughout the proposed class

area. (Yoder Tr. at 160:16-162:22.) Mr. Yoder’s model does not offer common proof and does

not support class certification.

       The same is true of Dr. Siegel’s “solute transport model,” which he says is a back-of-the-

envelope approximation (Siegel Tr. at 100:22-24) that only estimates PFOA transport in two

hypothetical one-square meter areas, and nowhere else.          Dr. Siegel uses this approach to

approximate the movement of PFOA through the soil and bedrock down to the water table. These

two square-meters are “conceptual.” (Id. at 57:11-14.) They do not exist in any actual place in

the Bennington area. (Id. at 105:4-8.) Thus, his approach admittedly cannot “predict the level of




                                                 25
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 38 of 111




PFOA in any specific well at any specific location” (Siegel Reb. Rpt. at 2-5) or the time it might

take for PFOA to dissipate at any particular property. (Id. at 2-13.) As Dr. Siegel states, the “intent

of [his] model was not to evaluate individual homes or even the variability in that context,” “of

which we know there is variability across the site.” (Siegel Tr. at 115:2-15 (emphasis added).)

Indeed, he agrees with Saint-Gobain’s experts that the “timing of PFOA to initially pass through

soils and reach the water table inherently will be variable across … Bennington and North

Bennington.” (Siegel Merits Reb. Rpt. at 2-1.)

       Dr. Siegel can only hypothesize about the level of PFOA in these two conceptual plots of

land that, according to him, contain “generically the kind of [soil and bedrock] conditions you find

within those areas.” (Siegel Tr. at 33:10-18.) He simply assumes they are “representative.” (Id.

at 33:16-18.) Without accounting for the substantial variability that he admits exists in the soil

and bedrock within the class area, this approach does “not bear a close relationship to the way [the]

substance would be dispersed.” In re TMI Litig. Cases Consolidated II, 911 F. Supp. 775, 798

(M.D. Pa. 1996), aff’d, 193 F.3d 613, 670 (3d Cir. 1999).

       Throughout the class area, there are dozens of different types of soils, bedrock, and surficial

materials between the soil and bedrock. (Siegel Tr. at 40:12-42:9, 47:8-48:16, 93:12-94:2.) Each

has different physical and chemical properties that change how quickly PFOA may travel through

it and leave the area. Different types of bedrock have different levels of porosity and permeability.

(Id. at 93:22-94:2, Ex. H at 67.) Different types of soil have different densities and chemical

properties that can trap or release PFOA. (Siegel Tr. at 47:1-48:16; Ex. F at 309-12; Ex. K at 64-

65.) Further, the distance from the surface to wells can vary substantially, and thus the distance

PFOA would have to travel to reach groundwater varies across the class area. (Siegel Class Rpt.




                                                  26
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 39 of 111




at 2-4, 5.) This hypothetical calculation is not “relevant to the task at hand,” Daubert, 509 U.S. at

597, and cannot determine the presence of PFOA at properties on a class-wide basis.

        The same lack of fit characterizes Dr. Siegel’s calculations of PFOA dissipation from the

class area. Once again, he relies on the two hypothetical one-square-meter areas to estimate the

time it will take for PFOA to be flushed from these areas. (Siegel Tr. at 97:19-98:1, 104:3-6.) But

two hypothetical findings are of no use when Dr. Siegel admits that the manner in which different

wells react to recharge varies across the class area:

        [S]ome wells have about the same concentrations of PFOA in their water from one
        sample to the next, some wells have concentrations that decrease, some have
        concentrations that go up and down by small amounts, and some increase or
        decrease by an order of magnitude or more.

(Siegel Reb. Rpt. at 2-13.) Dr. Siegel does not account for these changing PFOA concentrations

from one sample to the next and from one well to the next over time. His methods do not fit class

certification.

                 2.    Plaintiffs’ Experts Have No Common Proof of Source of PFOA

        Nor do Plaintiffs’ experts offer any method to determine on a class-wide basis whether and

how much PFOA at any given location is attributable to the Chemfab facilities.



                                                              (Hopke Class Rpt. at 2-4.) Mr. Yoder,

on the other hand, “assumes as truth the very issue [he] needs to prove.” Clark v. Takata Corp.,

192 F.3d 750, 757 (7th Cir. 1999). He begins “with the conclusion that all the PFOA depositions

came from Chemfab” and does “not look at any individual property in Bennington as a receptor

and then work backwards to determine the source of any PFOA depositions at that property.”

(Yoder Tr. at 171:19-172:8.) And although Dr. Siegel seeks to opine that all PFOA in the class




                                                 27
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 40 of 111




area came from Chemfab facilities, he is unable to state where the PFOA at any given property in

the proposed class area came from. (Siegel Tr. at 155:5-12.)

       This omission of any consideration of sources is particularly notable given Dr. Hopke’s

academic qualifications to evaluate such questions. Outside the courtroom, he is “one of the

fathers of source apportionment,” a mathematical technique used to determine how much of an

observed concentration of a chemical compound can be attributed to each of multiple sources in a

region. (Hopke Tr. at 229:5-8.) Thus, when Dr. Hopke opines that Chemfab was the only source

of PFOA in the Bennington area, he could have tested his opinion by performing a source-

apportionment analysis that considered other potential sources. (Id. at 233:2-13.) Yet he did not,

offering only the explanation that he “had more than enough other things to do.” (Id.) The number

of Dr. Hopke’s other tasks is not a scientific justification for his refusal to apply a control he

pioneered to his untested theory that 100% of PFOA is attributable to Chemfab. His failure to

“employ[] in the courtroom the same level of intellectual rigor that characterizes” his work in

source apportionment renders his opinion unreliable and inadmissible. Kumho, 526 U.S. at 152.

       C.      Mr. Unsworth Has No Common Proof of Damages for the Property Class

       Plaintiffs seek three categories of damages on behalf of the putative property class: (1)

diminution in value; (2) added cost groundwater damages; and (3) replacement cost groundwater

damages. As to the first, Mr. Unsworth denies that he even attempted class-wide proof of

diminution in value, which he admitted would be “difficult” due to the heterogeneity of the class

area and other factors. (Unsworth Reb. Tr. at 194:13-196:6, 199:13-200:13.) As to the second,

Mr. Unsworth only purports to calculate added cost damage of “average” plaintiffs—not the

damages of any class member. (Unsworth Class Rpt. at 8-10.) And as to the third, Mr. Unsworth

opines on unrelated infrastructure projects for the “public,” rather than the damages of the putative

class or its members. (Unsworth Reb. Tr. at 173:9-19.) Because he does not even purport to


                                                 28
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 41 of 111




provide a common method to determine the damages of the members of the proposed property

class, his testimony does not fit class certification.

                1.      Mr. Unsworth Offers No Common Proof of Diminution in Value

        Mr. Unsworth does not show common proof in support of certification of a theory of

diminished property value. He denies that Plaintiffs are even “seeking class certification for

purposes of establishing monetary damages associated with property value diminution.”

(Unsworth Prop. Reb. Rpt. at 1-2.)3 It is his understanding that there was no “aspect of plaintiffs’

property claims to which … they are seeking class certification.” (Unsworth Reb. Tr. at 185:8-

15.) He “would consider this to be a heterogeneous area,” with variation as to numerous factors,

including “[l]ot size,” “[a]ge of home,” “[d]istance to town center,” and so many others he “could

go on all afternoon.” (Id. at 194:17-196:5.) Mr. Unsworth admits he was “not proposing a

methodology to get at individual home losses” and that “it would be difficult, given the ongoing

dynamic situation there, to do a formal econometric hedonic model in the community.” (Id. at

199:13-200:13 (emphasis added).) He did not attempt a regression analysis of property values in

the class area because of this difficulty:

    Q. But you haven’t attempted to develop a model that would allow that multiple
       regression here, have you?
    A. No.
    Q. In fact, you’ve indicated that the timing and the current volume of sales would make
       it difficult to do that model?
    A. In all likelihood, yes.
    Q. And at this time, you don’t know whether it is feasible to do that kind of a model, do
       you?
    A. I don’t.

(Id. at 276:13-24 (emphasis added).)



3
 Although this statement in Mr. Unsworth’s report would ordinarily be dispositive of certification
of such claims, Plaintiffs have been unwilling to stipulate to it in a pleading, necessitating this
motion to exclude Mr. Unsworth’s testimony in support of any such theory.


                                                   29
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 42 of 111




                            (Jackson Rpt. at 1.)




                    (Id.)



           (id. at 5-6),

                                                                     (id. at 12),

                      (Id. at 15-16); see also Parko v. Shell Oil Co., 739 F.3d 1083, 1086 (7th Cir.

2014); Ebert v. Gen. Mills, Inc., 823 F.3d 472, 479 (8th Cir. 2016); Gates, 655 F.3d at 271. Mr.

Unsworth does not and cannot proffer class-wide proof of diminution in property value.

               2.           Mr. Unsworth’s “Added Cost” Opinion Cannot Determine Purported
                            Groundwater Damages of Any Putative Class Member

       Mr. Unsworth’s “added cost” model of groundwater damages does not proffer any common

proof. Instead, his opinion concerns damages only for a set of hypothetical, average residents

residing in Bennington and North Bennington. As such, it is not “relevant to the task at hand,”

Daubert, 509 U.S. at 597, and does not “fit” as a tool to assist the Court in determining whether

groundwater damages are subject to common proof on a class-wide basis.

       Mr. Unsworth derives his “added cost” opinion based on a “but-for” model of damages—

that is, a comparison between the purported costs of putative class members when they are

connected to municipal water and the purported costs they would incur using private well water



                                                   30
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 43 of 111




“but for” PFOA. (Unsworth Class Rpt. at 8.) Yet he did not request, much less “look at,”

“individual plaintiff data” relating to the costs of the named Plaintiffs, to say nothing of the absent

putative class members. (Unsworth Tr. at 172:17-23.) Instead, Mr. Unsworth models this but-for

condition using assumptions regarding the “average” annualized costs of several factors associated

with owning and operating a groundwater well. (Unsworth Merits Rpt. at 11.)4

       Mr. Unsworth rejects the notion that individual data matters, opining that the availability

of more information concerning individual variation would not affect his opinion. (Unsworth Tr.

at 77:1-78:1.) Rather, he demonstrates his belief that the omission of variability was not a glitch,

but a feature, of his model. In his words, “I am trying to measure damages to the class, and I use

averages for various factors to predict the damages for the class. On average, it will be correct.”

(Id. at 167:24-168:2; see also id. at 166:11-14, 167:14-15, 201:20-22.)

       Mr. Unsworth’s use of averages, rather than actual data on putative class members leads to

a fatal disconnect between his opinion on total class damages and the damages attributable to

individual class members. In a putative class action such as this one, “the aggregate damage

amount” is not the damages of a class entity (which does not exist), but rather “the sum of damages

suffered by a number of individuals.” Asacol, 907 F.3d at 55. In such circumstances, damages for

the members of the putative class cannot be determined by calculating the damages of an “average”

class member. “[A]n average multiplied by the total number of individuals” may describe the total

damages of the class, but it cannot support “the demonstrably wrong conclusion” that every class

member was injured at an average level. Id. at 54. The “shortcut” of “abstract” “‘averages’”

instead of “individual damages” is “a caution signal ... that class-wide proof of damages [i]s



4
    Those factors include (1) electrical costs; (2) well pump replacement; (3) pressure tank
replacement; (4) water tests for bacteriological contamination; (5) water softening operation and
equipment replacement; and (6) insurance adjustment. (Unsworth Merits Rpt. at 12.)


                                                  31
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 44 of 111




impermissible.” Broussard, 155 F.3d at 343. Thus, courts reject purported class-wide proof based

upon an average or representative analysis. Opperman v. Path, Inc., 2016 WL 3844326, at *14

(N.D. Cal. 2016); In re Fluidmaster, Inc., Water Connector Components Prod. Liab. Litig., 2017

WL 1196990, at *58 (N.D. Ill. 2017).

       Mr. Unsworth’s approach, based on “a uniform set of assumptions” as to “hypothetical

residents,” thus fails to describe the damages of the members of the putative class. Gates, 655

F.3d at 266. Information on class-wide averages is not “‘common’ because it is not shared by all

(possibly even most) individuals in the class.” Id. “Averages or community-wide estimations

would not be probative of any individual’s claim because any one class member may have an

exposure level well above or below the average.” Id.




                                              (Mullin Rpt. at 28.)

       The flaw in using average values is apparent from Mr. Unsworth’s acknowledgement that,

even under his analysis, some variables affect whether class members even have damages at all.

For example, he concedes that proposed class members in Bennington who used water softeners

“may experience a financial cost savings” by switching to municipal water. (Unsworth Reb. Tr.

at 50:14-51:1 (emphasis added).) But apart from this single variable of water softener use, he does

not consider any data as to other variations in the class relevant to his analysis. Instead, without

having reviewed any data that the named representatives provided, he questions its reliability:

   Q. In formulating your opinion in this case, did you review any of the data from any
      of the named plaintiffs in this case?
   A. I don’t think we did look at the individuals, no .... I did not look at the individual
      plaintiff data ....
   Q. ... Why didn’t you look at their data on how they used their wells and what their
      expenses are?



                                                32
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 45 of 111




    A. ... [F]rankly, from an economic perspective, interviewing class members about
       those factors, I don’t know whether that information is reliable, given that they’re
       members of the class.

(Unsworth Tr. at 172:17-23, 173:24-174:9 (emphasis added).) Mr. Unsworth’s failure to consider

the numerous variations among proposed class members on a variety of issues that affect damages

is fatal to the use of his opinion to show damages of those individuals.

       Mr. Unsworth suggests that, in lieu of considering individual issues, “we can calculate a

total damage based on common factors,” and then later “allocate those damages fairly based on

either formulaic approach or some other approach.” (Unsworth Reb. Tr. at 74:8-75:1.) Yet this

evasion simply pushes the individualized issues to the allocation stage of proceedings. For

example, he admits that the allocation stage may require considering “the actual water bills of the

putative class members,” rather than averages. (Id. at 79:23-80:1.)



                                        (Mullin Rpt. at 25.) Many more individuals would likely

prove to be uninjured under a proper accounting for the variation within the costs of proposed class

members.

                                                                       (Id. at 40.) Beyond the fact

that his proposed allocation procedure would violate the Rules Enabling Act,5 it cannot describe

any individual putative class member’s actual damages and, thus, cannot show injury or damages




5
  As to any undercompensated individuals, Mr. Unsworth opines that “presumably they’d opt out
of the class.” (Unsworth Tr. at 134:17-20.) That assertion is also erroneous as a matter of law.
The Rules Enabling Act prohibits fluid recovery that would allow class-action opt-out procedures
to “abridge, enlarge or modify any substantive right” of Saint-Gobain and force it to pay a damages
amount that included plaintiffs who had opted out. See 28 U.S.C. § 2072(b); see also McLaughlin
v. Am. Tobacco Co., 522 F.3d 215, 231-32 (2d Cir. 2008), abrogated on other grounds by Bridge
v. Phx. Bond & Indem. Co., 553 U.S. 639 (2008).


                                                33
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 46 of 111




by generalized proof. See In re Rail Freight Fuel Surcharge Antitrust Litig.-MDL No. 1869, 725

F.3d 244, 252-53 (D.C. Cir. 2013); Asacol, 907 F.3d at 54-55.

               3.     Mr. Unsworth’s “Replacement Cost” Opinion Does Not Describe
                      Damages of the Putative Class Members

       Mr. Unsworth’s “replacement cost” approach does not fit class certification because it

addresses the purported damages of the public, not the members of the putative class. His

replacement cost approach identifies and recommends three infrastructure projects relating to the

Town of Bennington’s water system, valued at a total of over $12.4 million. (Unsworth Merits

Rpt. at 16-17.)6 He says these projects are needed “to replace the full-range of services provided

by this resource in order to return the community to the conditions that would have existed absent

the contamination event.” (Id. at 15 (emphasis added).)

       At the outset, this does not describe damages at all. Mr. Unsworth admits that the issues

to be addressed by the proposed projects all pre-dated the detection of PFOA. (Unsworth Tr. at

243:15-244:15, 246:8-16, Ex. 18 at 1.) In fact, those projects were described by the Town not with

any connection to PFOA, but as a “wish/planning list.” (Unsworth Tr., Ex. 18 at 1.) Because the

purported need for these projects pre-dated the discovery of PFOA, they cannot constitute damages

of the class members, and his opinion advocating for them does not fit class certification.

       In addition, Mr. Unsworth acknowledged that his replacement cost opinion does not relate

to the putative class. He proposes to award replacement cost damages not to the putative class

members, but to the Town of Bennington, a non-party. (Unsworth Reb. Tr. at 171:1-22.) To this

end, he admits that his opinion on the added costs of the putative class and his opinion on the


6
   Although Mr. Unsworth suggests that North Bennington’s water system may require treatment
plant upgrades to ensure system capacity, he excluded any damage calculations for North
Bennington from his “replacement cost” approach because North Bennington representatives
“expressed the opinion that there is no need for expansions or changes to their systems to meet the
expected future demands imposed by additional users.” (Unsworth Merits Rpt. at 18.)


                                                34
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 47 of 111




replacement cost of groundwater concern “two different groups of people.” (Id. at 172:9-173:8.)

By proposing upgrades to municipal infrastructure, his replacement cost opinion purportedly

concerns “[t]he damages that the public has suffered … of which the members of the class” are a

subset. (Id. at 173:9-19 (emphasis added).) Because the Town is neither a Plaintiff in this action

nor a member of the putative class, the Court lacks either the jurisdiction to compel the Town to

execute Mr. Unsworth’s proposed projects or the authority to so alter the substantive rights of the

parties under the Rules Enabling Act. McLaughlin, 522 F.3d at 232.

       Mr. Unsworth’s “replacement cost” opinion thus has no bearing on the damages of the

members of the putative class. Damages must “accurately reflect the number of plaintiffs actually

injured by defendants” in the class context just as in individual litigation. Id. at 231. Damages in

a class action do not belong to the class as an entity, but are “the sum of damages suffered by a

number of individuals.” Asacol, 907 F.3d at 55. Mr. Unsworth’s proposed award to the Town for

the benefit of the public does not even address any purported harm to individuals who are members

of the proposed class.

       Even if certain class members who are municipal water customers were counted as indirect

beneficiaries of the proposed relief awarded to the Town, the problem remains.



                                                       (Mullin Rpt. at 47.) Moreover, the putative

class members are powerless to implement the projects alone without action by the non-party

Town of Bennington. (Unsworth Tr. at 240:23-241:18.) Thus, these projects are not damages

because their implementation would “depend[] on the unfettered choices made by independent

actors not before the courts and whose exercise of broad and legitimate discretion the courts cannot

presume either to control or to predict.” ASARCO Inc. v. Kadish, 490 U.S. 605, 615 (1989).




                                                35
        Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 48 of 111




II.      PLAINTIFFS’ EXPERTS’ CLASS OPINIONS ARE UNRELIABLE

         In addition to their lack of fit with class certification, the opinions of Plaintiffs’ class

certification experts cannot reliably support the elements of Rule 23:

      A. Dr. Ducatman’s failure to consider the “considerable individual differences” among
         the putative class members makes it impossible for his opinion to reliably sustain any
         class-wide proof of medical monitoring.

      B. Not only are Plaintiffs’ fate and transport experts incapable of addressing by common
         proof whether there is PFOA attributable to Chemfab facilities at any property within
         the class area, but the opinions that they developed in support of class certification
         are arbitrary, litigation-driven, and unvalidated and thus unreliable.

      C. Mr. Unsworth’s “added cost” damages opinion is unreliable because it does not
         account for material variation throughout the putative class as to nearly all of the
         critical parameters of his model.

         A.      Dr. Ducatman’s Class-Wide Medical Monitoring Opinion Is Unreliable

         Dr. Ducatman’s opinion in support of class certification is unreliable for the same reasons

that it lacks fit. Dr. Ducatman acknowledges an array of “considerable individual differences”

relative to the purported need for medical monitoring, yet fails to consider any of those differences.

(Ducatman Tr. at 55:25-61:6.) He acknowledges the need to consider risks of medical monitoring

tests, but failed to consider any risks. (Id. at 137:20-144:5.) He proposes a variety of tests for

Plaintiffs who already receive them or do not need them. (Id. at 169:7-12, 173:4-8, 175:24-176:3,

179:5-8, 181:9-12, 189:9-13, 193:20-24; Guzelian Rpt. at 97-119.) And he did not know of any

of these errors because he did not look at any information related to the people he opines should

be monitored. (Ducatman Tr. at 37:8-20, 45:8-46:3.) No interpretation of Daubert permits an

expert to acknowledge a methodology and fail to apply it or to ignore the relevant data in favor of

an assumption. Barber v. United Airlines, Inc., 17 F. App’x 433, 437 (7th Cir. 2001). Dr.

Ducatman’s testimony is unreliable on multiple levels.




                                                  36
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 49 of 111




       B.      Plaintiffs’ Experts’ Fate and Transport Opinions Are Unreliable

               1.      Dr. Hopke’s Opinion Is Unreliable

                       a.     Dr. Hopke’s Emissions Opinion Ignores Actual Emissions Data



                                                                                 (Hopke Class Rpt.

at 3-4.) This opinion is particularly flawed. It is undermined by the actual emissions data, which

Dr. Hopke admitted he did not evaluate in a manner that would permit him to offer an expert

opinion on the reliability of that data. (Hopke Tr. at 113:10-115:9.) He did not consider a publicly

available industry-wide report that found “a significant amount of the APFO input to the glass

cloth process decomposes,” which Dr. Hopke “didn’t know … existed.” (Hopke Tr. at 109:1-10,

114:17-20; Ex. 15 at 49.) Moreover, a “material balance report” showed that a “significant portion

(87%) of the APFO input to the process” was not detected in the tests—meaning that the APFO

was destroyed in the process, not emitted to the air. (Hopke Tr. at 111:4-9; Hopke Tr., Ex. 14 at

7.)                                                   (Hopke Tr. Ex. 14 at 7.) Dr. Hopke did not

review the material balance report to form his opinions, even though the report was produced in

this litigation. (Hopke Tr. at 103:25-105:15, 111:1-15.) It is well settled that expert testimony

must be “based on what is known,” Daubert, 509 U.S. at 590, and “cannot ignore the ‘real

world.’” Edison Wetlands Ass’n, Inc. v. Akzo Nobel Chems. Inc., 2009 WL 5206280, at *6 (D.N.J.

2009) (citation omitted). Dr. Hopke’s decision to ignore the available data is fatal to his opinion.

       Dr. Hopke’s opinion that all APFO converted to PFOA is also based on unfounded

assumptions about the chemistry of the substances used at the Chemfab facilities that are contrary

to the actual data. He opined that the amount of APFO that will convert to PFOA “is a function

of the pH of the dispersant solution” (Hopke Class Rpt. at 3; Hopke Tr. at 68:3-5), which “would

have to be below somewhere between 2 and 3” (an acidic solution) to convert all APFO to PFOA.


                                                37
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 50 of 111




(Hopke Tr. at 61:1-10.) Yet in formulating his opinions, Dr. Hopke did not consider the pH of

those solutions (id. at 55:1-22),

                                    (Id. at 63:14-23; see Hopke Tr. Ex. 6.) These data show that his

opinion that all APFO would convert to PFOA was thus unsustainable under his methodology.

Because the actual data contradict the speculative assumptions of Dr. Hopke’s opinion, it is

inadmissible. See In re Rezulin Prod. Liab. Litig., 369 F. Supp. 2d 398, 425 (S.D.N.Y. 2005);

M.B. ex rel. Scott v. CSX Transp., Inc., 130 F. Supp. 3d 654, 667-68 (N.D.N.Y. 2015). Admitting

expert testimony based on such “speculative assumptions is an abuse of discretion.” Major League

Baseball Props., Inc. v. Salvino, Inc., 542 F.3d 290, 311 (2d Cir. 2008).

       Because the data refuted Dr. Hopke’s opinion that 100% of the APFO in the fabric-coating

process will convert to PFOA, he pivoted in his rebuttal report to a new theory that all PFOA will

sublimate before it can be destroyed by the heat of the stacks. (Hopke Reb. Tr. at 35:8-12; 37:3-

15.)7 Initially, the fact that the “underpinnings” of his opinion “have changed in direct response”

to being challenged shows that his methods are not based on science, but litigation, and therefore

are inadmissible. Haller v. AstraZeneca Pharms. LP, 598 F. Supp. 2d 1271, 1296-97 (M.D. Fla.

2009). “Coming to a firm conclusion first and then doing research to support it is the antithesis of

[the scientific] method.” Clarr v. Burlington, 29 F.3d 499, 502-03 (9th Cir. 1994).




7
  Dr. Hopke claims that his sublimation theory is simply a restatement of his earlier theory, yet he
admitted that he did not find academic support for this theory until a week before the first
deposition. (Hopke Tr. at 232:10-13.) This was after he submitted his first report that did not
contain the words “sublime” or “sublimation.” Thus, Dr. Hopke appeared to devise his
sublimation concept after the submission of his first report and then searched for papers to support
this theory. When asked at the first deposition whether there were any papers that supported this
theory, he was not able to provide them. Instead he inserted the articles in an errata form over a
month later. (Id. at 75:25-76:4, 232:10-13; Hopke Errata.)


                                                  38
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 51 of 111




         In any event, this new, untested sublimation hypothesis is as flawed as the first. In opining

on this new chemical process, Dr. Hopke did not even attempt to determine the rates of sublimation

and decomposition:

    Q. Have you calculated that rate of sublimation for PFOA or APFO?
    A. No. I relied on Barton 2009.
    Q. Have you calculated it at any given temperature?
    A. No, I have not.
       ...
    Q. How—how quickly would [PFOA] sublime? What would the rate be, Dr. Hopke?
    A. We don’t know. I don’t know. Again, it depends on the crystal size and other
       conditions.

(Hopke Reb. Tr. at 54:21-55:10 (emphasis added).)              Without awareness of the various

temperatures and residence times of the fabric in each of the different heating zones, Dr. Hopke is

unable to determine whether APFO would be thermally destroyed as opposed to sublimating. (Id.

at 55:4-19; 158:10-17.)8      That “untested hypothesis ... falls into the category of unreliable

speculation that is inadmissible under Daubert.” In re Mirena IUD Prods. Liab. Litig., 169 F.

Supp. 3d 396, 450-51 (S.D.N.Y. 2016) (quotations and citation omitted).

         Dr. Hopke’s sublimation hypothesis is held together only by cherry-picking and

misapplication of the scientific literature.



                                                   (See Hopke Class Rpt. at 4; Chinkin Reb. Rpt. at

11; Hopke Reb. Rpt. at 2; see also Hopke Reb. Tr., Ex. 6.) Dr. Hopke says that APFO, unlike

PFOA, will not thermally decompose (Hopke Reb. Rpt. at 2), but he ignores that one of the authors

he relies on reported that APFO also decomposes—and much more quickly than PFOA. (See




8
 Dr. Hopke used an erroneous formula for vapor pressure of APFO (Hopke Reb. Tr. at 97:25,
98:8), which he admits caused an error by a factor of more than 1,000, an error he initially could
not imagine would be “anywhere near that big.” (Hopke Reb. Tr. at 105:2-15, 109:6-110:21.)


                                                  39
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 52 of 111




Krusic et al. (2005); Krusic and Roe (2004) at 3800.)

                                                                                 (Chinkin Reb. Rpt.

at 11; Hopke Reb. Tr. at 50:18-51:7.) 9 So he relies on Barton (2009) in an attempt to extend Zhu’s

mechanism from ammonium chloride to APFO, but he admits Barton’s conclusion is a mere

untested hypothesis. (Hopke Reb. Tr. at 158:6-9; Ex. 5C at 754.)

       Federal courts prohibit selective science, such as Dr. Hopke’s reliance on selected

conclusions of one article while ignoring and rejecting related conclusions by the same author in

another article. In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig., 858 F.3d 787, 797 (3d

Cir. 2017). Nor will they tolerate the reliance on scientific literature to draw conclusions that the

authors themselves were unwilling to reach. Huss v. Gayden, 571 F.3d 442, 459 (5th Cir. 2009);

Happel v. Wal-Mart Stores, Inc., 602 F.3d 820, 826 (7th Cir. 2010); McClain v. Metabolife Int’l,

Inc., 401 F.3d 1233, 1247 (11th Cir. 2005). These flaws, together with the “sheer number of

mistakes” contained in Dr. Hopke’s opinions, demonstrate that his opinions derive from unreliable

methods. See EEOC v. Freeman, 778 F.3d 463, 467 (4th Cir. 2015). The many admitted errors,

some of which are outlined above, “add to the cumulative effect of the methodological errors”

contained in his opinions, and warrant exclusion. See Malletier v. Dooney & Bourke, Inc., 525 F.

Supp. 2d 558, 630 (S.D.N.Y. 2007).

                       b.      Dr. Hopke’s Hypothetical Emissions Scenarios Are Unreliable




9
 Asked whether another compound, ammonium perfluorobutanoate, “would be a good analog for
ammonium perfluorooctanoate,” Dr. Hopke said, “Not—not sure. A smaller chain may have
somewhat different properties.” (Hopke Reb. Tr. at 43:4-7.) Asked whether ammonium
perfluorobutanoate would be a better analog than ammonium chloride for APFO, he admitted that
he did not know without looking further. (Id. at 43:8-14); see also Joiner, 522 U.S. at 146.


                                                 40
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 53 of 111




                                                    (Hopke Class Rpt. at 4.) But as set forth above,

he did not consider actual emissions and other data relating to the facilities in developing any of

these estimates. Moreover, the only one of these scenarios for which he offered a purported

methodology based on chemistry—his upper-bound estimate—is based on speculative and

incorrect assumptions that are flatly contradicted by the available data.

        As a result, it is impossible for him to say which estimate better represents actual emissions.

He cannot articulate any methodology—let alone a reliable one—to determine whether it is “more

likely” that the actual emissions rate falls closer to

    Q. So can you say with any reasonable degree of scientific certainty where in between
       the 1,000 and 10,000 pound per year estimate actual emissions would fall?
    A. Not with any scientific certainty. I mean, I think we can say they’re certainly in
       the 1,000 to 10,000 and likely more at the high end than the low end.
    Q. So what’s your methodology, if you want to test that and try to replicate it, for
       saying that it’s more likely to fall at the high end as compared to the low end? Have
       you calculated the probability in your view or possibility in your view of where
       those estimates fall compared to what you think actual emissions are between 1 and
       10,000?
    A. I don’t see any way to do that.

(Hopke Tr. at 137:10-24 (emphasis added).) Rather than being based on actual emissions data,

which were available to Dr. Hopke, these scenarios are arbitrary, based on speculative

assumptions, and overestimated.

        Upper-Bound: Dr. Hopke’s upper-bound estimate of                               is unreliable at

every step. Cf. Amorgianos, 303 F.3d at 267. Dr. Hopke admits the estimate was “probably

overestimated,” Mr. Yoder believes it is “arbitrary,” and Dr. Siegel says that PFOA levels observed

in groundwater are not consistent with it. (Hopke Tr. at 180:1-5; Yoder Tr. at 76:12-24, 102:12-

103:8; Siegel Tr. at 107:5-16.)




                                                  41
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 54 of 111




(Hopke Tr. 170:8-14.)

                            (Chinkin Rpt. at 30.)




        (Hopke Class Rpt. at 4.) This assumption is contrary to actual data, as set forth in Section

II.B.1.a above.

(Id.) As noted above, this assumption is contrary to actual emissions data and is unreliable.

       Dr. Hopke then assumes APFO concentrations in the dispersions at the high end of a range

reported in Material Safety Data Sheets, even though Dr. Hopke admitted that he had no data to

support this assumption. (Hopke Reb. Tr. 138:24-140:15.)

          (Hopke Class Rpt. at 4.)

                                                                              (Id.)

       Mid-Range: Dr. Hopke’s “mid-range” estimate of                                 is also based on

unsupported assumptions.



                                     (Yoder Class Rpt. at 4),




10
   Dr. Hopke could not make up his mind on whether emitted APFO came from solution. At his
first deposition, he agreed that “the APFO [was] in the solution.” (Hopke Tr. at 73:1-5; see Hopke
Class. Rpt. at 3.) But at his second deposition, he said that if he ever “did indicate that [the
formation of PFOA] was coming from solution,” he no longer agreed with that. (Hopke Reb. Tr.
at 22:3-6.)


                                                 42
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 55 of 111




             (Id.)11



                                        (Id. at 4-5.)

          But Dr. Hopke does not have any scientific basis to opine that any of the “fluorinated

hydrocarbons” detected in this single reported test was PFOA (Hopke Tr. at 185:4-187:5), and

neither does Mr. Yoder. (Yoder Tr. at 83:3-21.) According to Dr. Hopke, this test provided “such

partial data that it really wasn’t going to give us a comprehensive view of what the emissions were

from this plant.” (Hopke Tr. at 186:2-7.) Dr. Hopke concedes that “[t]hey did not do a detailed

mass spectrum analysis that would enable them to determine the specific compound.” (Id. at

188:15-20.) Dr. Hopke never even spoke to DEC about its conversation with the unidentified

former Chemfab engineer (id. at 189:12-22), and Mr. Yoder learned nothing about these methods

when he spoke to DEC:

     Q. How did this engineer perform his rough estimate of PFOA emissions?
     A. I have no idea.
     Q. Did you ask [DEC] that?
     A. I did not.
     Q. Why did this engineer perform a rough estimate of PFOA emissions?
     A. I do not know.
     Q. Did you do anything to independently verify the information [DEC] provided to you
        is accurate?
     A. I did not.

(Yoder Tr. at 91:9-20 (emphasis added).)

          Thus, Dr. Hopke has no basis to believe that the       mid-range estimate is reasonable.

Rather, his opinion is “based on speculative assumptions” about untested and untestable hearsay.

See Major League Baseball, 542 F.3d at 311. And even more fundamentally, the fact that he




11

(Yoder Class Rpt. at 4.)


                                                   43
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 56 of 111




estimates a mid-range for PFOA emissions at all contradicts his core opinion:

                                                        (See, e.g., Hopke Class Rpt. at 3-4.) In other

words, Dr. Hopke tries to have it both ways—

                                                                                He offers no consistent

methodology to distinguish between his conflicting opinions. See Major League Baseball, 542

F.3d at 311. He offers no basis in chemistry for his mid-range estimate, which is unreliable.

        Lower-Bound: Finally, Dr. Hopke also provides a “lower bound” emissions estimate for

each former Saint-Gobain facility. (Hopke Class Rpt. at 4.)

                                                   (Id.) But Dr. Hopke stated at his deposition that,

contrary to the opinions offered in his first report, 100 lbs is not (in his view) a reasonable estimate.

(Hopke Tr. at 179:14-19.) Mr. Yoder seemed to concur, admitting that the lower bound estimate

was “arbitrary.” (Yoder Tr. at 76:12-24.) Unreasonable and arbitrary opinions must be excluded.

Major League Baseball, 542 F.3d at 311.

                2.      Mr. Yoder’s Opinion Is Based on Dr. Hopke’s Arbitrary Estimates

        Mr. Yoder’s air modeling opinion is inadmissible because it is based on the unsubstantiated

and arbitrary emission rates scenario put forth by Dr. Hopke. Mr. Yoder used these speculative

estimates in his model without analysis or question, making his model unreliable and inadmissible.

Thus, for the same reasons that Dr. Hopke’s opinion is unreliable, so is Mr. Yoder’s.




                                                                      (Yoder Class Rpt. at 1.) Yet the

reliability of the AERMOD program is only as good as its inputs. (See Yoder Tr. at 69:17-22.)



               (see Yoder Class Rpt. at T-2),


                                                   44
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 57 of 111




(Yoder Tr. at 53:12-25.) Mr. Yoder relied on Dr. Hopke’s emission estimates, which were based

on scientifically unreliable methods, for the PFOA emissions input in his model. Mr. Yoder admits

that these emission estimates were arbitrary. (Yoder Tr. at 102:12-103:8.)

       The “[a]dmission of expert testimony based on speculative assumptions is an abuse of

discretion.” Major League Baseball, 542 F.3d at 311. Where an expert admits that a step in his

analysis is taken with “arbitrary” guesswork, exclusion is required. See Coffey v. Dowley Mfg.,

Inc., 89 F. App’x 927, 931-32 (6th Cir. 2003); Mike’s Train House, Inc. v. Lionel, L.L.C., 472 F.3d

398, 408 (6th Cir. 2006). Courts thus exclude expert testimony that “fails to offer the Court a

reasoned analysis for why [a] figure is valid” and instead offers an opinion that is “arbitrary and

blends into the realm of guesswork.” Ashland Hosp. Corp. v. Affiliated FM Ins. Co., 2013 WL

3213051, at *5 (E.D. Ky. 2013). Because the estimated emission rates used by Mr. Yoder are

arbitrary as set forth above, his model based upon them should accordingly be excluded.

       In addition, the Court should exclude Mr. Yoder’s opinion that “PFOA was deposited from

Chemfab’s operations” as “the only historically significant source of atmospheric deposition

PFOA in Bennington, VT.” (Yoder Class Rpt. at 5-6; Yoder Reb. Rpt. at 5-6.) Mr. Yoder does

not attempt to account for any other sources of PFOA in the Bennington area, despite

acknowledging that other potential sources existed. (Yoder Tr. at 172:9-18; Chinkin Rpt. at 38.)

Nor does he account for background levels of PFOA, despite acknowledging the importance of

doing so in deposition modeling. (Yoder Tr. at 33:23-34:1; Chinkin Rpt. at 38.) In fact, as stated

above, he disclaims the ability to determine the source of PFOA at any given property in the

proposed class area. Air emission models are unreliable where an expert “fail[s] to consider other

obvious explanations” for observed conditions. Innis Arden Golf Club v. Pitney Bowes, Inc., 629

F. Supp. 2d 175, 190 (D. Conn. 2009). Because Mr. Yoder does not consider “why any alternative




                                                45
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 58 of 111




explanations for the [alleged injury] should be ruled out,” his opinion that Chemfab’s operations

were the sole source of PFOA is inadmissible. Matosky v. Manning, 428 F. App’x 293, 298 (5th

Cir. 2011).

               3.      Dr. Siegel’s Hydrogeological Opinion Is Unreliable

       Just as Dr. Hopke ignores actual emissions data in favor of three hypothetical “scenarios,”

Dr. Siegel does not model the migration of PFOA in the actual class area, but rather only for two

hypothetical areas that do not exist in the class area. See supra at Section I.B.1. Dr. Siegel failed

to validate his opinion against actual geological data in the class area, which he admits would vary

considerably. This fundamental flaw, along with many others, renders his opinion unreliable.

                       a.      Dr. Siegel’s Opinion Does Not Account for Any of the Individual
                               Differences in the Class Area That He Acknowledges

       Courts exclude environmental modeling opinions where they are based on “calculations in

a vacuum without any attempt to validate [them] against reality.” Burst v. Shell Oil Co., 104 F.

Supp. 3d 773, 781 (E.D. La. 2015). That is precisely what Dr. Siegel’s approximation does here.

He calculates the movement of PFOA through soil and bedrock to the water table by approximating

the characteristics of two “conceptual” square-meter areas. (Siegel Tr. at 57:11-14.) He admits

those areas do not actually exist in reality, but nevertheless assumes them to be “representative”

of conditions in the class area. (Id. at 33:16-18.) Dr. Siegel did not test the validity of that core

assumption. He did not take samples from any part of the class area to see whether this was so (id.

at 33:7-18, 38:14-24), even though he has experience in taking soil samples (id. at 14:8-9), drilling,

(id. at 15:6-7), and taking water samples. (Id. at 14:10-11.)      Even where he does rely on soil

samples for his calculations, he uses samples from the Iberian Peninsula and Belarus, not from the

Bennington area. (Id. at 79:20-80:25.) These soil samples are the basis for an “influential” and

“highly uncertain” variable which measures the extent that PFOA will stick to organic matter as it



                                                 46
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 59 of 111




moves through the ground. (Id. at 78:7-15.) Without comparing this key parameter to any soil in

the class area, Dr. Siegel has no basis to believe this calculation, or any of his other calculations,

is indeed representative.

       In any event, even a truly “representative” square-meter area would not be a reliable

method to predict PFOA transport throughout a class area containing substantial variability. The

same infirmities that render Dr. Siegel’s opinion an inadequate fit for class certification, as

explained above, also render Dr. Siegel’s methods unreliable. See supra Section I.B. Without

accounting for this variability—or even attempting to do so—Dr. Siegel’s opinion cannot reliably

predict PFOA transport in the class area.

                       b.      Dr. Siegel’s Methods Are Unreliable and Made for Litigation

       Expert testimony “created for the purpose of litigation” is inherently suspect. Mike’s Train

House, 472 F.3d at 408; see also Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311, 1316-17

(9th Cir. 1995) (Daubert II); Awad v. Merck & Co., 99 F. Supp. 2d 301, 304 (S.D.N.Y. 1999),

aff’d sub nom. Washburn v. Merck & Co., 213 F.3d 627 (2d Cir. 2000). This is so because an

expert must “employ[] in the courtroom the same level of intellectual rigor that characterizes the

practice of an expert in the relevant field.” Kumho, 526 U.S. at 152. Because a “scientist’s normal

workplace is the lab or the field, not the courtroom or the lawyer’s office,” testimony based on

methods used for the first time in litigation is unreliable. See Daubert II, 43 F.3d at 1317.




                                                 47
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 60 of 111




        Dr. Siegel openly disavows that

standard, claiming that his litigation

opinions in hydrology do not have to

meet the standards of reliability expected

of scientists in peer-reviewed literature.

Dr. Siegel uses a spectrum of “hydrologic

certainty” (pictured right) that “presents

the level of uncertainty related to various techniques commonly used in hydrology.” (Siegel Tr.,

Ex. Q at 522.) Whereas academic publications strive to approach high levels of certainty, the type

of “solute transport model” he used in this case is “uncertain,” closer to the “Dead Wrong” side of

his scale, and not otherwise reliable when used outside the courtroom. (Id.) According to Dr.

Siegel, this method does “not accurately predict hydrologic and geochemical phenomena well.”

(Id.; Siegel Tr. 127:21-128:1.) The “reliability of … simple solute transport models … to predict

fate and transport outside their calibration sites has not been demonstrated.” (Siegel Tr., Ex. R at

S113 (emphasis added).)

        Outside the courtroom, he “strive[s] to attain” the “certainty that academics [seek] …

before they publish a paper, maybe >90%.” (Siegel Tr., Ex. Q at 522.) But as a litigation

hydrogeologist, he believes that a “certainty greater than 50% is the same as a certainty of 100%.”

(Id.; Siegel Tr. at 126:8-15.) According to Dr. Siegel, “the purpose of law is not to discover ‘truth’

but, rather, to adjudicate disputes in a timely fashion.” (Siegel Tr., Ex. Q, at 522.) But this

particular “‘truth’ costs money and a dilemma always … is how much a client wants to pay for the

truth he gets.” (Id. at 521.)

        The problems with this litigation-driven methodology are amply illustrated by the two-step




                                                 48
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 61 of 111




method Dr. Siegel developed to estimate PFOA concentration in each of his hypothetical square-

meter areas. First, he implemented an approach from an article by Rao (1985) that did not even

involve PFOA to determine how long it would take for PFOA on the ground to travel to the water

table. (Siegel Tr. at 36:22-37:3.) Second, Dr. Siegel used differential equations governing the

mixing of waters derived from Harte (1988) to determine how concentrations of PFOA will rise

and then be flushed away by additional water. (Id. at 97:12-98:1.) Neither of the two steps has

ever been used outside of a courtroom to model the movement of PFOA.

          For the first step, Dr. Siegel adapted the Rao study, which developed a laboratory method

to “screen pesticides and determine which pesticides would move faster or slower given their

chemical properties.” (Siegel Tr. at 51:2-6.) The model was not intended “to be a predictive tool,

but rather a simple method for ranking a number of pesticides in terms of their relative potential

to intrude into groundwater.” (Siegel Tr., Ex. G at 7) (emphasis in original).) The authors

“perceive[d] the index to be used by regulatory agencies in a preliminary evaluation of a large

number of pesticides.” (Id.) Dr. Siegel offers no reason why Rao’s method applies to predict

PFOA movement through soil. (Siegel Reb. Rpt. at 2-6.) Outside the courtroom, he has never

applied Rao’s method to determine the transport of PFOA through soil, and is “not aware” of

anyone else who has, whether in peer-reviewed literature or elsewhere. (Siegel Tr. at 52:3-18.)

Dr. Siegel knows Dr. Rao but never even asked him whether it would be scientifically appropriate

to use the Rao model for PFOA. (Id. at 68:12-20.) Dr. Siegel “created the … methodolog[ies] at

issue for th[e] purpose” of litigation, and they are thus unreliable. Mike’s Train House, 472 F.3d

at 408.

          Moreover, Rao made clear that his methods are based on key assumptions, which do not

apply to this case and render Dr. Siegel’s reliance on Rao’s method unsound. Rao stated that




                                                 49
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 62 of 111




“heterogeneities with depth” of the water table “would invalidate” one of the core assumptions

underlying Rao’s method. (Siegel Tr. at 71:10-15.) Yet in this case, Dr. Siegel concedes that the

water table depth is heterogeneous throughout the Bennington area. (Id. at 71:20-25.) Further,

Rao assumed that the organic partition coefficient, which measures the way a chemical sticks to

soil, can be estimated. (Siegel Tr., Ex. G, at 7). But Dr. Siegel recognizes that this variable is

“uncertain” in the class area. (Id. at 79:4-7.) This assumption, too, is invalid as applied in this

case. Dr. Siegel’s extension of the Rao article to a context not permitted by the author’s explicit

limitations and assumptions is unreliable. See Huss, 571 F.3d at 459; Mirena, 169 F. Supp. 3d at

431.

        For the second step of his opinion, Dr. Siegel utilizes a “back-of-the-envelope style of

approximation” to “determine … how concentrations of PFOA … will rise …, and then once …

clean recharge [water] eventually gets in, how long it would take for the PFOA to approximately

dissipate.” (Siegel Tr. at 97:12-98:1, 100:2-24.) Using a differential equation from a textbook by

Harte, Dr. Siegel opines that PFOA will likely continue to wells where it is not yet present and

then persist in the area. (Siegel Class Rpt. at 1-2.) Dr. Siegel never “published any peer-reviewed

materials in which [he] used any differential equations from Harte to predict the mixing of [a]

solute in groundwater.” (Siegel Tr. at 101:9-13.) Nor has he “seen any other scientific investigator

who published a peer-reviewed work who used the Harte equations to predict the concentrations

of [a] solute in groundwater at a particular site.” (Id. at 101:14-18.) Dr. Siegel’s attempt to apply

inapposite methods made for this litigation must be rejected.

                       c.      Dr. Siegel Fails to Adequately Exclude Alternative Sources

        Though Dr. Siegel’s approximation does not purport to determine the source of PFOA at

any location, he opines that there are no “other sources of PFOA in the groundwater” in the

proposed class area other than Saint-Gobain. (Siegel Decl., Dkt. 107-44, ¶ 11.) But he admits he


                                                 50
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 63 of 111




did not consider a host of potential sources. (Siegel Tr. at 157:8-163:12.) For the one alternative

source he did consider, the Bennington Landfill, his analysis is based on incomplete or

unsupported information.

       Omission of Alternate Sources: An expert must address other obvious sources that can

explain an observed condition. See Doe v. Am. Med. Systems, Inc., 96 F. App’x 758, 759 (2d Cir.

2004); In re Fosamax Prods. Liab. Litig., 688 F. Supp. 2d 259, 268 (S.D.N.Y. 2010). An expert

cannot “ignor[e] alternative explanations.” Doe, 96 F. App’x at 759. Dr. Siegel “agree[s] if there’s

… compelling evidence of an additional source and you ignore it, it would not be an appropriate

scientific method.” (Siegel Tr. at 151:9-14.) Yet that is precisely what he does here.

       Products containing PFOA have been used pervasively for decades in an array of consumer

and industrial applications, including pesticides, paints, printing ink, food packaging, car wash

detergents and protectants, and more. (TAC, Dkt. 113, ¶ 17.) Business and residential use and

disposal of at least some of these PFOA-containing products may obviously contribute to observed

levels of PFOA in groundwater in the Bennington area.



                                                                    (Morrissey Rpt. at 31.)

        Dr. Siegel does not address in his class certification report any of these business or

residential sources of PFOA. (Siegel Tr. at 163:2-12, 24-25, 164:1.) Instead, in his rebuttal report,

he now relies on a reported review of environmental records, completed six months prior to the

submission of his first report but not produced until the submission of his third and fourth reports.

(See Siegel Reb. Rpt. at 2-18.) But that review would not say anything about businesses and

residences using and disposing of common products that contain PFOA. (Id.) Similarly, Plaintiffs’

counsel obtained affidavits of selected property owners—cherry-picked from a much larger list—




                                                 51
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 64 of 111




stating that they never used PFAS compounds. Dr. Siegel now relies on those affidavits without

any apparent regard for whether these individuals even know the common presence of PFAS

compounds in many products they may use. (Id. at 2-22.) After initially rendering his opinions

that ignored these obvious potential sources, Dr. Siegel’s last-ditch effort to address these sources

is not reliable.

        Besides business and residential sources, Dr. Siegel cannot say whether he considered any

Superfund sites, other than the Bennington Landfill. He does not “recollect” whether he looked at

these sites as potential sources. (Siegel Tr. at 162:4-9.) He claims to have looked at another

landfill as a potential source, but then could not “recollect the name of it” and could only state that

he thought it was “in the general area.” (Id. at 161:19-162:3.) By failing to adequately consider

these obvious potential sources, his opinions as to alternative sources are unreliable.

        Inadequate Basis to Rule Out the Landfill: Dr. Siegel opines that the “Bennington

Landfill is not a plausible source of PFOA contamination of the domestic wells located near it.”

(Siegel Class Rpt. at 4-2.) Yet materials containing PFOA were likely disposed of in the

Bennington Landfill. (Siegel Tr., Ex. V, at 22.)



                      (Morrissey Rpt. at 30.) Moreover, southwest of and downgradient from the

Landfill are several domestic bedrock wells containing elevated concentrations of PFOA. (Id.)

Thus, liquid containing PFOA could have migrated downhill from the Landfill and contributed to

the presence of PFOA in these wells and similar wells in the area. Dr. Siegel’s attempt to exclude

the Landfill as an alternative source is unreliable for at least four reasons:

        First,

             (Morrissey Reb. Rpt. at 12), Dr. Siegel dismisses the possibility of migration because




                                                  52
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 65 of 111




a water-proof leachate collection vault was installed at the Landfill. (Siegel Reb. Rpt. at 2-16, 2-

17.)

                                   (Morrissey Reb. Rpt. at 12.)

        Second, Dr. Siegel purports to rule out the Landfill because a well outside it has “a lower

PFOA concentration than the monitoring wells at the landfill.” (Siegel Reb. Rpt. at 2-16.)



                                                                    (Morrissey Reb. Rpt. at 11-12.)

        Third, Dr. Siegel claims that because other contaminants found at the Bennington Landfill

have not been found in the wells to the southwest, the Landfill leachate with PFOA did not migrate

in that direction. (Siegel Reb. Rpt. at 2-17.)

                                                                    (Morrissey Reb. Rpt. at 12.)

        Fourth, Dr. Siegel opines that even if the Bennington Landfill is an alternative source,

Saint-Gobain was the only contributor to PFOA contamination there. (Siegel Reb. Rpt. at 2-22;

Siegel Tr. at 155:13-156:9.) But it is undisputed that many companies disposed of materials in the

Bennington Landfill that potentially contained PFAS or PFOA (Siegel Tr., Ex. X; Ex. V at 8-9),

including Eveready Battery. (Siegel Tr. at 158:14-19.) Dr. Siegel did not “look for evidence”

that certain other potential sources used PFOA. (Id. at 158:3-8.)

                       d.      The Rate of Error in Dr. Siegel’s Methods Is Too High

        Dr. Siegel first opined that the total PFOA mass in the aquifer was 1,150 lbs and that it

would take approximately 150 years for PFOA to be flushed from the groundwater. (Siegel Tr.,

Ex. P.) After Saint-Gobain’s expert, Mr. Morrissey, pointed out that Dr. Siegel double- and triple-

counted the same data, Dr. Siegel then admitted that his approximations were wrong. (Siegel Reb.

Rpt. 2-14.) Now, Dr. Siegel has changed these estimates. The total PFOA mass is approximately




                                                 53
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 66 of 111




215 lbs, and it would take 30 years for PFOA to be flushed out—meaning that his original estimate

was a five-fold over-approximation. (Siegel Reb. Rpt. at Fig. 7.)

        Dr. Siegel has changed other data throughout the four reports he has submitted in this

litigation.

(Spreadsheet 11/3/17.) But it also may take six years (Siegel Merits Rpt. at 3-3), or perhaps two

years. (Id.) It may take five years. (Id.) But those are just the estimates he makes in his reports.

In a spreadsheet that he apparently used to make these calculations, he also calculated PFOA

transport would take about eight years, and also over fourteen years (Spreadsheet 1/10/18.) There

may even be more calculations Dr. Siegel performed, as he admits he “did not save most

spreadsheets reflecting these calculations.” (Siegel Reb. Rpt. at 2-11.)

        To support these results, Dr. Siegel adjusted some of the input data to his calculations, as

summarized in Table 1. He used                                       for the bulk density of soil, but

he also used 2.2, or a figure twenty-five percent higher. (Compare Spreadsheet 11/3/17, with

Siegel Merits Rpt. at 3-3.) Recharge water may be                          (Spreadsheet 11/3/17), but

it may also be over twenty-five percent higher at 25 inches (Siegel Merits Rpt. at 3-3), or nearly

eighty percent higher at 35 inches (Spreadsheet 1/10/18). The water table depth may be five feet,

or ten feet, or twenty feet, or thirty feet, or thirty-five feet. (See Siegel Merits Rpt. at 3-3.) Dr.

Siegel does not state the reasons for changing these variables. (Siegel Tr. at 64:7-13.)

        Under Daubert, a methodology that has a high error rate is not reliable. Daubert, 509 U.S.

at 594; Almeciga v. Ctr. for Investigative Reporting, Inc., 185 F. Supp. 3d 401, 421-22 (S.D.N.Y.

2016); Valente v. Textron, Inc., 931 F. Supp. 2d 409, 425-26 (E.D.N.Y. 2013). Here, not only was

Dr. Siegel’s initial estimate for PFOA to be flushed from the area off by a factor of five, but he

also has submitted multiple calculations containing numerous changes in the values of key




                                                 54
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 67 of 111




variables, leading to reported PFOA transport times ranging from two years to a five-fold increase

                                                                           unreliable.12
to ten years, and even higher. An error rate this high renders his opinion unreliable.12

 Table 1            Spreadsheet    Merits Rpt., Table 1 Spreadsheet             Spreadsheet Produced
                    Produced on    (Sand and Gravel)    Produced on Jan. 10,    on Jan. 10, 2018 (Silty
                    Nov. 3, 2017                        2018 (S&G Min tab)      Loam Max tab)
 Recharge                          25                   35                      19
 (inches/year)

 Soil Bulk                         2.2                  1.3                     2.4
         (g/cm3)
 Density (g/cm3)
 Soil Porosity                     0.32                 0.21                    0.49

 Organic content                   0.002                0.008                   0.004
 of soil
 Partitioning                      Not provided         0.768                   0.384
 Coefficient
 (ml/g)

 Depth to water                    30                   5                       20
 table (ft)

 Years for                         6                    1.77                    14.44
 PFOA to travel
 to water table

        C.         Mr. Unsworth’s “Added Cost”
                       Unsworth's "Added Cost" Methods Are Unreliable

        For the reasons set forth in Section I.C.2, Mr. Unsworth's
                                                        Unsworth’s use of "average"
                                                                          “average” data means it

does not fit class certification. For related reasons, his decision to ignore variation within the class

as to many of the relevant variables renders his opinion on "added
                                                            “added cost”
                                                                   cost" damages of the class

members unreliable.

                                          “position that a factor can still be common to the class,
        Although Mr. Unsworth asserts the "position

even though it’s
            it's not the same for everyone”
                                  everyone" (Unsworth Reb. Tr. at 54:10–20),
                                                                  54:10-20), the law is decidedly



12
12Dr.
   Dr. Siegel’s
       Siegel's opinions suffer from other infirmities. He does not ground his solute transport
model in reliable data. Nor did he take any physical samples or perform any testing to calculate
the organic distribution coefficient, a key variable that measures how quickly a substance will stick
to the soil. (Siegel Tr. at 79:11-19.) This variable is "influential"
                                                        “influential” and "highly
                                                                          “highly uncertain."
                                                                                  uncertain.” Relying
on calculations for this variable from another study that did not study the Bennington area creates
“too great an analytical gap between the data and the opinion proffered."
"too                                                             proffered.” Joiner, 522 U.S. at 146.


                                                  55
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 68 of 111




to the contrary. The use of averages can be “a critical flaw in the work of a plaintiffs’ economics

expert,” since “there is a risk that the averages may hide substantial differences … , which may be

critical for determining whether there is individual impact.” ABA Section of Antitrust Law,

Econometrics: Legal, Practical, and Technical Issues 360 (2d ed. 2014). The issue is not whether

[the expert] has shown just any method for proving [injury] and damages on a class-wide basis; it

is whether the method he proposes is a reliable means of common proof.” Reed v. Advocate Health

Care, 268 F.R.D. 573, 577, 593 (N.D. Ill. 2009). Not only does the use of average measurements

fail to “indicate whether each putative class member suffered harm,” but it can also “unacceptably

mask[] the significant variation” among individuals. Id. at 591-92. “In other words, it is not a

methodology common to the class that can determine [injury] with respect to each class member.”

Id. at 591. Here, Mr. Unsworth’s decision to ignore individual data in favor of averages hides a

wealth of substantial differences among the members of the putative class.

       Water Rates and Usage: Mr. Unsworth testifies that individual water usage could differ

from household to household based on differences in household size, property size, and

idiosyncratic usage patterns (Unsworth Tr. at 118:5-119:1), but fails to address the effect of that

variation on his opinion. Instead, he computes the cost of municipal water for members of the

proposed class by assuming average values for water usage and water rates for each municipality.

(Unsworth Merits Rpt. at 11.) Though he opines, without supporting data, that he believes most

customers in Bennington will choose to pay the “average” water rates as permitted by the utility,

he was unable to say that all would do so. (Unsworth Tr. at 118:5-119:21.)

                                                                             (Mullin Rpt. at 26-27;

Unsworth Tr. at 119:10-21, 120:4-15, 121:5-21, 123:18-19.) Moreover, North Bennington does

not allow customers to elect the average rate, yet he “assume[s] an average” value. (Unsworth Tr.




                                                56
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 69 of 111




at 123:20-124:2.)

                                                                            (Mullin Rpt. at 31.) He

admits to the existence of variation in electrical costs, but fails to address the issue. (Unsworth Tr.

at 75:2-12, 162:21-25.)

       Had Mr. Unsworth considered actual water usage data even for the named Plaintiffs, he

would have discovered great variation:

    Water usage varies according to household size. Whereas Ted and Linda Crawford
     live in a household of four adults (T. Crawford Tr. at 43:16-19), Gordon Garrison
     and his partner are the only individuals residing at his home (Garrison Tr. at 23:18-
     22), and Ron Hausthor lives with his wife and daughter, when she is not away at
     college. (Hausthor Tr. at 29:18-20.)

    Water usage varies according to amount of time spent at home.
                                          (Hausthor Tr. at 194:2-5.) By contrast Linda
     Crawford spends all day at home (T. Crawford Tr. at 198:17-18), and
                                              (Sumner Tr. at 212:8-10.)

    Water usage varies according to household uses of water. Leslie Addison waters her
     garden once a day during growing season. (Addison Tr. at 48:20-21.) Ronald
     Hausthor regularly uses his hot tub (Hausthor Tr. at 69:3-4), and the Crawfords pay
     to fill their pool from a nearby hydrant. (L. Crawford Tr. at 146:11-15, 149:13-19.)

       Preference for Municipal Water: Mr. Unsworth’s opinion is based on his assumption

that putative class members are not better off switching to municipal water. He assumes that,

because an official of the local utility told him that few people had requested municipal water

previously, they all prefer to remain on well water. (Unsworth Merits Rpt. at 11.)



                                                                  (Mullin Rpt. at 21-22.) Moreover,

record evidence shows preferences of the putative class members in this regard vary individually.

William Sumner testified that, if municipal connections had been available previously, he would

have considered a connection to it for the sake of ease and cost, instead of drilling a well. (See

Sumner Tr. at 245:13-22.)


                                                  57
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 70 of 111




                                                         (L. Crawford Tr. at 43:13-14; L. Crawford

Decl., Dkt. 107-56, ¶ 7.) Other absent class members have likewise declined to connect.

(Schmeltzer Email.)

        Well Maintenance: Mr. Unsworth includes estimated values for groundwater well

equipment, including the replacement of the pump and pressure tank, in his annualized costs of

private wells. (Unsworth Merits Rpt. at 12-13; Unsworth Tr. at 152:11-13, 156:18-21.) However,

his report applies fixed values for the amount and frequency of these expenses, which do not reflect

the current age of the well equipment of the proposed class members, and thus do not accurately

address how frequently it would need to be repaired. (See Unsworth Tr. at 158:1-6, 149:12-14,

163:7-12.) Even more tellingly, the very sources he cites to support those values show a great

degree of variation in the cost of replacing this equipment:

      Pump Replacement Costs: Mr. Unsworth opines that a proposed class member
       would need to spend $1,300 every 17 years to replace the pump on each individual’s
       groundwater well (Unsworth Merits Rpt. at 13), but his sources reported that the
       replacement costs of a well pump can range between $1,000 and $2,000.13 (Unsworth
       Tr. Ex. 12 at 4.) Mr. Unsworth agrees that “we saw a variety of costs” and suggested
       that “$2,000 seemed high” (Unsworth Tr. at 150:19-22), but ultimately concedes that
       the replacement costs varied by market and equipment type. (Id. at 150:22-24.)
       Likewise, Mr. Unsworth’s sources stated that the lifecycle of a well pump can be tied
       to additional individualized factors, such as the performance of periodic maintenance
       and the presence of high concentrations of sediment in the groundwater. (Unsworth
       Tr. Ex. 12 at 3-4; accord Mullin Rpt. at 28-29.) In fact, two of the named Plaintiffs
       reported that they incurred substantially greater costs to replace their well pump than
       Mr. Unsworth’s average cost: Linda Crawford gave “an estimate of about 5 or
       $6,000,” whereas her husband testified that the replacement cost was $3,000. (L.
       Crawford Tr. at 97:19-21; T. Crawford Tr. at 85:25-86:4.)

      Pressure Tank Replacement Costs: Although Mr. Unsworth also assumes that the
       replacement costs for a pressure tank should be “[n]o more than $1,000, installed, for
       [a] typical home” (Unsworth Tr. Ex. 10 at 1; Unsworth Merits Rpt. at 13), one of the


13
    Another of Mr. Unsworth’s sources portrayed the variability more dramatically by describing
a typical range of $847 to $2,241 and highlighting that the costs could be as little as $200 or as
much as $4,000. (Unsworth Tr. Ex. 13 at 1.) Although this latter source reported the “average”
replacement cost to be $1,531 (id.), Mr. Unsworth used his own lower, average.


                                                 58
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 71 of 111




        sources identified by Mr. Unsworth reports that the replacement costs for a pressure
        tank range from $800 to $3,800. (Unsworth Tr. Ex. 13 at 2.)

      Water Softener Costs: Likewise, Mr. Unsworth’s “added cost” model contends
       that, on average, a proposed class member who uses a water softening system would
       spend $2,000 every 15 years for capital costs. (Unsworth Merits Rpt. at 13.) Mr.
       Unsworth’s estimate was based, however, on a source that reported “[h]omeowners
       can pay as low as $400 for a DIY installation while incurring as high as $4,000 for a
       full professional installation.”14

        Insurance Adjustment:        Mr. Unsworth incorporates a potential insurance discount

associated with a municipal water connection into his model. (Unsworth Merits Rpt. at 12.)

Notably, however, he acknowledges that the insurance adjustment might vary based on location

and risk class, but he nevertheless applies a uniform value in calculating his but-for condition. (Id.

at 12-13 & n.17.) By failing to address a variable his report acknowledges, his opinion is

unreliable.

        Individuals on POETS: Some individuals will, after remediation, still use private well

water supplies connected to POETs (point of entry treatment systems), whether by choice or

because connection to the municipal supply is infeasible. (See Schmeltzer Email.) Even though

those individuals will not experience the added cost of switching to municipal water, Mr. Unsworth

nevertheless opines that his “added cost” model presents a fair measure of their damages.

(Unsworth Merits Rpt. at 14.) He offers no basis for his opinion that any purported losses are

comparable—much less equivalent—to the purported costs of transitioning to municipal water.

Mr. Unsworth concedes that an individual inquiry into the “circumstances of how to make those

municipal connections to each member” would be necessary. (Unsworth Reb. Tr. at 132:1-6.) Yet

he makes no effort to calculate the costs of operating the POET or to account for his admitted



14
   Kate Halse, How Much Does Water Softener Installation Cost? (Sept. 10, 2015), available at
https://bit.ly/2zt6DUe (last visited Nov. 25, 2018).


                                                 59
         Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 72 of 111




“uncertainty” as to a variety of matters relevant to such damages—whether PFOA concentrations

remain steady, deeper wells may be constructed, or connections to the municipal water ultimately

prove feasible. (Unsworth Tr. at 57:21-58:17.) Instead, he merely “assign[s] them a loss” (id. at

59:16-22), even if someone else incurred the cost of installing and operating the system.

(Unsworth Reb. Tr. at 139:4-8.) Mr. Unsworth’s speculative ipse dixit opinion of what these

damages would be is inadmissible. Joiner, 522 U.S. at 146.

III.      PLAINTIFFS’ EXPERTS’ MERITS OPINIONS ARE INADMISSIBLE

          In addition to their opinions on class certification, Plaintiffs’ experts offer “merits”

opinions in support of Plaintiffs’ claims. The methodologies of much of these merits opinions are

indistinguishable from those advanced for class certification and, thus, should be excluded for the

same reasons. Beyond those, Saint-Gobain addresses two categories of opinions separately:

       A. Dr. Ducatman and Dr. Grandjean proffer medical causation testimony opining that
          exposure to PFOA causes adverse health effects. To the extent these opinions follow
          any discernible methodology at all, it is subjective, litigation-driven, and contrary to
          well-developed principles for evaluating whether exposure to an agent causes adverse
          health effects. They are unreliable and inadmissible.

       B. Several of Plaintiffs’ experts offer testimony that constitutes legal opinion and is
          therefore inadmissible. Dr. Hopke, Dr. Siegel, and Mr. Mears all proffer narrative
          summaries of documents selected by counsel, from which they opine that Saint-
          Gobain acted unreasonably or in violation of the law. Such narrative summaries of
          evidence lack any scientific method. Likewise, Mr. Unsworth says that, without
          regard to their reliability, the individual Plaintiffs’ diminution in value opinions are
          permitted by Vermont law, another question of law reserved to this Court.

          A.      Plaintiffs’ Experts’ Medical Causation Opinions Are Unreliable

                  1.      Dr. Ducatman Has No Discernible Methodology

          In addition to his opinion in support of medical monitoring for the proposed exposure class,

Dr. Ducatman offers an opinion as to medical causation: that exposure to PFOA causes the litany

of adverse health effects as to which he proposes medical monitoring. To the extent this opinion




                                                   60
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 73 of 111




applies any discernible methodology at all, it is riddled with errors that make it fundamentally

unreliable under Daubert.

       “Before a court can evaluate the reliability of an expert’s methodology, the expert must

employ one.” Milanowicz v. The Raymond Corp., 148 F. Supp. 2d 525, 535 (D.N.J. 2001). An

expert is expected to demonstrate “a sufficiently rigorous … connection between that methodology

and [his] conclusions” to establish reliability under Rule 702. Nimely v. City of New York, 414

F.3d 381, 396 (2d Cir. 2005). In principle, Dr. Ducatman agrees that scientists should describe

their methods and explain their reasoning so that others can understand how the data were analyzed

and how the conclusions were reached. (Ducatman Tr. at 10:20-24.) In practice, he failed to apply

any methodology, much less a reliable one. His causation opinions should be excluded.

       Dr. Ducatman’s class and merits reports do not identify what criteria he employed to select,

exclude, and evaluate scientific studies. The only steps he articulated were a literature search and

“other things that [he did] as a matter of intuition.” (Id. at 86:1-20.) When asked to describe his

method, he provided no response except to call the question “very broad.” (Id.) Following this

non-response at deposition, Dr. Ducatman furnished a rebuttal report (his third) in which, for the

first time, he purported to describe the methodology for his two prior reports as “equivalent to the

mainstream weight-of-the-evidence approach.” (Ducatman Reb. Rpt. at 9 (emphasis added).)

Initially, that the “underpinnings” of Dr. Ducatman’s opinion “have changed in direct response”

to being challenged shows that his methods are not based on science, but litigation, and therefore

inadmissible. Haller, 598 F. Supp. 2d at 1296-97.

       In any event, Dr. Ducatman cannot backfill his standardless opinion through post hoc

invocation of new methods. “A rose by another name may smell as sweet,” but simply labeling

an analysis as mainstream “doesn’t make it so.” In re Lipitor (Atorvastatin Calcium) Mktg., Sales




                                                61
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 74 of 111




Practices & Prod. Liab. Litig. (No II), 892 F.3d 624, 643 (4th Cir. 2018). For the reasons set forth

more fully in Section III.A.3 with respect to Dr. Grandjean, the “weight of the evidence”

methodology used by regulators for preventive public health purposes is inapplicable to the

evaluation of liability in tort. See, e.g., Allen, 102 F.3d at 199. Moreover, as the Third Circuit

held, “[t]o ensure that the ... weight of the evidence criteria is truly a methodology, rather than a

mere conclusion-oriented process ... there must be a scientific method of weighting that is used

and explained.” Zoloft, 858 F.3d at 796 (citations omitted). That is, “an expert must explain 1)

how conclusions are drawn for each ... criterion and 2) how the criteria are weighed relative to one

another.” Id.

       Dr. Ducatman does not do this. His rebuttal report fails to provide (1) any description of

what criteria he uses to include, exclude, and weigh evidence; (2) how he draws inferences as to

those criteria; (3) how the criteria are weighed relative to one another; or (4) how he integrates

evidence to form an opinion. Such an “unscientific ‘black box’ approach ... prevents the finder of

fact, or other experts seeking to validate or check his work, from conducting a meaningful and

informed review.” In re Mirena Ius Levonorgestrel-Related Prod. Liab. Litig. (No. II), 2018 WL

5276431, at *28 (S.D.N.Y. 2018).



                     (Guzelian Reb. Rpt. at 13.) An expert’s “assurances that he has utilized [a]

generally accepted scientific methodology is insufficient.” Moore v. Ashland Chem. Inc., 151 F.3d

269, 276 (5th Cir. 1998). It is an “ipse dixit” based on nothing more than the expert’s credentials,

and it is inadmissible. Joiner, 522 U.S. at 146.

                2.     Dr. Ducatman’s Causation Opinion Is Unreliable

       Lacking any ascertainable methodology for his causation analysis, Dr. Ducatman’s opinion

is riddled with errors. In opining based on his review of studies that PFOA causes a variety of


                                                   62
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 75 of 111




adverse health effects, Dr. Ducatman was not writing on a blank slate. Rather, as courts have

repeatedly recognized, the field of epidemiology is subject to several well-developed standards for

evaluating whether there exists a causal relationship between an exposure and a disease:

       First, the expert must evaluate the totality of the relevant data to determine whether they

report an association between exposure and disease. RMSE at 604-05; K.E. v. GlaxoSmithKline

LLC, 2017 WL 440242, at *10-11 (D. Conn. 2017). In doing so, the expert should consider

whether an association is true or false—that is, whether it may be explained by chance, bias, or

confounding. RMSE at 572-74; Zoloft, 858 F.3d at 793.

       Second, only after a true association has been identified, the expert should apply the

“Bradford Hill criteria” to determine whether the association is causal. Lipitor, 892 F.3d at 642;

Dunn v. Sandoz Pharm. Corp., 275 F. Supp. 2d 672, 678 (M.D.N.C. 2003). “Those factors include

temporal relationship, strength of the association, dose-response relationship, replication of the

findings, biological plausibility, consideration of alternative explanations, cessation of exposure,

specificity of the association, and consistency with other knowledge.” Lipitor, 892 F.3d at 638

(citing RMSE at 599–600).

       Third, if a valid association is identified, the expert should evaluate the dose at which the

association obtains. Allen, 102 F.3d at 199; Mitchell v. Gencorp, Inc., 165 F.3d 778, 781 (10th

Cir. 1999). Since even water is toxic at sufficient doses, the expert should consider how much

exposure is necessary before an alleged effect is observed. Allen, 102 F.3d at 199.

       Dr. Ducatman’s opinion violates these standards, each one of which is essential to the

reliability of his opinion. These errors are illustrative only, with a more comprehensive catalog of

Dr. Ducatman’s errors furnished in Appendix B to Dr. Guzelian’s report. Because Dr. Ducatman

has not “employ[ed] in the courtroom the same level of intellectual rigor that characterizes the




                                                63
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 76 of 111




practice of an expert in the relevant field,” Kumho, 526 U.S. at 152, his medical monitoring

opinions are inadmissible.

                        a.     Dr. Ducatman Cherry-Picks Study Results for His Opinion

        “When experts rely on epidemiological evidence to support causation, they must provide

the jury with a full picture of the state of the field.” K.E., 2017 WL 440242, at *10-11 (citing

Guardians Ass’n of N.Y.C. Police Dept., Inc. v. Civil Serv. Com., 633 F.2d 232, 240 (2d Cir.

1980)). Thus, a causation opinion that “completely ignore[s] the many epidemiological studies”

that do not show an association is unreliable. Norris v. Baxter Healthcare Corp., 397 F.3d 878,

885 (10th Cir. 2005).

        Dr. Ducatman agrees that all available relevant data should be assessed before arriving at

an opinion, and that “you don’t want to be selective” or cherry-pick evidence. (Ducatman Tr. at

12:4-13.)

     Q. Do you agree that selective cherry picking of data is inconsistent with a valid and
        reliable scientific methodology?
     A. No one wants to be just cherry picking when they come up with a method.

(Id. at 12:21-25.) Yet he did not address the totality of the data (id. at 83:16-25) or the studies

whose findings are contrary to his opinion. (See, e.g., Mandel Rpt. at 36-40, 43-48, 66-71, 77.)

Instead, he cited only the studies that he says support his opinion. His only explanation for why

he did so was that those studies “were best in class,” a subjective term for which he provided no

elaboration. (Ducatman Tr. at 85:15-18.) Rather than providing a principled reason for excluding

these other studies from discussion, he merely explained that “[a]t some point, you run out of

gas.” (Id. at 83:22-23 (emphasis added).)15


15
   Even his reference to PFOA blood serum levels found in several Plaintiffs is one-sided and
selective. (Ducatman Class Rpt. at 4.) He lists the PFOA blood levels of four named Plaintiffs,
but when asked why he does not include other Plaintiffs’ PFOA levels in his report as well, he
simply states that he does not “recall why [he] didn’t.” (Ducatman Tr. at 55:21-24.)


                                                 64
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 77 of 111




       This subjective and results-oriented statement is unscientific, unreliable, and inadmissible.

An expert who offers an opinion “without confronting scientific literature that refutes this notion,

casts doubt upon the reliability of her opinions.” Mirena, 169 F. Supp. 3d at 449 (citing Rezulin,

369 F. Supp. 2d at 425). “[J]ust as omitting data might distort the result by overlooking

unfavorable data, cherry-picking data produces a misleadingly favorable result by looking only to

‘good’ outcomes.” Freeman, 778 F.3d at 469-70; accord Bricklayers & Trowel Trades Int’l

Pension Fund v. Credit Suisse Securities (USA) LLC, 752 F.3d 82, 92 (1st Cir. 2014); Barber, 17

F. App’x at 437. Such selective citation “undermines principles of the scientific method and is a

quintessential example of applying methodologies (valid or otherwise) in an unreliable fashion.”

Lipitor, 892 F.3d at 634. At bottom, it shows the expert has not exhibited “the same level of

intellectual rigor that characterizes the practice of an expert in the relevant field,” and requires

exclusion. Kumho, 526 U.S. at 152.

                       b.     Dr. Ducatman Ignores Study Limitations and Results

       Dr. Ducatman’s opinion fares no better with the studies he does cite. Evaluating alleged

causal associations in humans is “very challenging” and becomes more difficult where exposure

doses are low, the health conditions at issue are commonly observed, and there has been exposure

to other chemical substances. (Calabrese Rpt. at 5.) Thus, in conducting that inquiry, not all

scientific studies are created equal. Different study designs—whether clinical trials, case-control,

cohort, or cross-sectional—are subject to different risks of chance, bias, and confounding. RMSE

at 555-62. And in particular, various metrics reported by the studies, such as confidence intervals

and p-values, provide measures of whether the results can be attributed to chance—that is, whether

they are statistically significant. See id. at 574-81. A reliable methodology, at minimum, considers

these factors in determining whether a reported association is valid. Coleman v. Union Carbide

Corp., 2013 WL 5461855, at *38 (S.D.W. Va. 2013); (see also Mandel Rpt. at 20, 22.)


                                                65
         Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 78 of 111




          Dr. Ducatman acknowledged that a study’s reported findings could be erroneous due to

“chance, bias, or confounding” and otherwise limited by the study design. (Ducatman Tr. at 18:14-

20:14.) Yet he did not attempt to address or even discuss these issues for any of the studies he

cited.

(Mandel Rpt. at 7; see also Guzelian Rpt. at App’x B.) He provides no information on the routes,

duration, and concentrations of PFOA exposure in the studies cited. His reports do not review the

basic parameters of the studies he cites, such as sample sizes, PFOA doses, or the characteristics

of the study participants. He does not identify each study’s design and inherent limitations—even

those identified by the study authors. His reports do not denote the cited studies’ point estimates,

confidence intervals, or p-values. Dr. Ducatman’s hit-and-run manner provides none of this

essential information and thus does not “employ[] in the courtroom the same level of intellectual

rigor that characterizes the practice of an expert in the relevant field.” Kumho, 526 U.S. at 152.

          Moreover, the studies Dr. Ducatman cites receive only cursory treatment that ranges from

one word to two sentences:

          Q. You do not discuss, analyze, or explain the methodological limitations or the
             particular data from any of the studies that you cite through endnotes on pages
             five and six of your report. Do you?
          A. No.
          Q. Why not?
          A. I didn’t think it was needed.

(Ducatman Tr. at 83:4-11 (emphasis added).) In Mirena, the court criticized the expert for a

similarly limited engagement with the scientific literature: “Beyond citing these studies, Dr.

Plunkett does not discuss any of them in more than a sentence.” 2018 WL 5276431, at *34.

                                                                                          (Guzelian

Rpt., App’x B at 1.) His ipse dixit that such discussion of the studies he cites was not necessary is

insufficient. Joiner, 522 U.S. at 146.



                                                 66
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 79 of 111




                       c.      Dr. Ducatman Improperly Relies on Animal Studies

        Of all the limitations in the data that Dr. Ducatman ignores, the most significant is his

reliance on animal studies to support causation in humans. There are significant and well

recognized limitations and uncertainties on extrapolating data from experimental animals to

humans. Rider v. Sandoz Pharms. Corp., 295 F.3d 1194, 1202 (11th Cir. 2002); Rezulin, 369 F.

Supp. 2d at 407; Mirena, 169 F. Supp. 3d at 445. The potential effects of substances in animal

studies can vary based on differences among species, and even on strains of the same species, “in

metabolic rates, anatomy, cellular or biochemistry and in the absorption, distribution, metabolism

and elimination of chemicals.” (Ducatman Tr. 32:25-33:17.) The ATSDR questions the use of

animal studies to infer results of PFOA exposure in humans and notes, for example, that “[t]here

are profound differences in the toxicokinetics and mode of action of perfluoroalkyls between

humans and experimental animals.”16 Dr. Ducatman agrees that extrapolating results from animal

models to humans can be difficult and must be done with “scientific capability.” (Ducatman Tr.

at 31:19-32:12.) Yet his opinion fails to consistently address which of the cited studies involved

animals.

                       d.      Dr. Ducatman Conflates Association With Causation

        A statistical association “is not equivalent to causation”; nor does it “necessarily imply a

causal effect.” RMSE at 552 & n.7 (internal citation omitted). Dr. Ducatman agrees that “the

word association is not a substitute for the word causation,” and that it is an “important area of

scientific discussion” to distinguish between the two. (Ducatman Tr. at 18:7-13.) Instead,

something more “is needed to bridge the gap between association and causation.” RMSE at 218.




16
     ATSDR, ToxGuide for Perfluoroalkyls 2 (2015) (Ducatman Tr. Ex. 1 at 2).


                                                67
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 80 of 111




       Absent from Dr. Ducatman’s opinions is any framework for inferring causation from the

evidence he cites. His opinions rely heavily on cross-sectional studies, which measure the levels

of exposure in individuals with and without a given disease at a single point in time, but generally

are hypothesis-generating, not hypothesis-testing, and thus cannot be used to show a causal

relationship. (See Mandel Rpt., at 20, 31; Calabrese Rpt. at 7); RMSE at 556, 560-61. He

nevertheless makes an unexplained analytical leap from (1) reliance on studies reporting statistical

associations between PFOA exposure and certain health endpoints to (2) the opinion that PFOA

exposure is the key causal element for increased risk of future disease.17

                                                                                               (See

Mandel Rpt. at 22-23.) Compounding this error is the fact that he cannot point to any peer-

reviewed study that has reported that PFOA exposure causes any of the health endpoints that he

includes in his reports. (See Ducatman Tr. at 76:4-77:25.)

                       e.      Dr. Ducatman Sets an Arbitrary Threshold Dose

       “One of the central tenets of toxicology” is that “‘the dose makes the poison.’” RMSE at

636; (see Ducatman Tr. at 28:20-29:19). “Scientific knowledge of the harmful level of exposure

to a chemical plus knowledge that plaintiff was exposed to such quantities are minimal facts

necessary to sustain the plaintiff’s burden.” McClain, 401 F.3d at 1241 (quoting Allen, 102 F.3d

at 199) (emphasis added); Mitchell, 165 F.3d at 781. Failure to lay a “reliable groundwork for



17
      While Dr. Ducatman appears to acknowledge the studies he cites only found potential
associations, his reports repeatedly use other imprecise unscientific terms, without definition or
distinction. These vague terms include “leads to,” “consistently established,” “effects with a
preponderance of evidence,” “probable excess risks needing additional investigation,” “results in,”
“known PFOA-related diseases,” “related to,” “supported,” “indication of,” “probable link,” and
“known to follow.” (Ducatman Class Rpt. at 5-6; Ducatman Merits Rpt. at 1-13.) Failing to define
such terms
                                                     (Mandel Rpt. at 6), and underscores the lack
of scientific precision or a sound methodology in forming his opinions (Calabrese Rpt. at 15).


                                                 68
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 81 of 111




determining the dose-response relationship” for PFOA “signals a methodology” problem.

McClain, 401 F.3d at 1241.

       Instead of attempting to calculate a threshold dose, Dr. Ducatman incorporates by reference

the then-current average blood serum level for PFOA in the U.S. population of 2.1 µg/L.

(Ducatman Class Rpt. at 3, 9; Ducatman Tr. at 96:23-97:15, 98:10-17.) He opines that any

exposure above this level causes increased risk. (Ducatman Class Rpt. at 9.) He does not provide

any data to show that “above-background levels” of PFOA in blood serum is a sufficient threshold

dose for causing any disease in humans. See McClain, 401 F.3d at 1240-41; (Ducatman Tr. at

78:1-80:5; 104:14-106:16.) Nor does he explain his methodology for setting a threshold dose for

PFOA so low or why the national geometric mean of PFOA concentrations in blood serum is a

meaningful cut-point. See Rosen, 78 F.3d at 319-20; Rezulin, 369 F. Supp. 2d at 430-31.

       This arbitrary dividing line “‘reveals a methodological flaw that cannot be overlooked by

the court.’” Adams v. Cooper Indus., Inc., 2007 WL 1805586, at *4 (E.D. Ky. 2007) (quoting

Allgood v. General Motors Corp., 2006 WL 2669337, at *28-29 (S.D. Ind. 2006)). “[E]quating

‘unusual’ or ‘abnormal’ with ‘above-average’ is not a scientifically valid methodology because it

does not take into account the normal distribution of data within a given population.” Id. In

addition to being “unreliable and misleading,” “[s]uch a definition of abnormality would deprive

the term of all meaning.” Id. at *4-5. For example, in Adams, under the expert’s “approach, one

would expect half the world’s population of approximately six billion people (everyone with levels

above the median) to be entitled to a special medical monitoring program.” Id. at *4 (quoting

Allgood, 2006 WL 2669337, at *28).

       So, too, here.




                                               69
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 82 of 111




               (Guzelian Rpt. at 19; Mandel Rpt. at 123-24.)           The average blood serum

concentration of PFOA in the U.S. population has declined over time, from 5.21 µg/L in 1999-

2000 to 2.08 µg/L in 2011-12. (Ducatman Tr. at 102:22-103:21; Ducatman Tr. Ex. 10.) Dr.

Ducatman concedes that, if his 2.1 µg/L inclusion criterion is used to determine eligibility for

medical monitoring, millions and millions of Americans should have been receiving medical

monitoring when the average PFOA concentration in blood serum was more than double its present

level. (Ducatman Tr. at 103:22-104:23.) This is another flaw that renders his opinions unreliable.

               3.      Dr. Grandjean’s Rebuttal Opinions Are Inadmissible

                       a.     Dr. Grandjean’s Medical Monitoring Opinions Are
                              Inadmissible

       Dr. Grandjean opines as to the implementation of medical monitoring generally and as it

has been proposed by Dr. Ducatman in this action. (Grandjean Rpt. at 5, 15, 38, 41, 46-48, 51, 55,

69-71.) Plaintiffs have since stipulated that they are not offering Dr. Grandjean “as an expert in

medical monitoring.” (Grandjean Tr. at 47:1-5.) As set forth in Saint-Gobain’s motion to strike

Dr. Grandjean’s rebuttal report, this concession should be sufficient to end the Court’s inquiry and

to warrant striking any discussion by Dr. Grandjean about medical monitoring.

       Independent of Plaintiffs’ proffer, his medical monitoring opinion is unreliable and lacks

the necessary fit to the factual issues for the same reasons that Dr. Ducatman’s opinions fall short

of the standard for admitting expert testimony. See supra Sections II.A, III.A; (Grandjean Tr. at

16:2-19:6, 22:9-23:21, 33:20-35:22, 46:1-6, 170:14-171:16, 176:12-177:17, 181:17-182:21.) In

addition, Dr. Grandjean concedes that “[e]very individual has his or her own background risk of

developing the disease in question.” (Grandjean Rpt. at 69.) As with Dr. Ducatman, he also admits

that individuals in the proposed class area would vary in the amount and length of their exposure

to PFOA, the levels of PFOA in their blood serum levels, their susceptibilities to PFOA, and even



                                                70
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 83 of 111




the factors that affect those susceptibilities (Grandjean Tr. at 16:2-19:6, 22:9-23:21), not to

mention the “other factors” that “would be hard or impossible to decipher beforehand.”

(Grandjean Rpt. at 69.) His opinion simply ignores these differences for purposes of opining on

the propriety of class-wide monitoring. This attempt to “shortcut” or end-run the challenge that

individual issues pose to “class-wide proof” should be “a caution signal.” Broussard, 155 F.3d at

343.

        Similarly, by dismissing Plaintiffs’ individual variation, Dr. Grandjean cannot reliably

opine on whether Dr. Ducatman’s proposed medical monitoring collectively “differs from that

provided to anyone who sees a doctor regularly, and is useful for early identification of injury.”

(Dkt. 107-1 at 28 (citing Dkt. 105 at 6).) Like Dr. Ducatman, he did not examine or speak to any

Plaintiffs; did not review any Plaintiff’s medical records, deposition transcript, or interrogatories;

or even consider any facts about Plaintiff-specific water consumption practices. (Grandjean Tr. at

34:14-36:23.) Having ignored “[o]ne of the basic and most useful tools in diagnosis and treatment

of disease,” RMSE at 670, he cannot say whether any of the Plaintiffs received any of the proposed

medical tests as part of their routine medical care. (Grandjean Tr. at 46:13-18.)

                                                                                      (Guzelian Rpt.

at 29.) One of the fundamental precepts of preventive testing—as with all medical care—is that

one should avoid doing more harm than benefit. (Grandjean Tr. at 194:5-8.) Thus, Dr. Grandjean

agrees that it “would be normal” to consider the “whole range of possible risks” and benefits of

medical monitoring when assessing its utility.        (Id. at 175:10-14, 180:14-181:2.)      He also

acknowledges medical monitoring carries the substantial risk of an erroneous test result—such as

a false positive and false negative—or overdiagnosis (that is, “diagnosed without justification”).

(Id. at 184:2-23.)    Such errors can lead to a number of unnecessary harms that include




                                                 71
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 84 of 111




uncomfortable, expensive, and potentially harmful testing; additional medical consultations;

unwarranted treatments or surgeries; delayed diagnoses and treatments; and psychological harm,

such as anxiety, fright, and social stigma. (Id. at 184:2-23, 186:6-187:13.) Because he never

evaluated, consulted, or spoke to any of the Plaintiffs, Dr. Grandjean could not make those

assessments. Similarly, he fails to evaluate whether monitoring would benefit the proposed class,



                                    (Mandel Reb. Rpt. at 6.)




                                                                           (Id. at 43, 91; see also id. at

50, 69.) He says Dr. Ducatman’s medical monitoring opinion is “justified,” but admits he has not

“undertaken to determine whether any particular tests or diseases for which Doctor Ducatman

proposes to medically monitor [are] warranted.”          (Grandjean Tr. at 173:9-21, 196:17-23.)

Accordingly, Dr. Grandjean’s opinions regarding medical monitoring are unreliable.

                       b.      Dr. Grandjean’s Analysis Under Regulatory Principles Is
                               Incompatible With Standards of Proof in Tort

       Attempting to address general causation, Dr. Grandjean opines that “elevated exposure to

PFOA ... results in an increased risk of harm.” (Grandjean Rpt. at 70.) He reaches this opinion

based on a subjective process of standardless introspection using an arbitrary exposure threshold,

a cherry-picked record, and regulatory risk assessments and the assumptions that characterize

them. This is not the type of reliable methodology required by Rule 702 and Daubert.

       As Judge Weinstein explained in Agent Orange, there is a fundamental distinction between

the standards used in regulatory risk assessments and liability in tort:

       The distinction between avoidance of risk through regulation and compensation for
       injuries after the fact is a fundamental one. In the former, risk assessments may lead


                                                 72
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 85 of 111




       to control of a toxic substance even though the probability of harm to any individual
       is small and the studies necessary to assess the risk are incomplete; society as a whole
       is willing to pay the price as a matter of policy. In the latter, a far higher probability
       (greater than 50%) is required since the law believes it unfair to require an individual
       to pay for another’s tragedy unless it is shown that it is more likely than not that he
       caused it.
       …
       A government administrative agency may regulate or prohibit the use of toxic
       substances through rulemaking, despite a very low probability of any causal
       relationship. A court, in contrast, must observe the tort law requirement that a
       plaintiff establish a probability of more than fifty percent that the defendant's action
       injured him.

In re Agent Orange Prod. Liab. Litig., 597 F. Supp. 740, 781, 785 (E.D.N.Y. 1984) (citations

omitted), aff’d, 818 F.2d 145 (2d Cir. 1987); see also Glastetter v. Novartis Pharm. Corp., 252

F.3d 986, 991 (8th Cir. 2001); Mitchell, 165 F.3d at 783 n.3.

       Yet throughout his opinion, Dr. Grandjean frames his analysis in terms of how regulatory

and advisory bodies would evaluate risk and, in particular, “weight-of-evidence procedures applied

by regulatory agencies and international organizations.” (Grandjean Rpt. at 4-5; see also id. at 18-

19, 63-64, 70.) Courts have repeatedly rejected attempts by experts to model their causation

opinions on the risk assessment approaches of regulatory and advisory bodies:

       The experts employ a “weight of the evidence” analysis used by organizations such
       as the World Health Organization’s International Agency for Research on Cancer
       (IARC), OSHA, and the EPA to rate the carcinogenicity of various substances in
       humans.
       ...
       We are also unpersuaded that the “weight of the evidence” methodology these experts
       use is scientifically acceptable for demonstrating a medical link between Allen’s EtO
       exposure and brain cancer. Regulatory and advisory bodies such as IARC, OSHA
       and EPA utilize a “weight of the evidence” method to assess the carcinogenicity of
       various substances in human beings and suggest or make prophylactic rules
       governing human exposure. This methodology results from the preventive
       perspective that the agencies adopt in order to reduce public exposure to harmful
       substances. The agencies’ threshold of proof is reasonably lower than that
       appropriate in tort law, which “traditionally make[s] more particularized inquiries
       into cause and effect” and requires a plaintiff to prove “that it is more likely than not
       that another individual has caused him or her harm.”




                                                 73
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 86 of 111




Allen, 102 F.3d at 196, 198 (emphasis added) (quoting Wright v. Willamette Indus., Inc., 91 F.3d

1105, 1107 (8th Cir. 1996)).

       Federal courts have echoed and applied this caution in other cases involving PFOA:

       [A] risk assessment is of limited utility in a toxic tort case, especially for the issue
       of causation, because of the risk assessment's distinct purpose. Risk assessments
       have largely been developed for regulatory purposes and thus serve a protection
       function in providing a level below which there is no appreciable risk to the general
       population.
       …
       Because a risk assessment overstates the risk to a population to achieve its
       protective and generalized goals, it is impossible to conclude with reasonable
       certainty that any one person exposed to a substance above the criterion established
       by the risk assessment has suffered a significantly increased risk.

Rhodes, 253 F.R.D. at 377-78; accord Rowe, 2008 WL 5412912 at *16, 18-19.

       Dr. Grandjean repeats this identical error here. Specifically, he repeatedly seeks to criticize

the defense experts for using causal criteria that are not in accordance with “an assessment of the

weight of the evidence, as applied by agencies, such as ATSDR, EPA, NTP [U.S. National

Toxicology Program], EFSA [European Food Safety Authority], and IARC.” (Grandjean Rpt. at

70; see id. at 4, 19; Grandjean Tr. at 84:5-85:1.) In turn, he likens his approach to the regulatory

agencies’ risk assessments and purports to rely on their methods and principles:

   Q. Does the weight of the evidence assessment you performed in this litigation conform
      to the approaches of the ATSDR, EPA, NTP, EFSA, and IARC in conducting risk
      assessments?
   A. I believe so.
   Q. Is it fair to say that regulatory and advisory bodies, such as IARC, OSHA, and EPA,
      utilize a weight of the evidence method to assess the carcinogenicity of various
      substances in human beings and suggest or make prophylactic rules governing human
      exposure?
   A. I believe so.
   Q. Is it also fair to say that regulatory and advisory bodies such as ATSDR, EPA, NTP,
      and EFSA utilize a weight of the evidence method to assess noncarcinogenic
      endpoints of various substance in human being and suggests or make prophylactic
      rules governing human exposure?
   A. I believe so.




                                                 74
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 87 of 111




(Grandjean Tr. at 85:2-19.)

        Dr. Grandjean cannot reliably apply regulatory “weight of the evidence” risk assessment

principles to offer a medical causation opinion in tort.



                                                            (Schwartz Reb. Rpt. at 9.) Regulatory

risk assessments are founded on standards that “are set for purposes far different than determining

the preponderance of evidence in a toxic tort case” since they “traditionally include protective

factors to reasonably ensure that susceptible individuals are not put at risk.” RMSE at 665-66. Dr.

Grandjean concedes as much.18

     Q. Is it a basic tenet of regulatory public health policy to in effect err on the side of
        caution?
     A. I would say so.
        …
     Q. The manner in which one errs on the side of caution in establishing regulatory public
        health policy is not something that one has to do in a basic science environment, is
        it?
     A. When you say so. I would think that is not what you want to do because no science
        is perhaps a major input that the regulatory agencies would want.
        …
     Q. Does the EPA apply uncertainty factors to account for the extrapolation of results in
        experimental animals to humans, inter individual var[i]ability including sensitive
        subgroups, extrapolation from a lowest observed adverse effect level to a no observed
        adverse [e]ffect level, extrapolation of results from subchronic exposure to chronic
        exposures and database inadequacies?
     A. That is my understand[ing].
     Q. A risk assessment may incorporate multiple uncertainty factors to calculate a
        regulatory exposure level; is that correct?
     A. That’s my understanding.
        …


18
     Despite invoking agency methodologies for conducting risk assessments, Dr. Grandjean
disagrees with the results of the risk assessments performed by EPA, ATSDR, and EFSA. For
example, these agencies have recently issued PFOA exposure guidelines for drinking water that
range from 3 to 70 ng/L. (Grandjean Rpt. at 67.) He opines that these exposure limits are too high
and contends that they should be less than 1 ng/L. (Grandjean Tr. at 74:20-75:14.) Although he
claims to follow the same approach as these bodies, he does not point to any regulatory or advisory
body that supports this assessment.


                                                 75
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 88 of 111




     Q. Given the methods, assumptions, and uncertainty factors that are used in regulatory
        risk assessments, the permissible exposure levels that are calculated are intended to
        be protective not predictive?
     A. No. They are intend to be virtually protective for the exposed population.
        …
     Q. Given the methodology, assumptions and safety factors that characterize regulatory
        risk assessments, the permissible exposure levels do not provide predictive
        information about actual clinical risks for exposures that exceed such levels, do they?
     A. No.

(Grandjean Tr. at 71:23-72:16, 81:18-82:24.)

        This protective perspective cannot satisfy the requirements for expert testimony in a tort

suit. Whereas “[a] regulatory agency ... may choose to err on the side of caution,” courts “are

required by the Daubert trilogy to engage in objective review of evidence to determine whether it

has sufficient scientific basis to be considered reliable.” Rider, 295 F.3d at 1201. Thus, reliance

on such approaches is not “scientifically acceptable” to demonstrate that an adverse health effect

results from a chemical exposure. Allen, 102 F.3d at 198. Nor do the approaches used by

regulatory agencies, with their “reasonably lower” “threshold of proof,” track the legal burden of

proof in tort. Id.19

        Dr. Grandjean does not appreciate these fundamental distinctions. He cannot “answer”

whether the standards for testing causal hypotheses are the same in experimental science and

regulatory public health policy. (Grandjean Tr. at 71:17-22.) Nor can he “answer” whether there

is reason to err on the side of caution in a toxic tort suit where scientific reliability, rather than

regulatory public health policy, is at issue. (Id. at 72:17-22.) Yet the far different assumptions




19
   “Actions in tort for damages focus on the question of whether to transfer money from one
individual to another, and under common-law principles ... that transfer can take place only if one
individual proves, among other things, that it is more likely than not that another individual has
caused him or her harm.” Wright, 91 F.3d at 1107.


                                                 76
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 89 of 111




that characterize the methods used by regulatory agencies with a far different goal renders Dr.

Grandjean’s reliance on them unreliable and inadmissible.

                        c.      Dr. Grandjean’s Subjective Causation Opinion Is Not Reliable

          Dr. Grandjean offers no support for the assertion that his so-called “weight-of-the-

evidence” approach is “commonly accepted” in the epidemiological community. (Grandjean Rpt.

at 27.)                                                                  (Guzelian Reb. Rpt. at 90.)



                                          (Mandel Reb. Rpt. at 22.) Thus, “the single most serious

flaw” in Dr. Grandjean’s approach “is the most basic: he simply has not set forth the methodology

he used to weigh the evidence.” Magistrini v. One Hour Martinizing Dry Cleaning, 180 F. Supp.

2d 584, 606 (D.N.J. 2002). Instead, he states only that he employed a “weight-of-the-evidence

approach” whereby he “evaluat[ed] the weight of different types of evidence,” according to his

“judgment.” (Grandjean Rpt. at 11; Grandjean Tr. at 88:5-11.) “‘Judgment’ does not substitute

for scientific method; without a reliable method, result-oriented ‘judgment’ cannot be

distinguished from scientifically or methodologically-based judgment.” Magistrini, 180 F. Supp.

2d at 608. “[R]eliability within the meaning of Rule 702 requires a sufficiently rigorous connection

between that methodology and the expert’s conclusions.” Nimely, 414 F.3d at 396. “Before a

court can evaluate the reliability of an expert’s methodology, the expert must employ one.”

Milanowicz, 148 F. Supp. 2d at 535. His failure to demonstrate that his approach to “weighing

and discounting” information followed a “methodological systematic process” should be “the heart

of this Court’s inquiry,” Magistrini, 180 F. Supp. 2d at 607, and warrants exclusion.

          Dr. Grandjean’s methodology is inscrutable. “To ensure that the ... weight of the evidence

criteria is truly a methodology, rather than a mere conclusion-oriented process ... there must be a

scientific method of weighting that is used and explained.” Zoloft, 858 F.3d at 796 (citation


                                                 77
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 90 of 111




omitted). In particular, “an expert must explain 1) how conclusions are drawn for each ... criterion

and 2) how the criteria are weighed relative to one another.” Id. He says he evaluated each piece

of evidence to determine the weight to assign it (Grandjean Tr. at 90:4-6), but his criteria are not

meaningfully defined

(Mandel Reb. Rpt. at 22; see also Guzelian Reb. Rpt. at 49, 64, 85-87, 90-91; Calabrese Reb. Rpt.

at 4-6; Schwartz Reb. Rpt. at 4, 8-10.)



                                              (Schwartz Reb. Rpt. at 8.)

       “[I]t is imperative that experts who apply multi-criteria methodologies such as ... the

‘weight of the evidence’ rigorously explain how they have weighted the criteria.” Mirena, 2018

WL 5276431, at *27. In these circumstances, “courts have insisted on a clear explication of the

weighting assigned to the different criteria ... [and] demanded that the expert’s application of the

individual criteria be performed with proper rigor.” Id. Yet Dr. Grandjean is silent as to the details

of his weighting process or how much weight any one piece of evidence had in his analysis.

   Q. What was your method for weighing studies according to the statistical method that
      they used?
   A. I don’t understand the question.
   Q. If you applied different weights to each study, according to the statistical methods,
      how did you determine what weight to apply?
   A. It was not the only aspect. Clearly, if a faulty statistical method was used for the
      case, I would take that into consideration; but your question is so general it is hard
      to answer it.

(Grandjean Tr. at 90:14-91:14 (emphasis added).)

       Thus, while Dr. Grandjean refers generally to certain characteristics of studies and their

findings, he does not attempt to integrate and weigh those characteristics in a systematic manner.

(Id. at 87:17-23.)   His approach applies a qualitative “relative weight” to the evidence he

considered in place of a quantitative approach of “assigning a number to it.” (Id. at 89:8-13.) That



                                                 78
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 91 of 111




subjective approach is a poor fit where many attributes of the studies he cited—including statistical

significance, power, and relative risk—are disposed to quantitative weighting. “By leaving

obscure the weight that he attaches to each of the[se criteria],” his “unscientific ‘black box’

approach ... entirely prevents the finder of fact, or other experts seeking to validate or check his

work, from conducting a meaningful and informed review.” Mirena, 2018 WL 5276431, at *28.

       The apparent absence of such predetermined criteria to reliably guide his analysis

illustrates why “such methodologies are virtually standardless and their applications to a particular

problem can prove unacceptably manipulable.” Id. at *27. For example, Dr. Grandjean’s

testimony leaves unanswered what ad hoc adjustments he made to his analyses, such as his

inconsistent treatment of findings from small studies in a consistent manner. In some instances,

he points to studies’ small numbers to rationalize findings that appear to undermine his opinions,

whereas otherwise he completely declined to “consider[]” some studies due to their “small

numbers” or “other weaknesses.” (Grandjean Rpt. at 39, 46, 56.) Likewise, he does not explain

how his suspicions regarding “industry-affiliated” or “industry-supported” research (Grandjean

Rpt. at 23, 39, 70) affected his opinion. With such gaps in his explanations, the Court cannot be

assured that his opinion is “based on methods and procedures of science, rather than on subjective

belief or unsupported speculation.” Magistrini, 180 F. Supp. 2d at 603.

       Because he fails to set out the specific method for weighting, weighing, and integrating

evidence, this Court, like the Third Circuit in Zoloft, cannot determine whether “[t]he particular

combination of evidence considered and weighed here has [] been subjected to peer review.” 858

F.3d at 796 (quoting Magistrini, 180 F. Supp. 2d at 602). For such a subjective approach, “there

are no ‘standards controlling the technique’s operation.’” Mirena, 2018 WL 5276431, at *27

(quoting Daubert 509 U.S. at 594). The “malleable and vague approach” Dr. Grandjean used to




                                                 79
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 92 of 111




develop his causation opinion “is in tension with first principles under Daubert.” Id. at *44. His

analysis “makes it all too easy ... to manipulate the [various methodological] factors to support a

desire conclusion of causation, and far too hard for an ensuing expert to replicate and rigorously

test the expert’s analytic approach.” Id. Impossible to validate, his opinion is unreliable.

                       d.      Dr. Grandjean Failed to Evaluate the Totality of the Data

       Dr. Grandjean’s opinion is also unreliable because he cherry-picked from the larger body

of scientific literature. “When experts rely on epidemiological evidence to support causation, they

must provide the jury with a full picture of the state of the field.” K.E., 2017 WL 440242, at *10

(citing Guardians, 633 F.2d at 240). When an expert “cherry-pick[s] the facts he considered to

render an expert opinion ... such a selective use of facts fails to satisfy the scientific method and

Daubert.” Barber, 17 F. App’x at 437. He, likewise, acknowledges that selective “picking the

evidence in accordance with the conclusions [one] apparently want[s],” like he has “seen expert

witnesses do,” is inconsistent with a valid and reliable methodology. (Grandjean Tr. at 25:6-20.)

       At the outset, Dr. Grandjean cherry picks evidence by conflating results for PFOA and

other PFASs. Though his bottom-line opinion (and Plaintiffs’ claims) are limited to PFOA

exposure, his endpoint-by-endpoint, summary assessments are framed in terms of PFAS exposure.

(Grandjean Rpt. at 28, 32, 37, 39, 41, 48, 51, 55.) In many instances, his discussion described

findings only for PFAS exposures other than PFOA or referred generically to PFAS without

identifying whether PFOA was measured (see, e.g., id. at 30, 35). He concedes the biological

response to two chemical substances in the same chemical class may be different (Grandjean Tr.

at 100:2-5), but does not explain whether he treated or weighed study findings involving PFOA

differently than those involving other PFASs. (See id. at 101:4-9.)      Courts “regularly exclude

expert opinions built on analogies to different chemical compounds than the one at issue,” Mirena,

2018 WL 5276431, at *61, since “[e]ven minor deviations in molecular structure can radically


                                                 80
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 93 of 111




change a particular substance’s properties and propensities.” Id. (quoting Glastetter, 252 F.3d at

990). In the absence of “good grounds for treating these [various] chemicals similarly” or a

“weighting adjustment for them,” Magistrini, 180 F. Supp. 2d at 604, an expert’s use of evidence

for a chemical substance other than the one at issue renders his opinion unreliable. Dr. Grandjean

fails to offer any such grounds or adjustment, rendering his causation opinions unreliable.

        Moreover, within the body of PFAS literature he evaluated, Dr. Grandjean does not provide

a fair and complete picture of the scientific literature concerning PFOA exposure. Though Dr.

Grandjean claims to have conducted a “reasonably comprehensive review of the epidemiological

evidence” (Grandjean Rpt. at 27 (emphasis added)), the

                                                        (Guzelian Reb. Rpt. at 80.) Likewise, he

cannot tie the representation that he “selected the most relevant studies” to any valid criterion for

evaluating causation. (Grandjean Rpt. at 27 (emphasis added).) Instead, he falls back on the same

inscrutable methods that doom his opinion: the selection criteria were “a matter of the weight of

the study,” that is, “whether it contributed [] weighty evidence.” (Grandjean Tr. at 89:1-7.)




             (Mandel Reb. Rpt. at 32.)

                                                                             (Guzelian Reb. Rpt. at

80.)

        Nor does Dr. Grandjean’s report provide any basis to infer that he systematically evaluated

even the studies he did cite. In Mirena, the court criticized the expert for her limited engagement

with the scientific literature: “Beyond citing these studies, Dr. Plunkett does not discuss any of




                                                 81
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 94 of 111




them in more than a sentence.” 2018 WL 5276431, at *34. As in Mirena, Dr. Grandjean’s

discussion of the studies he cites is limited to a one- or two-sentence, high-level summary. Most

of these short summaries do not describe important statistical details from the studies (such as the

p-value or relative risk), assess study-specific issues of confounding or bias, or attempt to identify

and reconcile contradictory findings. And where he cites studies that are not fully consistent with

his thesis, he often dismisses their validity or relevance in a cursory manner (see, e.g., Grandjean

Rpt. at 30, 44-45) or by questioning the authors’ motives (see, e.g., id. at 49).

       His results-driven approach to the scientific evidence has also led to over-reliance on

certain studies. For example, Dr. Grandjean relies heavily on studies he conducted in the Faroe

Islands for his opinion regarding immunotoxicity, an endpoint for which Dr. Ducatman is not

proposing monitoring of any sort. (See id. at 28-29, 31, 39, 43, 52.) He fails to address whether

his Faroe-based findings apply to the Vermont population. For example, the inhabitants of the

Faroe Islands are exposed to a variety of chemicals through a diet that is traditionally heavy in

marine foods, including whale meat and blubber, seabirds and eggs, fatty fish, and puffin.

(Grandjean Tr. Ex. 7 at 177-79.) He admits that whale meat and blubber, seabirds and eggs, and

puffin are not typical components of the average diet in Vermont. (Grandjean Tr. at 117:20-118:6.)

Likewise, the Faroese are a genetically homogenous population that are susceptible to high rates

of certain heritable disorders. (Id. at 130:6-13.) How such characteristics limit these studies’

validity he does not say. (See Mandel Reb. Rpt. at 34-35.) Nor does he indicate whether he

discounted the “weight” these studies carried in his analysis. This is not reliable.

                       e.      Dr. Grandjean Lacks A Reliable Approach To Infer Causation

       Dr. Grandjean’s opinion is inadmissible for the additional reason that it fails to apply the

correct standard or a reliable method for inferring causation. He erroneously contends that the

standard that governs the inquiry in this matter is whether “it is more likely than not that PFOA is


                                                 82
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 95 of 111




associated with the particular outcomes.” (Grandjean Tr. at 101:18-102:11 (emphasis added).)

This mistake reveals a fundamental error in his analysis. A statistical association “is not equivalent

to causation” and it does not “necessarily imply a causal effect.” RMSE at 552 & n.7. Though he

admits that “association” is not a substitute for “causation” and that distinguishing between the

two concepts is important (Grandjean Tr. at 57:10-18 (emphasis added)), he fails to uphold that

principle.

        Dr. Grandjean’s opinion lacks any discussion of the Bradford Hill criteria

                                                                     (Guzelian Rpt. at 87; see Mandel

Reb. Rpt. at 27.) In fact, the extent of his discussion of the Bradford Hill factors are the few pages

he allocates in his report in attempting to criticize the defense experts’ application of those criteria.

(Grandjean Rpt. at 22, 24-26.) At no point does he affirmatively attempt to demonstrate how the

factors apply to his analysis.

                        f.       Dr. Grandjean’s Selection of a Dose Threshold Is Arbitrary

        To carry the burden in a toxic tort case, “a plaintiff must demonstrate ‘the levels of

exposure that are hazardous to human beings generally,’” Mitchell, 165 F.3d at 781, and the failure

to lay a “reliable groundwork for determining the dose-response relationship” “signals a

methodology” problem. McClain, 401 F.3d at 1241. But like Dr. Ducatman, Dr. Grandjean simply

adopts the exposure threshold of “above-background” blood serum concentration that uses the

average serum levels in the U.S. population. (Grandjean Rpt. at 10.) This opinion is driven more

by litigation considerations than scientific principles and should be excluded.

        Nowhere in his report does Dr. Grandjean justify the use of 2.1 µg/L serum blood level

threshold exposure. Using this cut-point, many individuals nationwide have PFOA levels above

that level.

                                                                                              (Guzelian


                                                   83
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 96 of 111




Rpt. at 19.) Defining a threshold based on an average measurement “is not a scientifically valid

methodology.”     Adams, 2007 WL 1805586, at *4.            Such an approach is “unreliable and

misleading”; it “would deprive the term [abnormal] of all meaning.” Id. at *4-5. For example, in

Adams, under the expert’s “approach, one would expect half the world’s population of

approximately six billion people (everyone with levels above the median) to be entitled to a special

medical monitoring program.” Id. at *4 (quoting Allgood, 2006 WL 2669337, at *28).

       In the absence of scientific justification that 2.1 µg/L is a threshold for a biological effect,

Dr. Grandjean’s use of this descriptive statistic is arbitrary and unreliable. For example, while

stating that 2.1 µg/L, a national average, is a “reasonable” threshold for the proposed Bennington

class, he “ha[d] never considered” and “can’t answer” the question of whether monitoring should

be instituted for the millions of Americans in other locales whose PFOA blood serum

concentrations are more than double that level. (Grandjean Tr. at 165:3-167:10.) He even

acknowledges that average PFOA blood concentrations “is not really a proper background,” but

that did not prevent him from advocating its use in this action. (Id.)

   Q. Let me ask you this. Would you say that millions and millions of Americans should
      have been getting this medical monitoring as a medical necessity in 1999 to 2000
      when the background level was 5.21 micrograms per liter?
   A. I have never considered that question .... [W]e know that at least in one of the
      studies that we did, five or six million Americans are exposed to elevated
      concentration of PFASes in drinking water. So parallel to the Vermont case and those
      numbers are included here. That’s why this is not really a proper background. It is
      actually too high. Maybe it was even much too high in the past.
   Q. I guess my question is, if anybody in a population has got 5.2 micrograms per liter of
      PFOA in their blood, would you say that they need medical monitoring as a medical
      necessity?
   A. I would not say that because that depends on the circumstances. I understand the
      circumstances here are quite specific in that there is a local source, and we know
      exactly comes through drinking water....
   Q. If the exposure level is the same from an individual in Bennington and an individual
      in Peoria, Illinois, they have the same identical blood levels, what difference does
      that make as to whether they require medical monitoring for potential future disease?




                                                 84
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 97 of 111




    A. I can’t answer that. Medical monitoring in this particular case has been defined
       as it is here and all I am saying that is reasonable. I can support that. And the
       way that Doctor Ducatman has described it, I am in favor of that. I have not been
       asked to look the state of Illinois and specific locations. I would give you that those
       elevations and serum concentrations will result necessarily in an increased risk. That
       relates to my expert report here.
    Q. I guess what I am sort of having trouble getting my head around is if a person has got
       5.1 micrograms per liter of PFOA in his or her blood in California or Arizona or
       Texas or Missouri or Mississippi or New Jersey or Vermont or New Hampshire, why
       should the particular location where that person resides make a difference from a
       clinical perspective as to whether they need medical monitoring for exposure to
       PFOA?
    A. I completely understand your question. All I can say, I didn’t comment on medical
       monitoring. I did look at Doctor Ducatman’s report and I think he argued that
       convincingly. I have not seen similar considerations on other locations in the
       United States. I do insist that they have an increased risk as well, but whether that
       should trigger perhaps a completely different circumstances of medical monitoring,
       I have no opinion.

(Id. at 165:3-167:10 (emphasis added).) Notably, the sole consideration that Dr. Grandjean asserts

for distinguishing Bennington residents from the rest of the U.S. population is that they have been

“exposed to PFOA from Saint-Gobain.” (Id. at 78:2-8, 164:9-165:2 (emphasis added).) This

testimony reveals that he has not used a principled scientific or medical standard in advancing his

opinions. The availability of an identifiable defendant is not a scientific criterion. It is a litigation-

driven one.

        In any event, a PFOA blood serum concentration of 2.1 µg/L cannot serve as a reliable

threshold because it is not a stable description of “background” levels. Rather, the national average

has declined over time. (Grandjean Tr. Ex. 11 at 338; Grandjean Tr. at 163:23-164:2.) For

example, twenty years ago, the mean blood serum concentration was 5.21 µg/L. (Grandjean Tr.

Ex. 11; Grandjean Tr. at 164:3-5.) Thus, the proposed inclusion criterion of 2.1 µg/L for

determining who is a member of a putative class is a function of the timing of this litigation, not a

risk-based determination. Such an arbitrary standard cannot withstand scrutiny under Daubert.




                                                   85
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 98 of 111




       B.      Plaintiffs’ Experts’ Legal Opinion Testimony Is Inadmissible

               1.     Dr. Hopke and Dr. Siegel’s Regulatory Opinions Are Inadmissible

       In addition to their fate and transport opinions, Drs. Hopke and Siegel also proffered

“merits” reports in which they opine that Chemfab violated applicable regulations and/or acted

unreasonably. (Hopke Merits Rpt. at 1, 5-6; Siegel Merits Rpt. at 2-1, 2-5.) These opinions

amount to narratives stating conclusions on legal issues without any scientific methodology.

       “Before a court can evaluate the reliability of an expert’s methodology, the expert must

employ one.” Milanowicz, 148 F. Supp. 2d at 535. Dr. Hopke has not put forth any discernible

scientific methodology for determining compliance with Vermont guidelines or what is

“reasonable” for companies working with perfluorinated compounds. Instead, he provides his

“view upon reading [ ] factual documents” supplied by counsel and then “applying what [he]

understand[s] the law to be.” (Hopke Tr. at 194:14-17 (emphasis added).) His review of those

documents does not require him to “apply any principle of chemistry”—his area of expertise—“to

reach [any] conclusion” about those documents. (Id. at 192:6-193:10.) Nor does he “have to apply

any of [his] expertise to form a judgment” as to what certain documents say or mean. (Id. at 194:6-

13.) Absent a methodology that is “objective” and “independent,” Moore, 151 F.3d at 276, his

merits opinion is “connected to existing data only by” his “ipse dixit.” Joiner, 522 U.S. at 146.

       The same goes for Dr. Siegel, who purports to offer his so-called “professional judgment

that Chemfab/Saint-Gobain either knew or should have known that PFOA emitted from their

operations in North Bennington would have led to [PFOA] groundwater contamination in

Bennington and North Bennington long before ... 2016.” (Siegel Merits Rpt. at 2-5.) But Dr.

Siegel never worked for Chemfab or Saint-Gobain (Siegel Tr. at 174:10-14), and he has very little

additional knowledge regarding the documents he relies on, such as who created or received these

documents. (See id. at 189:13-193:18.) Moreover, Dr. Siegel has no methodology for determining


                                                86
      Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 99 of 111




what a company knew or should have known. To the contrary, he admits his opinion is speculative:

   Q. In support of this opinion about what ChemFab … knew or either should have known,
      you don’t refer to any basis in fact for that opinion, correct?
   A. I think there’s [a] lot of basis in fact. A lot was known back, at least since 2003 and
      before then, according to documents cited in Hopke’s report, that it was well-known
      enough that emissions of PFOA from stacks occurred and could contaminate the
      environment. So it strikes me that Saint-Gobain / ChemFab must have been aware
      that this was a potential problem long before it was first discovered.
   Q. That’s speculation on your part, correct?
   A. I think it’s speculation based on common sense.

(Id. at 204:18-205:7 (emphasis added).) “[P]roffered expert testimony should be excluded if it is

speculative or conjectural.” Major League Baseball, 542 F.3d at 311 (citation omitted). “It is

axiomatic that an expert, no matter how good his credentials, is not permitted to speculate.”

Goebel v. Denver & Rio Grande W. R.R. Co., 215 F.3d 1083, 1088 (10th Cir. 2000). Dr. Siegel’s

admittedly speculative opinion should be excluded.

       Drs. Hopke and Siegel’s purported merits opinions are also unhelpful. They do nothing

more than attempt to provide a veneer of “expert” credibility to what is essentially lawyer

advocacy. For example, Dr. Hopke’s merits report instead provides a biased, subjective narrative

of events and summary of documents.




                         (Hopke Merits Rpt. at 6-8.) Such subjective opinions on reasonableness

“are inadmissible because they usurp the function of the judge and direct the jury to a particular

conclusion.” Hiramoto v. Goddard Coll. Corp., 184 F. Supp. 3d 84, 97 (D. Vt. 2016), aff’d, 684

F. App’x 48 (2d Cir. 2017). “It is a well-established rule in this Circuit that experts are not




                                               87
     Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 100 of 111




permitted to present testimony in the form of legal conclusions.” Id. (quoting Densberger v. United

Techs. Corp., 297 F.3d 66, 74 (2d Cir. 2002)). Dr. Hopke’s attempt to do so is inadmissible.

       Likewise, Dr. Siegel relies primarily on documents he describes as “DuPont Internal

Memoranda 1984-1988” to opine that “[e]vidence that PFOA dispersed to the atmosphere” and

entered groundwater “first came to the [EPA’s] attention at DuPont’s Washington Works facility

in Parkersburg, West Virginia. There, as early as the 1980’s, PFOA had been measured in nearby

consumed groundwater.” (Siegel Merits Rpt. at 2-2.) These putative DuPont internal memoranda

were not produced in this litigation; they were not found in the files of Chemfab or Saint-Gobain.

Instead, Plaintiffs’ counsel selected and provided these documents to Dr. Siegel. (Siegel Tr. at

189:13-25; 190:14-21.) Moreover, he has no knowledge, method, or expertise about these

documents that allow him to proffer this “opinion.” He does not know who created these

documents; he does not know who received them; he does not know the meaning of several terms

used in the documents; and he is not “used to seeing analytical reports from DuPont.” (Id. at

189:13-193:18.) He denied that he has any basis for believing that any of the internal DuPont

memoranda that he points to were ever sent to ChemFab or its employees. (Id. at 196:1-197:5.)

       The narrative summaries of evidence proffered by Drs. Hopke and Siegel should therefore

be excluded as “outside the proper scope of expert testimony.” In re Trasylol Prods. Liab. Litig.,

709 F. Supp. 2d 1323, 1337 (S.D. Fla. 2010). Testimony that “merely repeat[s] facts or opinions

stated by other potential witnesses or in documents produced in discovery” is improper “because

it describes ‘lay matters which a jury is capable of understanding and deciding without the expert’s

help.’” In re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d 531, 546 (S.D.N.Y. 2004) (citation

omitted). “Such material, to the extent it is admissible, is properly presented through percipient

witnesses and documentary evidence.” Id. at 551. Likewise, opinion testimony regarding “the




                                                88
     Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 101 of 111




intent, motives or states of mind of corporations … ha[s] no basis in any relevant body of

knowledge or expertise” and should be excluded. Id. at 546. These experts’ summary and

interpretation of documents is advocacy, not science, and is inadmissible.

               2.      Mr. Mears’s Opinions Are Unhelpful and Unreliable

                       a.      The Purported “Violations” Do Not Fit This Case

       Mr. Mears’s opinion on purported regulatory violations is inadmissible for lack of fit

because none of those alleged violations have a meaningful connection to Plaintiffs’ theories of

liability, causation, or damages. It should be excluded pursuant to Rules 402, 403, 404(b), and

702 as irrelevant, unduly prejudicial, improper “character” evidence, and unhelpful to the jury.

       Other courts have excluded evidence of unrelated regulatory violations on these same

grounds. For example, in Langenbau v. Med-trans Corp., 167 F. Supp. 3d 983 (N.D. Iowa 2016),

the court excluded opinion testimony regarding an air ambulance service’s maintenance violations

that were not sufficiently related to the accident at issue. See id. at 1003-04. The court explained

that any “slender probative value is vastly outweighed by its potential for prejudice—inviting a

liability verdict improperly based on an emotional response” to unrelated matters.                 Id.

“[I]ntroduction of evidence on those matters could [also] be misleading or confusing to the jury,

improperly distracting the jury from matters actually at issue in this case.” Id. Similarly, in Covic

v. Berk, 2014 WL 3510502 (W.D. Tenn. 2014), the plaintiff’s expert opined that a trucking

company’s history of safety violations contributed to an accident involving one of its drivers. The

court held that “[w]ithout some attempt to connect [the company’s] history of prior safety

violations to the facts of this accident, [expert] testimony about [the company’s] other violations

has the appearance of an impermissible attempt to prove [the company’s] ‘character in order to

show that on a particular occasion the person acted in accordance with the character.’” Id. at *5.




                                                 89
     Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 102 of 111




          As in the above cases, Mr. Mears fails to establish any meaningful connection between

Plaintiffs’ claims and the following purported regulatory violations:

          Pre-Construction Permits: Mr. Mears opines that, from 1979 to 1990, Chemfab violated

Vermont regulations by constructing six new towers without a pre-construction permit. (Mears

Reb. Rpt. at 4-5.) Mr. Mears admits that DEC—acting within its discretion—issued a permit in

1990 with full knowledge that the towers had already been built, and imposed no penalties. (Mears

Tr. at 100:5-15, 103:12-17, 104:4-105:12.) Mr. Mears opines that Chemfab violated the same

regulations in 1998 by beginning construction of two new towers without a pre-construction

permit.     (Mears Reb. Rpt. at 5.)     After Chemfab explained that this occurred due to a

miscommunication and corrected the oversight, DEC imposed a modest $2,500 penalty, granted

the permit, and allowed construction to proceed. (See Mears Tr. at 111:15-112:7, 113:21-24.) Mr.

Mears disagrees with DEC’s exercise of discretion and believes severe penalties were warranted.

(See id. at 108:8-21, 115:14-116:6.) But Mr. Mears does not—and cannot—opine that the timing

of Chemfab’s permit applications caused or contributed to any PFOA emissions.

          Nuisances and Objectionable Odors: Mr. Mears opines that Chemfab committed “over

100 documented violations” of Vermont regulations governing nuisance and objectionable odor.

(Mears Reb. Rpt. at 6.) At deposition, Mr. Mears conceded this to be “an overstatement in [his]

report,” which erroneously treated each odor-related complaint by community members as a

regulatory violation. (Mears Tr. at 116:20-117:12.) Because Mr. Mears failed to apply the

regulatory standard for odor violations cited in his report, he does not know if any such violations

even occurred. (See id. at 117:13-118:1.) Regardless, Plaintiffs do not assert claims based on odor

or odor-related nuisance. Nor do their experts opine that PFOA emissions caused any such odors.




                                                90
     Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 103 of 111




       Visible Air Emissions: Mr. Mears opines that Chemfab at times exceeded regulatory

limits on visible emissions, but does not opine that this had any impact on PFOA emissions.

(Mears. Rpt. at 6.)

       Catalytic Abators: Mr. Mears opines that Chemfab failed to properly operate and

maintain catalytic abators as required by DEC-issued permits. (Id. at 6-7.) Yet he also opines that

the abators were not intended to remove, and were not effective in removing, PFOA from

emissions. (See Mears Tr. at 130:13-131:4.) Accordingly, he can offer no opinion regarding

whether or to what extent these purported issues caused or contributed to any PFOA emissions.

(See id. at 133:2-135:18.)

       Hazardous Air Contaminants: Mr. Mears opines that Chemfab violated Vermont’s

Hazardous Air Contaminant (“HAC”) rules by failing to test its air emissions for PFOA and report

any such emissions to DEC. (Mears Reb. Rpt. at 7.) Yet he concedes that, even today, neither

DEC nor EPA have included PFOA on their official lists of hazardous air contaminants. (Mears

Tr. at 38:12-14, 39:3-9, 41:15-20, 154:1-4.) Nor have DEC or EPA established any screening or

guidance levels against which to measure PFOA air emissions. (Id. at 148:21-149:5.) More

importantly, Mr. Mears does not opine that Chemfab’s purported violation of HAC rules caused

or contributed to any PFOA emissions. Instead, he offers “pure speculation”—later rephrased as

“informed speculation”—that if Chemfab had tested for and reported any PFOA emissions to

DEC, “there would have been additional regulatory action.” (Mears Tr. at 155:18-156:22.) This

testimony should be excluded because “‘it is speculative or conjectural’” and “without factual

basis.” Major League Baseball, 542 F.3d at 311.

       In sum, Mr. Mears’s opinions should be excluded because they concern purported

regulatory violations that have no bearing on this case. Expert testimony regarding whether




                                                91
     Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 104 of 111




Chemfab’s conduct violated a series of regulations that do not even address PFOA emissions

would not be helpful to the jury, would needlessly prolong and complicate the trial, and would

severely prejudice Chemfab by inviting the jury to impose liability based on unrelated conduct.

                      b.      Mr. Mears Invades the Province of the Court and Jury

       Apart from its lack of fit, Mr. Mears’s testimony is inadmissible legal opinion. He does

not offer mere generalized testimony regarding DEC’s regulatory scheme, practices, and

procedures. Instead, he opines that “CHEMFAB/SAINT-GOBAIN VIOLATED VERMONT AIR

POLLUTION CONTROL PERMITS AND REGULATIONS.” (Mears Reb. Rpt. at 4.) These are

inadmissible legal conclusions. Exclusion is required where, as here, expert testimony “expresses

a legal conclusion,” is “‘phrased in terms of inadequately explored legal criteria,’” or

“communicat[es] a legal standard—explicit or implicit—to the jury.” Hygh v. Jacobs, 961 F.2d

359, 363-64 (2d Cir. 1992) (citation omitted). Such “opinions are inadmissible because they usurp

the function of the judge and direct the jury to a particular conclusion.” Hiramoto, 184 F. Supp.

3d at 97; see also Rezulin, 309 F. Supp. 2d at 547.

       Courts in this Circuit and elsewhere have held that “expert witnesses may not opine as to

whether a party violated a given regulation.” Cowden v. BNSF Ry. Co., 2013 WL 5442926, at *6

(E.D. Mo. 2013); see also, e.g., Langenbau, 167 F. Supp. 3d at 1004. For example, the Southern

District of New York precluded expert witnesses from testifying as to whether an automobile

manufacturer’s seat belt design “complied with or violated” federal safety standards. Contini by

Contini v. Hyundai Motor Co., 876 F. Supp. 540, 545 (S.D.N.Y. 1995). Mr. Mears should likewise

be precluded from opining that Chemfab “violated” Vermont regulations, especially where his

opinions contradict the contemporary findings of Vermont regulators.

       In addition, Mr. Mears’s opinions should be excluded because they are based on his own

(erroneous) legal interpretation of the regulations. For example, he incorrectly opines that


                                                92
       Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 105 of 111




Vermont’s 1981 regulatory definition of “hazardous air contaminant” applied to PFOA. (Mears

Reb. Rpt. at 7.) Yet that definition applied only to contaminants that, “in the judgment of the

Secretary,”20 are hazardous to health based on their “presence in the outdoor atmosphere.”21

(Mears Tr. at 136:13-137:19.) He is unaware of Vermont regulators ever having deemed exposure

to PFOA “in the outdoor atmosphere” to be a health hazard. (Id. at 161:13-22.) Instead, he

contends that the 1981 definition also applied to potential hazards from formerly airborne

contaminants deposited in other environmental media. (Id. at 138:2-17.)



                                             (Id. at 144:3-145:8.) It is Mr. Mears who is mistaken.

Only in 1993—years after Chemfab and DEC worked collaboratively to conduct extensive air

emissions testing and evaluation—did Vermont amend the relevant air pollution control rules to

include exposures via “other environmental media.” 1993 Vt. Legis. Serv. No. 92, at 1 (West).

Thus, his legal interpretation is not only “‘inadequately explored,’” Hygh, 961 F.2d at 363 (citation

omitted), but incorrect.

         Mr. Mears should also be precluded from offering inadmissible opinion testimony

regarding Chemfab’s or DEC’s knowledge, motive, or state of mind. “[T]he knowledge, motives,

or intent of individuals or organizations … are generally not proper subjects for expert testimony.”

Drake v. Allergan, Inc., 2014 WL 5392995, at *5 (D. Vt. 2014). Such opinions “have no basis in

any relevant body of knowledge or expertise.” Rezulin, 309 F. Supp. 2d at 546.

         For example, Mr. Mears should be precluded from speculating that, prior to 2002,

regulators in other states “were concerned about PFOA,” that Chemfab “was aware of those




20
     Vt. Admin. Code 16-3-100:5-101(26) (1981).
21
     Vt. Admin. Code 16-3-100:5-101(5) (1981).


                                                 93
     Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 106 of 111




concerns,” that it “would likely have known that New York was regulating emissions of APFO,”

or that it “was aware of the [purported] need to test for and limit PFOA emissions.” (Mears Reb.

Rpt. at 8.) He should also be precluded from speculating about Chemfab’s purported motives for

“mov[ing] its operations to New Hampshire.” (Id. at 4.) Likewise, he should be precluded from

speculating about DEC’s motives.        Throughout his deposition, he suggested that political

pressure—rather than a dearth of actual regulatory violations—might explain why DEC brought

so few enforcement proceedings against Chemfab. (See, e.g., Mears Tr. at 12:6-13, 74:15-75:11,

112:13-113:3, 114:17-24, 175:21-176:21.) Yet he admits that he has no basis to offer any such

opinions to a reasonable degree of certainty. (Id. at 182:2-9.)

               3.      Mr. Unsworth Cannot Vouch for Others’ Diminished Value Opinions

       In addition to his opinion on purported groundwater damages, Mr. Unsworth also proffered

a rebuttal to the opinions of Dr. Jackson and Mr. Phillips in which he maintains that the named

Plaintiffs can provide admissible opinion evidence of the diminution in value of their homes

allegedly due to PFOA.      (Unsworth Prop. Reb. Rpt. at 7.) The Plaintiffs’ lay opinion is

inadmissible for the reasons set forth in Saint-Gobain’s separate motion to exclude.          Mr.

Unsworth’s legal opinion endorsing the admissibility of that testimony is likewise inadmissible.

       Notably, Mr. Unsworth denied vouching for the reliability, accuracy, or validity of the

Plaintiffs’ estimates, which he denied having even reviewed at all. (Unsworth Reb. Tr. at 220:3-

15, 236:24-237:4, 243:17-22.) Rather, he opines only that Plaintiffs should be permitted to offer

this testimony because “Vermont law clearly recognizes property owners as competent to testify

as to the value of their property.” (Unsworth Prop. Reb. Rpt. at 7.) He says that allowing the

Plaintiffs’ lay opinions would be “reasonable” and that Plaintiffs “have the legal right and the

information before them to make” such estimates. (Unsworth Reb. Tr. 236:12-237:7, 245:6-23.)

He admits he is not a lawyer and that the legal authorities for this proposition were given to him


                                                94
     Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 107 of 111




by Plaintiffs’ counsel. (Id. at 131:17-19; 219:17-220:2.) The admissibility of evidence is a

question of law. Mr. Unsworth’s “expert testimony that expresses a legal conclusion” invades the

province of the Court and should be excluded. Hygh, 961 F.2d at 363; see also United States v.

Scop, 846 F.2d 135, 139 (2d Cir.), on reh’g, 856 F.2d 5 (2d Cir. 1988); Marx & Co. v. Diners’

Club Inc., 550 F.2d 505, 509-10 (2d Cir. 1977).

        Mr. Unsworth attempts to provide a veneer of expert opinion on this subject by opining

that homeowner estimates of property values can be reliable based on “publicly available

information” from real estate websites like Zillow and Redfin. (Unsworth Prop. Reb. Rpt. at 7.)

But the notion that this constitutes an opinion about the reliability of the Plaintiffs’ opinions

crumples in light of the fact that Mr. Unsworth did not speak with the Plaintiffs or review any of

those opinions or their bases. (Unsworth Reb. Tr. at 186:6-12; 176:6-16; see also id. at 177:3-12,

232:17-21, 247:2-15, 264:13-22.)



                                                                                               (See

Phillips Rpt. at 30-31; Phillips Reb. Rpt. at 19.) Moreover, Mr. Unsworth does not know how

these websites estimate home values (Unsworth Tr. at 239:16-240:3), or if their techniques have

been peer reviewed. (Id. at 241:7-12.) He provides no basis for the notion that these sites can

accurately account for alleged diminution in property value due to PFOA. (See Phillips Reb. Rpt.

at 19.) He cannot testify about the reliability of valuation methods that he does not understand and

that Plaintiffs did not use.

        Mr. Unsworth goes so far as to opine that these diminution in value opinions were

permissible even if they were predicated on a logical fallacy. He says that the Plaintiffs were

entitled to opine that, because they allegedly experienced diminution in value after discovery of




                                                95
     Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 108 of 111




PFOA, therefore the diminution in value was attributable to PFOA. (Unsworth Reb. Tr. at 235:14-

236:1.) Mr. Unsworth even acknowledges, unabashedly, that this was an expression of the

temporal fallacy—or post hoc, ergo propter hoc—by assuming that chronology is the same as

causation, and yet endorses its use by Plaintiffs:

   Q. Are you familiar with the fallacy of post hoc ergo propter hoc?
   A. Yes.
   Q. What is that fallacy?
   A. Well, just because—effectively, just because something has changed at the same time
      something else has changed, they must be related, would be one way of saying it.
   Q. Yes. Just because something occurs after an event does not mean that it was caused
      by that event?
   A. Right.
   Q. But you’re saying that the plaintiffs are allowed to do that here?
      …
   A. Yes. …

(Id. at 236:2-237:7 (emphasis added).) The courts disagree. They routinely reject opinion

testimony predicated on the temporal fallacy, “which is as unacceptable in science as in law.”

Black v. Food Lion, Inc., 171 F.3d 308, 313 (5th Cir. 1999); McClain, 401 F.3d at 1243; Guinn v.

AstraZeneca Pharm. LP, 602 F.3d 1245, 1254 (11th Cir. 2010); Moore, 151 F.3d at 278. Mr.

Unsworth’s endorsement of that fallacy is inadmissible.

       Mr. Unsworth also says that the Plaintiffs should be entitled to opine on alleged diminution

of their property values due to PFOA because the U.S. Census relies on individual homeowner

reports of property value. (Unsworth Prop. Reb. Rpt. at 6-7.) This is not just a legal conclusion,

but also a manifestly wrong one. There are at least four major, undisputed differences between

the Census data and the Plaintiffs’ opinions in case.

                                                                                            (Phillips

Reb. Rpt. at 18.) Second, the Census asks only about current property value, not about diminution

due to specific environmental factors. (See Unsworth Reb. Tr. at 228:21-229:4.) Third, unlike

here, the Census Bureau screens its data for plausibility and adjusts or eliminates outliers. (Id. at


                                                 96
     Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 109 of 111




230:3-9; Phillips Reb. Rpt. at 17.) And fourth, Census respondents have no incentive to misstate

the value of their homes, whereas Plaintiffs have an interest in diminution in value opinions that

may support a claim for damages. (See Unsworth Reb. Tr. at 229:5-23.) Mr. Unsworth’s legal

conclusions based on Census data are inadmissible.

        Finally, Mr. Unsworth’s opinion should be excluded due to a substantial risk of “unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.” Fed. R. Evid. 403. In this case, the risks of confusion and

prejudice are high because Mr. Unsworth would be testifying with the authority of a credentialed

expert to matters that are tremendously speculative. Such testimony “poses the risk of confusing

and misleading the jury as it lends the imprimatur of the expert’s qualifications and a stamp of

credibility to what is otherwise rank speculation.” Rotman v. Progressive Ins. Co., 955 F. Supp.

2d 272, 283 (D. Vt. 2013). In addition, courts in this Circuit have excluded expert opinion that

goes to another witness’s credibility because of its tendency to confuse the issues, overly influence

the jury, and raise distracting collateral issues. See, e.g., Nimely, 414 F.3d at 398; Doe v. Hartford

Sch. Dist., 2018 WL 1064572, at *6 (D. Vt. 2018). Mr. Unsworth’s attempt to vouch for the

Plaintiffs’ opinions presents similar issues, and should be excluded.




                                                 97
    Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 110 of 111




                                      CONCLUSION

      For the foregoing reasons, the Court should exclude Plaintiffs’ expert testimony.


Dated: November 27, 2018                        Respectfully submitted,

                                                /s/ R. Bradford Fawley
                                                R. Bradford Fawley
                                                DOWNS RACHLIN MARTIN PLLC
                                                28 Vernon Street, Suite 501
                                                Brattleboro, VT 05301-3668
                                                Telephone: (802) 258-3070
                                                Facsimile: (802) 258-4875
                                                bfawley@drm.com

                                                Sheila L. Birnbaum (pro hac vice)
                                                Mark S. Cheffo (pro hac vice)
                                                Douglas Fleming (pro hac vice)
                                                Bert L. Wolff (pro hac vice)
                                                Lincoln Davis Wilson (pro hac vice)
                                                DECHERT LLP
                                                Three Bryant Park
                                                1095 Sixth Avenue
                                                New York, NY 10036
                                                Tel: (212) 698-3500
                                                Fax: (212) 698-3599
                                                sheila.birnbaum@dechert.com
                                                mark.cheffo@dechert.com
                                                douglas.fleming@dechert.com
                                                bert.wolff@dechert.com
                                                lincoln.wilson@dechert.com

                                                Attorneys for Saint-Gobain Performance
                                                Plastics Corp.




                                              98
     Case 5:16-cv-00125-gwc Document 218-1 Filed 11/27/18 Page 111 of 111




                              CERTIFICATE OF SERVICE

       I hereby certify that, on November 27, 2018, I served the foregoing MEMORANDUM OF

LAW IN SUPPORT OF SAINT-GOBAIN’S MOTION TO EXCLUDE PLAINTIFFS’ EXPERT

TESTIMONY on the following counsel by electronic case filing:

        Gary A. Davis                         David F. Silver, Esq.
        James S. Whitlock                     Timothy M. Andrews, Esq.
        DAVIS & WHITLOCK, P.C.                BARR STERNBERG MOSS
        21 Battery Park Ave., Suite 206         SILVER & MUNSON, P.C.
        Asheville, NC 28801                   507 Main Street
        Telephone: (828) 622-0044             Bennington, VT 05201
        Facsimile: (828) 398-0435             Telephone: (802) 442-6341
        jwhitlock@enviroattorney.com          Facsimile: (802) 442-1151
        gadavis@enviroattorney.com            tandrews@barrsternberg.com
                                              dsilver@barrsternberg.com
        Emily J. Joselson, Esq.
        James W. Swift, Esq.
        LANGROCK SPERRY & WOOL, L.L.P.
        P.O. Drawer 351
        Middlebury, VT 05753
        Telephone: (802) 388-6356
        Facsimile: (802) 388-6149
        ejoselson@langrock.com
        jswift@langrock.com


DATED: November 27, 2018                         /s/ R. Bradford Fawley
                                                 R. Bradford Fawley




                                            99
